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 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Tuesday, June 27, 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 10:05 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE TESTIMONY AND PROCEEDINGS
15       OF THE CASE AS RECORDED AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




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 1
                                   I N D E X
 2

 3                           DIRECT       CROSS    REDIRECT   RECROSS
     Christopher    Sakala   6,139,157
 4
     Jeff Rachel             38
 5
     Jordan   Polvere        49     63    72
 6
     Michael Conner          73     89    93       95
 7
     Randy Kucsan            97     132
 8
     Kathleen   Meterko      152    156
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24 Reporter's Certificate                                     193

25 Concordance                                                194




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 1           THE COURT:     We are still     missing    the foreman , so

 2 we can take up preliminary matters until our missing

 3 foreman gets here.

 4           Mr. Montemarano , y ou have something        ?

 5           MR. MONTEMARANO :        Your Honor, since       Your Honor

 6 live s in Montgomery      County and probably doesn't

 7 sub scribe   to the    Baltimore    Sun --

 8           THE COURT:     I do sub scribe to Baltimore          Sun.

 9 Every day.     What am    I supposed to know about what was

10 in the    Baltimore    Sun today?

11           MR. MONTEMARANO :     There was a copy in my copy in

12 Howard    County that mentions both          Mr. Ward and    Ms.

13 Johnston by name.

14           THE COURT:     Oh , yeah,    I read it.

15           MR. MONTEMARANO :        I j ust wanted to make sure the

16 Court's aware.    I    'm not saying the jury needs to be

17 voir dired or anything like that.               I just thought it

18 should be    brought    to Your Honor's attention.

19           THE COURT:     No, I've read the article.            I know

20 what the issue is in the case.

21           MR. MONTEMARANO :        Thank you,    Your Honor.

22           THE COURT:     No.   I've already read my          Baltimore

23 Sun.     I heard long ago that if you live in           Montgomery

24 County and you really want to find out what's really

25 going on in the state of        Maryland, especially, you




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 1 better subscribe to the        Baltimore   Sun and the

 2 Washington   Post, because sometimes they each scoop each

 3 other.   So I read both papers.          I'm reading them at 5

 4 o'clock in the morning before         I head out.

 5          Ms . Johnston.

 6          MS. JOHNSTON:      Your Honor, there were two calls

 7 that Mr. McKnett      had issues with.     One was     B4786.

 8          THE COURT:    4786?

 9          MS. JOHNSTON:     4786, which is on         Page 408, and

10 the Court asked to be notified a day in advance.                 I

11 don't think we'll get to it by the end of the day

12 today, but we certainly will get to it tomorrow.

13          THE COURT:    Let's take a look at that call and

14 see what the problem is.

15          MS. JOHNSTON:     There was a second one, B6986.

16          THE COURT:    6986 at what page?

17          MS. JOHNSTON:     That call will be later this

18 week.

19          THE COURT:    What page is that?

20          MS. JOHNSTON:     That page is 542 note it was 542.

21          THE COURT:    Is this a question of playing more

22 of it than you have designated or is it a question

23 about the call being admitted at all?

24          MS. JOHNSTON:      I think   Mr. McKnett      can address

25 it better than    I can.    I think it has to do with the




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 1 content of the call.

 2            THE COURT:    All right.

 3            THE CLERK:    We're ready.

 4            THE COURT:    Our last juror has arrived.

 5            Page 408 --

 6            MS. JOHNSTON:   Page 408.     Yes, sir.

 7            THE COURT:    -- is the first one?

 8            MS. JOHNSTON:   Was the first one.

 9            THE COURT:    All right.     And you don't think you

10 will get to that today?

11            MS. JOHNSTON:   We could get to it by the end of

12 the day.     I'm not absolutely sure.       We may not because

13 we have some witnesses to call in the middle, but               I

14 just wanted to put the       Court on alert.

15            THE COURT:    Well, since we are getting off to a

16 late start,     I'll take a look at that.         Mr. McKnett , if

17 you can be ready on a moment's notice to address your

18 concerns on that, but let's get the jury in and start

19 now.

20            The schedule for today is a normal schedule.

21 I'll go until about 4      :30.   Tomorrow, we'll start at

22 10:00.     I have a judge's meeting.       One opportunity to

23 discuss this would be at the end of the day tomorrow,

24 but we may reach this by the end of the day tomorrow.

25            MS. JOHNSTON:   We will absolutely reach the




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 1 first call sometime tomorrow.

 2            THE COURT:       Let's do this.        I have a guilty plea

 3 at 9 o'clock tomorrow.          It won't take that long, so why

 4 don't we assemble for preliminary matters at quarter of

 5 10:00 tomorrow and we'll take it up then.             All right,

 6 bring them in.

 7                     (Jury returns at 10        :10 a.m.)

 8            THE COURT:       Good morning     , ladies and gentlemen.

 9 We will go today until about 4              :30 , in which will resume

10 tomorrow at       10:00 .    So,    I'll give you that update.        Ms.

11 Johnston you may proceed            .

12                     (W itness      Sakala resume s the stand. )

13                      FURTHER       DIRECT   EXAMINATION

14            BY MS. JOHNSTON:

15 Q.         Detective    Sakala , if I could call your attention

16 to the next call , B 3294 on Page 326 .              Is that call part

17 of sever al related calls?

18 A.         Yes.

19 Q.         Who are the parties to the           Call 3294 on   Page

20 326?

21 A.         Claude   Arnold      and Paulette    Martin.

22 Q.         And on what date         and time did that call take

23 place?

24 A.         That was on      April 12 at 8:35 in the morning,

25 2004.




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 1 Q.         If we could play B3294, please.

 2            (Audio recording begins playing at 10              :11 a.m. )

 3            (Audio recording stops playing at 10           :12 a.m. )

 4            BY MS. JOHNSTON:

 5 Q.         And the next call , E574 on        Page 328.       Does that

 6 call take place on the same date?

 7 A.         Yes.   At 1 :24 in the afternoon.

 8 Q.         Who are the parties to this call         ?

 9 A.         Gwen Levi and     Claude   Arnold.

10 Q.         And did you , in reviewing this for the fourth or

11 fifth time , notice any typ os in th is transcript?

12 A.         Yes.

13 Q.         Could you tell us where that is         , refer ring to

14 Page 328?

15 A.         The very last line on        Page 328 where        Arnold

16 says , pay him for what he owes.         He actually says          , pay

17 him for one of those        , and then continuing on on the top

18 of 329 should read, still owes him for one.

19 Q.         If we could play the call, please.

20            (Audio recording be      gins pl aying at 10 :13 a.m. )

21            (Audio recording      stops playing at 10      :14 a.m.)

22            BY MS. JOHNSTON:

23 Q.         And then if we could go to         Call B3379 on Page

24 331.     What's the date      and time of this call       ?

25 A.         This is the next day, April 13         , at 8 :41 in the




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 1 morning.

 2 Q.         And the parties to this call?

 3 A.         Paulette    Martin     and Claude    Arnold.

 4 Q.         If we could play it       , please.

 5            (Audio recording begins playing at 10             :15 a.m. )

 6            (Audio recording        stops playing      at 10 :16 a.m.)

 7            BY MS. JOHNSTON:

 8 Q.         Based upon your training         and experience what is

 9 Mr. Arnold discussing with            Paulette    Martin    and with

10 Gwen Levi in those three calls?

11 A.         He's talking about the low quality cocaine that

12 he obtained from         Ms. Martin reference      d -- that she got

13 back from      Derrick    Bynum , had sold him the two        -eighths

14 of a kilo .      And during the series of calls            , he's

15 telling her that he's having problems selling the

16 cocaine because of quality issues              , and he wants her to

17 do something about it.          She take    s the cocaine back,

18 recooks     it , and then makes arrangements for him to come

19 back on the morning of the            13 th and pick it up.

20            I think on     Friday , we had talked about whether

21 it was powder or crack           , and I think in these series of

22 calls , you will see           -- or I believe they're clearly

23 talking about crack        .     W hen she talks about taking the

24 drugs back to the kitchen to remake them               , and then she

25 can't do it while the room           mate 's there.




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1 Q.          Looking at    Page 326 , there is a reference to an

2 individual named         Jackie .

3 A.          Yes.

4 Q.          Who is    Jackie ?

5 A.          That's    Jackie     Terrell, w ho's the roommate of       Ms.

6 Martin.

7 Q.          Where did she live in the house?

8 A.          She lives in the upstairs portion          , which would

9 encompass the kitchen.

10 Q.         Based upon your training         and experience , when

11 Mr. Arnold says in that same page that              I need some

12 assistance from you because you know             I've been having a

13 little trouble .          W hat is he telling her?

14 A.         He's talking about he needs her to help him on

15 the quality of the drugs because the quality of drugs                    ,

16 he's having a hard time selling it.          He's got what he

17 owes her , referring to          I got the rent money, but he's

18 not making any profit on what he's selling because                 of

19 the low quality of the crack.

20 Q.         Okay.    Is there any other references that you

21 rely on on        Page 327?

22 A.         No, that's pretty much what he's talking about

23 there.

24 Q.         If we'd    go to     Page 328 , this call you've

25 identified as being between            Mr. Arnold   and Ms. Levi .




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1 Again , there's a reference to         Sissy.   W ho would that

2 be?

3 A.          He's telling   Gwen Levi about his conversation

4 with Paulette       Martin.    Sis sy's Paulette    Martin.

5 Q.          Is there anything     in this conversation that led

6 you to your conclusion that          Mr. Arnold was having

7 problems with the crack cocaine that he had gotten from

8 Ms. Martin?

9 A.          The first paragraph where he's speaking         , she's

10 got to take it back to the kitchen because             I was

11 getting different readings, you know.        He's saying that

12 Paulette    Martin's got to take the crack back to the

13 kitchen,    recook it to make it better quality.

14 Q.         Again , is there a reference to       Jackie,   or the

15 roommate?

16 A.         Yeah.   In the next section there      , they're

17 talking about she may not be able to do anything to

18 until tonight or early tomorrow because her roommate's

19 around , meaning that        Paulette is not going     to be able

20 to get into the kitchen to redo the crack because

21 Jackie   Terrell    is there.

22 Q.         Then again on Page 331.    Based on your training

23 and experience , is there language in that call that

24 supports your opinion?

25 A.         Yeah.   The fourth section down     , Paulette      Martin




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1 says , I've prepared       that and     changed it around    , so if

2 you can st op and get it now before            I leave, it'll be

3 good .     M eaning she's taken       the coke and add ed

4 additional cocaine to make it higher quality               , and th at

5 he should be able to sell it.

6 Q.         Have you had an opportunity to review the pole

7 camera to see if , in fact , Mr. Arnold              and his vehicle

8 arrived shortly after that telephone call?

9 A.         Yes.

10 Q.        Before we get to the vehicle        , let's play another

11 call so we don't have to put the video in               and out.

12 Call B3383 on       Page 38 3.     On what date does this call

13 take place?

14 A.        April 13 at 9 :45 a.m.

15 Q.        So it would have been after the call            between     Ms.

16 Martin    and Mr. Arnold;        is that correct?

17 A.        That's correct.

18 Q.        Who are the part ies to        this call?

19 A.        Derrick    Bynum and Paulette      Martin -- I'm sorry ,

20 Derrick    Bynum and John Martin.

21 Q.        Is there an error in the index in reference to

22 this call , which is in Volume          1?

23 A.        Yes.

24 Q.        Looking at Page 14       , Roman Numeral     XIV , reference

25 Call B3383 .     W hat should that say?




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 1 A.         It should -- this is a conversation between

 2 Derrick    Bynum and John Martin , not Paulette         Martin.

 3 Q.         If we could play the call, please.

 4            (Audio recording begins playing at 10        :20 a.m. )

 5            (Audio recording     stops playing at 10    :21 a.m. )

 6            BY MS. JOHNSTON:

 7 Q.         Based upon your training      and experience , what

 8 was Mr. Bynum telling         Mr. Martin in this call?

 9 A.         He was telling     -- Mr. Bynum was telling      Mr.

10 Martin to tell     Paulette     that he w as coming by to pickup

11 drug s.

12 Q.         Like wise , did you review the videotape in

13 reference to this call?

14 A.         Yes.

15 Q.         If we could play what's been marked as          Video 18.

16            At approximately between what time period do we

17 see Mr. Arnold arrive?

18 A.         He arrives about 9    :15 that morning.

19                   (Videotape begins playing at 10        :22 a.m. )

20            BY MS. JOHNSTON:

21 Q.         Do you recognize that vehicle?

22 A.         Yeah , it's Mr. Arnold 's Thunderbird , and he will

23 park it    in his customary manner.

24 Q.         What do you mean , "he'll park in his customary

25 manner?"




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 1 A.       He always seem s to come and park on the right

 2 side of the road      and not always directly para          llel to

 3 the curb .      And when he leave s, he make s a three -point

 4 turn and heads back down the way he came in.

 5 Q.       Again , what are we observing here?

 6 A.       That's    Mr. Arnold returning from the direction

 7 of the house      and returning to his vehicle.

 8 Q.       Based upon your train       ing and experience, how

 9 large would that eighth of a kilo of crack cocaine be?

10 A.       It's 125 grams , so not overly large.          Certainly

11 it can be concealed in a pocket.

12 Q.       Similarly, did you -- is this the three               -point

13 turn you're talking about with          Mr. Arnold ?

14 A.       Yes.     He should lea   ve back down towards          Larch .

15          MR. WARD:     Excuse me , Your Honor.

16          May I ask that the record reflect that the time

17 shown on this video is 9       :23 a.m .?

18          MS. JOHNSTON:     Certain    ly .

19          THE COURT:     Yeah , I think it was 9 :22 a minute

20 ago , but it's 9 :23 now.

21          MR. WARD:      Yes.   But he called at 9      :45 ,

22 supposedly , to make a pick-up.        That's wh    y I wanted to

23 point that out.

24          BY MS. JOHNSTON:

25 Q.       That was    Mr. Arnold ; is that correct       ?




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 1 A.         Yeah.

 2 Q.         The call from     Mr. Arnold occurred at what time?

 3 A.         At 8 :41 .   The call at 9 :45 is    Mr. Bynum , not Mr.

 4 Arnold .

 5 Q.         And if we fast forward the video to         --

 6 approximately what time will we see            Mr. Bynum 's car

 7 arrive ?

 8 A.         9:48 , he'll arrive.

 9 Q.         That would be approximately how many minutes

10 after his call?

11 A.         Three minutes after his call.

12 Q.         Okay .   I f we could fast forward to that time.

13            Do you recognize the vehicle that's in the

14 video?

15 A.         It's one of     Mr. Bynum 's vehicles.

16 Q.         Where is he going there?

17 A.         He's going to the right side of that residence

18 towards the basement door.

19 Q.         That would have occurred how many minutes past

20 the last call we heard       ?

21 A.         About three minutes.

22 Q.         If we were to continue      watching   the video , would

23 we see him exit?

24 A.         Yeah , he leaves a few minutes later.      He's not

25 there long.




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 1 Q.         I think we just missed him.

 2            Fair to say he's -- looks like less than a

 3 minute ?

 4 A.         Yes , back out to his vehicle.

 5                   (Videotape stops playing at          10:28 a.m.)

 6            BY MS. JOHNSTON:

 7 Q.         If we could return to the telephone calls again

 8 on April 13     on Page 3 34.     W hat date   and time does this

 9 call take place?

10 A.         Call B3416 is on the 13th, that same           day , at

11 4:14 in the afternoon.

12 Q.         Who are the parties to this call?

13 A.         Paulette    Martin   and George   Harris.

14 Q.         If we could play the call       , please.

15            (Audio recording begins      playing    at 10 :29 a.m. )

16            (A udio recording stops playing at 10        :29 a.m.)

17            BY MS. JOHNSTON:

18 Q.         Based upon your training        and experience , what

19 are Mr. Harris and        Ms. Martin discussing?

20 A.         Mr. Harrison    [sic] is arranging to       meet Ms.

21 Martin at     her residence to get a quantity of drugs

22 described as "eight        sundresses ".

23 Q.         Could would you please add        sundresses    to the

24 list of code s or the page number          , if it's already up

25 there?     Page 334?




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 1 A.        (Witness indicating.    )

 2 Q.        If we could     go to the next call    , A10 note the

 3 hear the record .       Who are the part ies to this

 4 conversation?

 5 A.        Ruby Harden     leaving a message for     Paulette

 6 Martin.

 7 Q.        If we could play it    , please.

 8           (Audio recording     begins play ing at 10 :30 a.m. )

 9           (Audio recording stops playing at 10         :30 a.m. )

10           BY MS. JOHNSTON:

11 Q.        To your knowledge , was there a return call made

12 on April 15 of 2004 to        Ms. Harden     from Ms. Martin?

13 A.        I'm sorry.    Did you ask, is there a        follow-u p

14 call ?

15 Q.        Was there a return call made on April 15          , based

16 upon your review of the calls?

17 A.        I don't know without looking at the logs          .    I t's

18 not on the list here.

19 Q.        Okay.   If there had been one       , would you have

20 included it?

21           MR. SUSSMAN :    Objection .

22           MS. JOHNSTON:     S tr ike that.

23           Do we have a copy of the B1 logs, please?

24           Can we have the next miscellaneous number?

25           For identification purposes only        , Your Honor ,




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 1 Miscellaneous     9.

 2            BY MS . JOHNSTON:

 3 Q.         What are the logs , if you could describe for the

 4 jury what the logs are.

 5 A.         One of the legal requirements on any wiretap or

 6 electronic surveillance is that you keep track of all

 7 your interceptions.       In the old days      , we used to do it

 8 by hand with paper        and pencil or pen.     You would keep

 9 track of the date        and time of the calls    , the part ies to

10 that call , and a synopsis of the call as best you could

11 as you were listening to it         , and whether the call was

12 minimized, how many times it was minimized             , and whether

13 it was pertinent to the investigation.

14            With the computerized system      , that's mostly done

15 for you.     The times are recorded by the machines            and

16 the monitor simply has to type in a synopsis as he or

17 she is listen ing to it.        So the   ELSUR log s, as we call

18 them , stand for       Electronic   Surveillance logs .     S o every

19 line intercept will have a listing of every call

20 intercepted , whether it's pertinent or not             and what

21 it's about , date and time.

22 Q.         If you could read through those         B logs   and see

23 if there was a call made.

24            MR. SUSSMAN :    Court's indulgence     .   O ne moment.

25            THE WITNESS:    The dates for the       15 th , I'm sorry ?




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 1           MR. SUSSMAN :    If the witness could just --

 2           THE COURT:    Hold on.

 3           BY MS. JOHNSTON:

 4 Q.        Have you reviewed the log?

 5 A.        Yes, but the dates for the         15 th and 16 th are

 6 missing from this book        , so I still can't answer the

 7 question .

 8 Q.        All right.    Well , we'll see if we can take care

 9 of that on a recess,       Agent Sakala , and get back to that

10 call.    In the meantime      , let's continue with the calls

11 on April 15.    The next call      , B3609 at    Page 337.    Who

12 are the parties to this call?

13 A.        This is   Learley    Goodwin   and Paulette    Martin.

14 Q.        And the time of the call?

15 A.        This was on April 15 at 2       :35 in the afternoon.

16 Q.        If we could please call -- play this call.

17           (Audio recording begins playing at 10          :34 a.m. )

18           (A udio recording stops playing at 10         :35 a.m.)

19           BY MS. JOHNSTON:

20 Q.        Based upon your training        and experience , what is

21 this discussion between         Ms. Martin   and Mr. Goodwin ?

22 A.        The first line there     , the third line down      , Ms.

23 Martin   is asking     Mr. Goodwin   whether    -- she doesn't

24 know whether he knows anybody with no tickets            , meaning

25 does he know anybody who's got cocaine for sale              , and he




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 1 says no.     Then he goes on to talk about his situation

 2 down the way , referring to the cocaine in               Texas.    He's

 3 saying , I finally got the transportation           , meaning      I

 4 finally straightened out or got someone to drive the

 5 drugs from        Texas up to   Maryland , and then she puts him

 6 on hold.

 7 Q.         If we could then go to the next call,            B3625 , on

 8 Page 338.     Again , does this call take place on April

 9 15?

10 A.         Yes.     At 3 :34 in the afternoon.

11 Q.         It's between whom?

12 A.         George    Harris and    Paulette   Mart in.

13 Q.         If we could play this call.

14            (Audio recording begins play        ing at 10 :36 a.m. )

15            (Audio recording       stops playing at 10     :36 a.m. )

16            BY MS. JOHNSTON:

17 Q.         Based on your training       and experience , what are

18 Ms. Martin        and Mr. Harris discussing in this call?

19 A.         Mr. Harris,     the fourth line down    , is it okay for

20 me to stop past your office today, meaning can                I come

21 by your house to pick up drugs, and            then she goes on to

22 caution him about he needs to start picking up once a

23 week , to not be calling there          and having people run in

24 and out because of the traffic causes suspicion.

25            And then at the end of the call        , he identifies




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 1 the quantity he wants by almost whispering two size

 2 eights,   referring to two either eighth of           a kilogram or

 3 eighth of an ounce      , quantities of cocaine      , and she

 4 confirms it by saying two size eight dresses.

 5 Q.        If you could make a notation on our code chart

 6 there next to the word dresses,         Page 338.

 7 A.        (Witness indicating.     )

 8 Q.        Now, that call occurred on April 15; is that

 9 correct ?

10 A.        Yes.

11 Q.        The next call on our list      , B3862 on Page 340       ,

12 occurs on what day       and between what parties?

13 A.        Three days later , on the      18th --    April 18, 2004 ,

14 at 3 :18 in the afternoon.

15 Q.        If we could play --      and who are the parties?

16 A.        Paulette    Martin   and Larry Lane.

17 Q.        If we could now play it.

18           (Audio recording begins playing at 10         :38 a.m. )

19           (Audio recording stops playing at 10         :38 a.m. )

20           BY MS. JOHNSTON:

21 Q.        Based upon your training       and experience , what

22 are Ms. Martin       and Mr. Lane dis cussing      in this call?

23 A.        Mr. Lane is asking      Ms. Martin if she knows where

24 anybody's   got a supply of cocaine.          Ms. Martin says ,

25 ain't no tickets or nothing nowhere         , and then he goes




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 1 on to say , if you get some tickets           , meaning if you get

 2 some cocaine , can you look out for your nephew a

 3 little , referring to him.         Meaning keep me in mind

 4 because    I want drugs , too .

 5            And then she goes on to say         , that's what she's

 6 been working on , find ing a new         source of cocaine ,

 7 trying to get some tickets          , and then she goes

 8 complaining that       Learley     Goodwin   has let everything go

 9 down to nothing , referring to the drug business              , go

10 down to nothing.

11 Q.         Okay.     And if you could,       Goody referring to      Mr.

12 Goodwin?

13 A.         Learley    Goodwin.

14 Q.         If you could , next to the word tickets          , write

15 Page 340 on our chart.

16 A.         (Witness indicating.      )

17 Q.         We could go to the next call,          B3925 , on Page

18 342.    What is the date         and time of this call?

19 A.         This is    April 19,    3 o'clock in    the afternoon,

20 2004.

21 Q.         If we could play this call         , please.

22            (Audio recording begins playing at 10           :40 a.m. )

23            (Audio recording stops playing at 10           :40 a.m. )

24            BY MS. JOHNSTON:

25   Q.       Based upon your training          and experience , what is




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 1 Mr. Martin telling        Mr. Harris in this call?

 2 A.         Mr. Harris is looking for       Ms. Paulette        Martin.

 3 Mr. John     Martin says that she's not there       , meaning

 4 Paulette's not home       , and that there are no drugs to be

 5 purchased , saying       I don't think nothing's going down.

 6 Q.         Okay .   N ow , if we go to the next call         , B3942 on

 7 Page 344.     Do you have that in front of you           ?

 8 A.         Yes.

 9 Q.         Who are the parties to that call?

10 A.         Paulette    Martin   and Learley   Goodwin.

11 Q.         Again , if we go back to our index in Volume             1,

12 was there a typographic         al error concerning the parties

13 to this call on Page 15         , or XV, of the index?

14 A.         Yes, there is.

15 Q.         What is that?

16 A.         In the index,    I believe it refer     s to the call

17 being between       Luis Mangual    and Paulette   Mart in.

18 Q.         Who are the correct parties?

19 A.         Paulette    Martin   and Learley   Goodwin?

20 Q.         If we could please play       Call B3942 on        Page 344.

21            (Audio recording begins playing at          10 :41 a.m. )

22            (A udio recording stops playing at        10:41 a.m. )

23            BY MS. JOHNSTON:

24 Q.         Based upon your training       and experience , what

25 are Ms. Martin        and Mr. Goodwin   discussing in this call?




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1 A.        Second line down , Ms. Martin is asking              Mr.

2 Goodwin    if he knows anybody with a source of cocaine                  ,

3 saying, you don't know anybody else with ticket                 s, bro ?

4 Meaning you don't know anybody else with cocaine for

5 sale?    Then she goes on to say that            Luis, meaning       Luis

6 Mangual , hasn't had no tickets for about two weeks                  ,

7 meaning that he's been out of cocaine             , too , for about

8 two weeks.

9 Q.        That is the same        Mr. Mangual    from whom she's

10 obtaining novels     and sunglasses         and oranges?

11 A.       Correct.   Well    --

12 Q.       Using those terms?

13 A.       She's ordering them in the phone conversation                  ,

14 but she's not actually obtaining those things.

15 Q.       If you could note on           the chart next to tickets           ,

16 Page 344.

17 A.       (Witness indicating.       )

18 Q.       Calling your at tention          to B3953 on     Page 345 .

19 Does this call also take place on             April 19?

20 A.       Yes.

21 Q.       At what approximately what time          ?

22 A.       At 7 :39 p.m.

23 Q.       Who are the     parties to       this call ?

24 A.       Ruby Harden and     Paulette       Martin.

25 Q.       If we could play the call          , please.




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 1            (Audio recording begins playing at 10        :43 a.m. )

 2            (Audio recording     stops playing at 10    :4 4 a.m. )

 3            BY MS. JOHNSTON:

 4 Q.         In regards to    this call , how long was this call?

 5 A.         The call was ten minutes.

 6 Q.         Has it been edited for playing here in court           ?

 7 A.         Yes.

 8 Q.         What portions did we play?

 9 A.         The first section is from the beginning of the

10 call to one minute and two seconds in            , and the second

11 section is from eight minutes and four seconds to the

12 end of the call.

13 Q.         And based upon your training        and experience ,

14 what was the relevance of the portions that we played?

15 A.         They're talking about      -- Ms. Harden    and Ms.

16 Martin are talking that         Ms. Martin doesn't have any

17 cocaine to sell        Ms. Harden .   The bottom of Page 345,         I

18 don't have any tickets        , referring to     I don't have any

19 cocaine.     Then on     Page 346 , the paragraph there where

20 Paul ette Martin is talking about         Goody having a

21 problem , mean ing that       Goody's not being able to get any

22 cocaine either.

23            And then she goes on to say      , he 's been having a

24 problem getting ticket        s, talking about     Goody, again

25 Learley    Goodwin , having a problem getting tickets         , and




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1 the people that got them are so sky             -high , meaning the

2 people that have cocaine          , their prices are high that

3 it's not worth it to -- for them to purchase it                , and

4 that we're working on that          , meaning working on getting

5 new cocaine.

6             Then in the last      excerpt,   she just reassert    s the

7 same thing , I'm working on that ticket thing now               , I'm

8 working on getting cocaine.

9 Q.          If you could note on the chart         Pages 345    and 346

10 next to the word tickets.

11 A.         (Witness indicating.     )

12 Q.         There 's also a reference in        Call B3953 by    Ms.

13 Martin to having been to          Florida   and back to   Augusta.

14 During this time frame         , was the pole camera operating

15 at her residence?

16 A.         Yes.

17 Q.         Based on your review of the pole camera tape,

18 did you determine whether          or not she had , in fact ,

19 traveled    out of state during this time period?

20 A.         No, she did not travel.

21 Q.         Now if we could turn to the next call,          A1219 ,

22 which takes place on what date?

23 A.         This is on   April 21, 2004 , at 5 :54 p.m.

24 Q.         Who are the parties to this call        ?

25 A.         Learley   Goodwin    and Paulette    Martin.




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 1 Q.        If we could play this call, please.

 2           (Audio recording begins playing at 10          :46 a.m. )

 3           (Audio recording     stops playing at 10      :47 a.m.)

 4           BY MS. JOHNSTON:

 5 Q.        Again , based on your training        and experience ,

 6 what does the word      "ticket " refer to here?

 7 A.        A source of supply of cocaine.            Paulette says

 8 you ain't heard nothing about no tickets             , meaning you

 9 don't have anybody who can sell us cocaine             , and Mr.

10 Goodwin   goes on to talk about         gett ing somebody out of

11 jail that might be able to help them on that.

12 Q.        Now if we could go to the next two calls            , A1224

13 and A1226 , beginning on       Page 348.    On what date       and

14 time do these two calls take place?

15 A.        April 21st , 2004 , at 7 :12 p.m.

16 Q.        And the second one,     A1226?

17 A.        Yeah.   Same day at 9   :01 p.m.

18 Q.        Who are the parties to these calls?

19 A.        The first one is     Paulette    Martin    and LaNora      Ali,

20 and the second one is        Paulette    Martin,    LaNora   Ali, and

21 John Martin.

22 Q.        Could we please play A1224 on         Page 348 ?

23           (Audio recording begins playing at 10          :48 a.m.)

24           (A udio recording stops playing at 10         :48 a.m.)

25           BY MS. JOHNSTON:




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 1 Q.         And then if we could play      A1226 on    Page 34 9.

 2            (A udio recording begins playing at 10       :48 a.m. )

 3            (Audio recording stops playing at 10        :49 a.m.)

 4            BY MS. JOHNSTON:

 5 Q.         Now , based upon your training      and experience ,

 6 what is being discussed between         Ms. Martin     and Ms. Ali

 7 on April 21st of 2004?

 8 A.         They're talking about getting       -- Ms. Ali buying

 9 an eighth of an ounce of cocaine from           Ms. Martin , based

10 on conversations she's having with somebody else             , which

11 would indicate to me that she's buying it for somebody

12 else.   And then they go on to discuss the price of the

13 purchase being put on       Ms. Ali 's tab , and they go ahead

14 an d clarify to make sure there that it         's $125 , not

15 $150 , that was put in the book.

16 Q.         Based upon your training      and experience , is $125

17 consistent with the purchase of an          eighth of an ounce

18 of cocaine or cocaine base?

19 A.         Yes.   Eighth of an ounce of cocaine, yes.

20 Q.         Now, also do   you have an opinion , based upon the

21 preceding call with       Ms. Martin   and Mr. Goodwin      where

22 they're looking for tickets        and this call both

23 occurring on the same date where          Ms. Martin has

24 provided    Ms. Ali with a ticket or a quantity of

25 cocaine , as to whether       or not those calls are




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 1 inconsistent?

 2 A.       No.   They're very consistent       .   T hey're talking

 3 about two different thing       s.

 4 Q.       Okay .   I f you could explain it to the jury.

 5 A.       In the previous calls       , Ms. Martin    is looking for

 6 a source of cocaine     , referring to tickets as a kilogram

 7 quantity of cocaine she want         s to buy for someone.     Here

 8 is talking about a smaller amount that she's actually

 9 selling .   S o even though they use the same ticket          , in

10 the previous conversation       , she's trying to find a

11 source , in this one she's selling to a customer.

12 Q.       In that same regard     , base d upon your training

13 and experience, is that eight ball         , or eighth of an

14 ounce , a quantity that is for -- can with used for

15 distribution?

16 A.       For distribution , typically someone would take

17 that , break it into smaller amounts        , and then sell

18 those amounts.

19 Q.       Would they also keep some of that for personal

20 use as well?

21 A.       If they're user s, yes , they would .         O therwise ,

22 they just make more profit.

23 Q.       And is there an indication in           Call A1224 , based

24 upon your training      and experience , as to what       Ms. Ali

25 was intending to do?




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1 A.         Middle of the page     , Paulette      Martin confirms

2 that you just wanted one ticket             , and Ms. Ali says ,

3 that's     -- I'm going to make a phone call            , meaning she's

4 going to talk to somebody else before she clarif                 ies the

5 amount of drug s she wants to purchase.

6 Q.         If we could keep our chart straight at              Page 348

7 for -- next to the code word              "tickets ".

8 A.         (Witness indicating.       )

9 Q.         I think that's the only page.         Now, in regards

10 to t he call on Page 350 , there           was a discussion of the

11 price --

12 A.        Yes .

13 Q.        -- i s that correct?       Have you had occasion to

14 review    Government's    Exhibit     Hayward   7?

15 A.        I'm sorry?

16 Q.        Have you had    occasion to review           Government's

17 Exhibit    Hayward   7?

18 A.        Yes.

19 Q.        Is there a reference in          Hayward     7 consis tent

20 with the discussion of the book?

21 A.        Yes.    The first red tab shows a purchase for

22 $125 by    Ms. Ali that would fit into where              Ms. Martin is

23 referencing putting a       $1. 25 in the book.

24 Q.        Let me put it on the screen so every             one can see

25 what you're talking about        .




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 1           In reference to     Hayward    7, where was that

 2 recovered?

 3 A.        Paulette    Martin's residence.

 4 Q.        The same place where      we had the pole camera up?

 5 A.        Yes, yes.

 6 Q.        First of all , is her name at the top of the

 7 page ?

 8 A.        It says    LaNora , and then the column is divided

 9 down the middle between two sets of figures being add                ed

10 and subtracted.

11 Q.        If we look at -- which column are you looking

12 at , the first or     the sec ond column ?

13 A.        You're looking at the col          umn on the left page,

14 right-hand side , so now on the screen on the left-hand

15 side of the screen.      If you look at the bottom of where

16 the screen is now, the very bottom will show a balance

17 of 150.   Then $125      will be added to that , and that will

18 be a -- bring her bill back to 275            , and that's the

19 notation she's referring to on Page 350.

20           MR. SUSSMAN :     Ms. Johnston, could       we get the

21 exhibit   number ?

22           MS. JOHNSTON:      Hayward    7.

23           BY MS. JOHNSTON:

24 Q.        Now if we could go to the next call          , B4108 , on

25 Page 352.    Who are the parties to this call?




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 1 A.        Paulette    Martin   and George    Harris.

 2 Q.        On what date    and time does it take place?

 3 A.        April 22, 2004 , at 4 :40 in the afternoon.

 4 Q.        If we could please play B4108.

 5           (Audio recording begins playing at 10         :55 a.m. )

 6           (A udio recording stops playing at 10        :5 5 a.m. )

 7           BY MS. JOHNSTON:

 8 Q.        Again the reference to ticket        s in this call

 9 refers to what?

10 A.        Cocaine.

11 Q.        What is    Ms. Martin telling      Mr. Harris ?

12 A.        That the middle of the page there        , she says      I

13 don't have any tickets.         I stopped for a few minutes        ,

14 meaning   I don't have any cocaine to sell.            I stopped

15 for a while because       I had to deal with some important

16 business , and then in the next paragraph          , she says

17 tickets are kind of scarce anyway           , a lot of people

18 calling me , meaning that supplies of cocaine are tight

19 and a lot of her customers are calling her.

20 Q.        When she says    I'm try ing to get it back together

21 now , what's she referring to?

22 A.        Another supply of cocaine.

23 Q.        Now , if you would     write Page 352 next to our

24 word "tickets " on the board.

25 A.        (Witness indicating.     )




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 1 Q.        Again , there's a reference to being out of town.

 2 Based upon your review         of the pole cameras    , was Ms.

 3 Martin out of town at this time?

 4 A.        She says    I may have to run out of town for the

 5 weekend , but she did not.

 6 Q.        And above that , there's a reference to             , I had to

 7 run out of town, s      imilarly .

 8 A.        Yeah, s he did not do any traveling          dur ing this

 9 time period.

10 Q.        If we could go to      Call B4175 on Page 358          --

11 strike that , I think      I skipped a call.

12           If we could go to      Call B4153 on Page 356.         What

13 date and time does this call take place?

14 A.        This is    4/23 /2004 at 9 :57 a.m.

15 Q.        Who are the     parties to   this call ?

16 A.        Paulette    Martin   and Claudette     Phil pot .

17 Q.        Who is    Ms. Claudette    Philpot   related to?

18 A.        She is the wife of      Pernell   Philpot , who was

19 arrested in    Wyoming.

20 Q.        If we could     please play B4153.

21           (Audio recording starts       playing    at 10 :58 a.m .)

22           (A udio recording stops      playing    at 10 :58 a.m. )

23           BY MS. JOHNSTON:

24 Q.        Now, based upon your training          and experience ,

25 what is   Ms. Martin asking       Ms. Philpot     in this call?




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 1 A.       She's asking     Ms. Philpot    if anybody's taken over

 2 her husband's drug business.

 3 Q.       And the code word being used here?

 4 A.       Fourth line     down, n she says is there anyone

 5 hand ling the ticket business      , meaning anybody handling

 6 the drug business.      Next section    , anybody handling that

 7 ticket business of your husband's         , meaning anybody

 8 handling the drug business of your husband?         Or is it

 9 just dead now?     Initially    , she re plies , yes , but then

10 she change s the answer to no , that nobody's handling

11 the drug business.

12 Q.       And if you could write Page 356 on the board

13 next to the word     "tickets ".

14 A.       (Witness indicating.      )

15 Q.       If we could go then to        Call B4175 on Page 358.

16 Who are the parties to this conversation?

17 A.       Milburn   Bruce Walker and Paulette           Mar tin.

18 Q.       What date    and time does this call take place?

19 A.       This is on April 23, 2004       , at 1 :56 p.m.

20 Q.       If we could play the call, please         .

21          (A udio recording begins       playing   at 11 :00 a.m. )

22          (A udio recording stops playing at 11           :00 a.m. )

23          BY MS. JOHNSTON:

24 Q.       Based upon your training        and experience , what

25 are Ms. Martin     and Mr. Walker discussing during this




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1 call?

2 A.          Walker is ordering a quantity of powder cocaine

3 and crack cocaine from        Ms. Martin.

4 Q.          On what do you base that conclusion        ?

5 A.          The middle of the call where       Ms. Martin says ,

6 what kind of ticket do you want         , because    I don't have

7 any really unmade tickets        , meaning the only thing            I

8 have is crack.         I don't have any powder.       And then she

9 goes on to say , I may have a small one -- small             , you

10 know , meaning unmade , so she may have a small amount of

11 powder , and then Mr. Walker orders a small unmade              ,

12 meaning a small amount of powder        , and probably at least

13 a size eight of made      , meaning an eighth of a kilo or

14 eighth of an     ounce of crack cocaine .

15 Q.         Again , is this inconsistent with her calls where

16 she's looking for tickets where she's discussing not

17 having any tickets?

18 A.         No, not at all.

19 Q.         Why not?

20 A.         You know, she's trying to find a source of

21 cocaine in the kilogram quantity        , and here we're

22 talking probably       something   less of that that she's

23 telling.

24 Q.         Now if we could go to the next two calls         , B4183

25 and B4223 , on Page 36 1 and 362 and 36 3.          Are these




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 1 calls between the same parties?

 2 A.        Yes.     Paulette   Martin   and Lavon "Becky " Dobie .

 3 Q.        What date    and time do they t he calls take place?

 4 A.        If first one is on April 23, 2004         , at 2 :56 in

 5 the afternoon ; and the second is on the same day at

 6 7:32 p.m.

 7 Q.        If we could please play B4183 on Page 361.

 8           (Audio recording starts playing at 11         :02 a.m. )

 9           (A udio recording stops playing at 11        :0 3 a.m. )

10           BY MS. JOHNSTON:

11 Q.        If we could go to the next call        , B4223.

12           (Audio recording begins playing at 11         :03 a.m. )

13           (A udio recording stops playing at 11        :03 a.m. )

14           BY MS. JOHNSTON:

15 Q.        Wh at are   Ms. Dobie   and Ms. Martin discussing in

16 these two telephone intercepts?

17 A.        Again,    Ms. Martin again is searching for

18 additional sources of supply of cocaine          , and the third

19 on page 36 1 on the third excerpt down         , she goes,      I was

20 call ing to see what happen       ed to the show.      I thought we

21 were going to have a ticket.       A couple of people called

22 me , I told      them there w as nothing    I could   do.   I

23 thought we would be at one         of your shows by now ,

24 meaning   I thought you would have a supply of cocaine by

25 now , and then she goes on to call or try to reach the




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 1 person   that she's in contact with about supplying the

 2 cocaine.

 3            That continues on to           Page 36 2 on -- at    Call

 4 4223.    At the end     , bottom of       Page 36 2, she says     --

 5 "she" being     Ms. Dobie --     says , all right , because you

 6 didn't   even --    they weren't able to give you              no kind of

 7 tickets , were they ?       M eaning      Ms. Martin's source     , and

 8 then Ms. Dobie says , okay , I'll give him a call then                  .

 9 And they're just , again , both conversations are talking

10 about finding another source of cocaine.

11 Q.         The phrase    "no kind of tickets        ," what does that

12 refer to?

13 A.         Drugs.   No kind of drugs.

14 Q.         Meaning what drugs?

15 A.         Cocaine they're talking about here.

16 Q.         If we could -- why is it cocaine            and not heroin?

17 A.         When they talk about heroin          , it becomes more

18 obvious , and I think we'll see that later              .   B ut in this

19 particular context       , they're talking about cocaine.               Ms.

20 Martin's heroin source was fine.            It was her cocaine

21 source that was the problem.

22 Q.         If you can write on the board            Page 361    and 36 2

23 next t o the code word       "tickets ".

24 A.         (Witness indicating.       )

25 Q.         These calls occurred -- ended the            evening    of




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 1 April 23 of 2004 ; is that correct?

 2 A.        Yes.

 3 Q.        Are you aware of where        Ms. Levi 's source was?

 4 A.        New York City.

 5 Q.        All right.    And for what purpose was         Ms. Levi in

 6 New York City?

 7 A.        Ms. Levi was in       New York City to buy heroin from

 8 her heroin source.

 9 Q.        Ms. Levi was a supplier of heroin to           Ms. Martin?

10 A.        That's correct.

11 Q.        Did you   and other agents send a surveillance

12 team to   New York on April 23 of 2004        ?

13 A.        Yes.   I sent a -- people out to surveil          Ms. Levi

14 in anticipation that she would be traveling to              New York

15 to pick up heroin from her source.

16           MS. JOHNSTON:      Your Honor , if we could recess

17 his testimony at this time         and call the detectives

18 involved in that event      .

19           THE COURT:   A ll right.      You may.

20           MS. JOHNSTON:     Thank you    , Your Honor.

21           (Witness excused at 11      :06 a.m. )

22 Thereupon,

23                             JEFF RACHEL ,

24 having been called as a witness on behalf of             the

25 plaintiff , and having been first duly sworn by the




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1 Courtroom Deputy, was examined and testified as

2 follows:

3                             DIRECT   EXAMINATION

4        BY MS. JOHNSTON:

5 Q.         Sir , please state your full name           and occupation.

6 A.         Corporal    Jeff Rachel .       I'm with the     Montgomery

7 County Police Department.

8 Q.         And how long have you been employ           ed with    the

9 Montgomery        County Police Department?

10 A.        Sixteen years.

11 Q.        In what capacity?

12 A.        I'm current ly the corporal in the             Drug

13 Interdiction       Unit.

14 Q.        Could you    explain the       experience   you 've had in

15 the narcotics area, please           ?

16 A.        Received extensive training in drug recognition

17 and participated in several interdiction schools over

18 the past six years that            I've been in narcotics.

19 Currently trained          and certified as a dog handler in the

20 drug interdiction          unit.

21 Q.        When you say a       "dog handler,"     you presently work

22 with a dog that detect         s the presence of drugs       ?

23 A.        Yes.

24 Q.        Calling your att ention back to April 23 of 2004              ,

25 where were you assigned on that date?




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 1 A.       I was part of a surveillance team that was sent

 2 to the area of 5844      Digger Lane in     Elk Ridge, Maryland.

 3 Q.       Who resided at that location?

 4 A.       Gwen Levi .

 5 Q.       Approximately what time did you arrive there?

 6 A.       We initiated a surveillance at about midnight.

 7          THE CLERK:      I'm sorry , some of the juror      s are

 8 having difficulty hearing him        .   C ould you slide    up to

 9 the mike a little bit for me?       Thank you.

10          BY MS. JOHNSTON:

11 Q.       Did there come a time when some activity

12 occurred at that location?

13 A.       Yes.

14 Q.       Can you describe the       activ ity th at you observed

15 there on April 23?

16 A.       The following morning      , Gwen Levi and another

17 female identified as      Donna Johnson , left in       a

18 Mitsubishi      Gallant, drove to a gas station down the

19 street, came back     , and then they left       and went to a

20 service station in      Ellicott   City.

21          They left their vehicle to receive some type of

22 repair   and went and had breakfast at a nearb          y diner.

23 They stayed there for a period of time.        Returned.

24 Retrieved the vehicle.     Made a couple more stops an           d

25 then returned back to their house on           Digger Lane.




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1 Q.        Did there come a time later on April 23            when

2 they left     Digger   Lane and proceeded to travel out of

3 state?

4 A.        About 1 o'clock in the afternoon that same day                ,

5 they left that address        and proceeded north on

6 Interstate 95 towards        New York City.

7 Q.        Were you involved in the        surveillance up to        New

8 York City and in New York City?

9 A.        Yes.

10 Q.       Were you doing     surveillance alone or were other

11 people with you?

12 A.       I was part of     a surveillance     team.

13 Q.       Can you describe for the ladies and gentlemen of

14 the jury how a surveillance team works?

15 A.       When you -- a particular target is identified,

16 probably a minimum of five or six detectives in

17 different unmarked vehicles will participate in the

18 surveillance , whether it's in a small area or a long

19 distance , passing the vehicle off as from one detective

20 to the next to avoid de      tection   by the target.

21 Q.       Where did you     follow}   Ms. Levi 's vehicle to?

22 A.       New York City.     All the way to the end of the

23 turnpike , and we entered       New York City.        I think it was

24 East 155th      Street.

25 Q.       Any -- were you     given any ass is tance in New York




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1 City with the surveillance?

2 A.        Yes.    Detective    Snyder had contacted      Customs in

3 New York , who assisted us with the surveillance there                 ,

4 since they were familiar with          New York City and we were

5 not.

6 Q.        Could you describe what observations you made

7 while you were in       New York City on April 23 of 2004?

8 A.        Very crowded.

9 Q.        Were you there in rush      -hour traffic?

10 A.       Yes.

11 Q.       Eventually did you position your vehicle in a

12 particular location?

13 A.       Yeah.    They stopped at the      Furniture    Queen, a

14 store.

15 Q.       Do you know approximately where it was located?

16 A.       It was in the 3000 block of         East 155th    Street ,

17 an area of      Third Avenue , somewhere along there.         I

18 parked my van on an adjacent road         , which was across

19 from a vacant lot     , and took some video of the store          ,

20 and I moved to the same street          and got -- tr ied to get

21 in better positioning        and got some more video.

22 Q.       Can you tell us generally what you observed on

23 that date ?

24 A.       The vehicle park ed in front of the store or near

25 the front     of the store with    Donna Johnson in the




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1 vehicle , and Gwen went into the store          , was there for a

2 period of time , came back out .           T hey drove down the

3 street, switched drivers.          Donna Johnson had gone into

4 a near by McDonald's , came back , and they also went to

5 some type of       Express store in the area.

6 Q.        A what kind of store?

7 A.        Some type of      Express , and then the vehicle

8 returned to the       Furniture   Queen.

9 Q.        All right.     Did you make observations once it

10 returned to the      Furniture   Queen?

11 A.       Yes.     Went back inside , retrieved      something from

12 the trunk , went back into the store         , and then came out

13 a pe riod of time     --

14 Q.       Who went into the trunk?

15 A.       Gwen .

16 Q.       "Gwen" referring to      Ms. Levi?

17 A.       Yeah.

18 Q.       What did she take out of the trunk         ?

19 A.       Some type of object     ; I don't recall exactly.

20 Q.       Where did she go?

21 A.       Into the furniture store.

22 Q.       Were you able to videotape portions of your

23 surveillance?

24 A.       Parts of it yet , yes.

25 Q.       What difficulty did you have that you weren't




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 1 able to videotape the whole thing?

 2 A.        The camera would cut off at certain -- after a

 3 certain period , then I'd have to          shut it off , take the

 4 battery   out, put it back in , turn it back on again            .   So

 5 I didn't -- it's not the best         video ever shot.

 6 Q.        Do we have that video here today?

 7 A.        Yes.

 8 Q.        Have you reviewed     Government's       Exhibit   Video 22?

 9 A.        Yes.

10 Q.        Is that the video that you took while you were

11 in New York ?

12 A.        Yes.

13 Q.        If we could play the video       , and if you could

14 tell us what -- where the vehicle is              and who is being

15 shown in the video as it plays.

16           (Video    begins playing at 11    :14 a.m. )

17           THE WITNESS:    We parked across the street in

18 front of a vacant lot in front           of the    Furniture   Queen.

19 Taking video -- there's the video          , the Mitsubishi w ith

20 Donna Johnson sitting in        it.

21           BY MS. JOHNSTON:

22 Q.        That's the    vehicle there?

23 A.        Yes.     That's when they   initially      had stopped

24 there .   I'm just trying to get the street            and a shot of

25 the store.       That's the store.




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 1 Q.       Does the video reflect the accurate date                      and

 2 time?

 3 A.       Yes.     That 's the vehicle again.         Looks like              I'm

 4 try ing to   get a close up .           I'm try ing to    check at the

 5 same time to get a shot              again of Gwen coming back to

 6 the car .    T hat's why it kind of pans around try               ing to

 7 pick up her.

 8          The car again , trying to get a close-up of the

 9 occupant in the car.       More of the car.              I should switch

10 locations here briefly.         More of the storefront.          Now

11 I've switched location          s.     N ow I'm on the same street           ,

12 opposite side of the street             , down the block from the

13 Furniture    Queen.

14          Trying to get a shot of             Gwen Levi leaving the

15 store.   That's     Donna there in the front seat of the

16 Mitsubishi .      Okay .   Gwen has returned to the vehicle

17 and is in traffic heading away from the store.

18 Q.       That's the vehicle there?

19 A.       Yes.     That's the vehicle right there.

20 Q.       You were not able to videotape her getting into

21 the vehicle?

22 A.       No.

23 Q.       Was there traffic going in between you                  and the

24 vehicle at that point       ?

25 A.       Yes.     That's her passing my vehicle.           Now




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 1 they're stopped near the        McDonald's.    It's just a block

 2 and a half away from the        Furniture   Queen.    It wasn't

 3 far at all.     This vehicle stopped near them.       That's

 4 Donna getting out of the driver's seat,            Gwen getting

 5 in.   She looks back,       shut s the door.

 6 Q.       Now the object that was taken out of the trunk

 7 is still in the trunk at this point; is that correct?

 8 A.       Yes.

 9 Q.       You mentioned the      Ex press store.    Is that that

10 $.99 Express store?

11 A.       Yes.    That's where the vehicle is parked.

12 Close-up of the tag.

13 Q.       That was    Pennsylvania tags on the vehicle; is

14 that correct?

15 A.       Yes.    T he vehicle has returned to the         Furniture

16 Queen.

17 Q.       Can we see the vehicle in this portion of the

18 video?

19 A.       I think    it 's in between the van there        and the

20 last car in the line.         I'm going t o reposition my

21 vehicle again here in a second to be -- now             I'm down

22 the street.     Same side    , but farther down.     Close-up of

23 the tag as they're parked at the          Furniture    Queen.

24          At this point , I believe       Gwen has already

25 re trieved   the object from the trunk         and gone into the




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1 store and I'm attempting to get a shot of her as she

2 exits , hopefully with something        , is what    I'm trying to

3 do.   But    I'm unsuccessful.

4 Q.          What do you mean    "you're unsuccessful     "?

5 A.          Because of difficult    y with the camera.     Getting

6 the actual picture or of her coming out.

7 Q.          Were you able to see her coming out of the

8 store ?

9 A.          Yes.

10 Q.         What d id she have with her when she came out of

11 the store?

12 A.         It looked like a clothes box that had been

13 wrapped up like a present.

14 Q.         Where was it placed?

15 A.         In the trunk , and she got into the driver's side

16 of the vehicle       and drove off.

17 Q.         Okay.   You were not able to capture that on

18 video?

19 A.         No , I was not.

20 Q.         Is that one of those things that sometimes

21 happens when you're videoing surveillance?

22 A.         Yep.    Faulty equipment.

23 Q.         Does your video continue to the point where they

24 leave in the vehicle?

25 A.         Yes.




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 1 Q.        Okay.

 2 A.        It should cut off here shortly.

 3                   (V ideotape ends at 11    :20 a.m. )

 4           BY MS. JOHNSTON:

 5 Q.        After you observed her place the package -- the

 6 present in the vehicle, did you continue your

 7 surveillance of her at that time?

 8 A.        Yes.    With   the ICE Detectives from      New York

 9 also.

10 Q.        And describe for us what -- where you went           ,

11 where you followed       Ms. Levi and Ms. Johnson.

12 A.        Initially went around the block once           and then

13 ended up going to a gas station        , a Shell station , and

14 they drove to an apartment building.            I don't remember

15 the exact address.

16           They parked near an intersection        , went in the

17 building for approximately 20 or 30 minutes            , came back

18 out and left , and ended up southbound on 95.             I kind of

19 got lost at that point because         I went to go get gas at

20 the end   and ended up catching up with them at a rest

21 stop , southbound 95.

22 Q.        Did surveillance -- did you maintain

23 surveillance      on them from that point?

24 A.        The entire time, yep.

25 Q.        And did there come a time when they were




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 1 stopped?

 2 A.         Yes.    Enter ing the state of        Maryland , they were

 3 stopped by        Maryland    State Police.

 4 Q.         Did you part icipate       in that stop?

 5 A.         No.

 6 Q.         Did other members       , to your knowledge    ?   D id other

 7 members of the surveillance team            ?    W ere they involve d

 8 in the stop or was it done by the state police?

 9 A.         State police.

10 Q.         Did you have       any contact with the people at the

11 Furniture    Queen at that point?

12 A.         No.

13 Q.         Did other people have contact with the people at

14 the Furniture        Queen?

15 A.         The detectives in        New York d id, I believe.

16            MS. JOHNSTON:         I have no further questions of

17 this witness.

18            THE COURT:        Cross-examination    ?

19            MR. MONTEMARANO :        None from    Ms. Martin , Your

20 Honor.

21            MR. MARTIN:        Mr. Goodwin   has no questions    , Your

22 Honor.

23            MR. HALL:     No questions.

24            MR. MITCHELL:       No , Your Honor.

25            MR. WARD:     No , thank you , Your Honor .




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 1            THE COURT:    A ll right.       You may step down.

 2                          (W itness excused at 11        :22 a.m. )

 3            THE COURT:       L adies and gentlemen      , let's take a

 4 morning recess now      .    W e will resume at       20 minutes of

 5 12 :00.

 6                     (Jury excused at 11:22 a.m.)

 7                     (Off the record at 11:         22 a.m. )

 8                     (On the record       at 11 :43 a.m. )

 9            THE COURT:    Are we ready for the jury?

10            All right, bring them in.

11                     (Jury returns at 11      :44 a.m. )

12            THE COURT:       Y ou may proceed.

13            MS. JOHNSTON:       Your Honor , the Government would

14 call Jordan     Polvere .

15 Thereupon,

16                              JORDAN    POLVERE ,

17 having been called as a witness on behalf of the

18 Plaintiff , and having been first duly sworn by the

19 Courtroom Deputy, was examined and testified as

20 follows:

21                          DIRECT       EXAMINATION

22            BY MS. JOHNSTON:

23 Q.         Please   state your full name and           occupation.

24 A.         Jordan   Polvere , P O L V E R E, Special           Agent

25 with the    Department of       Homeland    Security     Office of




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1 Inspector    General.

2 Q.        How long have you been employed by the

3 Department of       Homeland    Security?

4 A.        Less than two years      , just under two year        s.

5 Q.        What did you do before that?

6 A.        Prior to that , I was a      Customs      Agent for

7 approximately seven years         , and prior to that , I was a

8 Deputy U. S. Marshall          for two years.

9 Q.        What is your experience as a          Customs   Agent?

10 A.       As a Customs    Agent , I worked on narcotics

11 investigations as well as money laundering

12 investigations.

13 Q.       In what particular area?

14 A.       In the    New York/New    Jersey area.

15 Q.       Calling your attention to April 23 of 2004                 , were

16 you employed by      Customs at that time      ?

17 A.       Yes , I was.

18 Q.       Where were you assigned on that date?

19 A.       New York office.

20 Q.       Did there come a time when your office was

21 contacted by      Agent Snyder from    Maryland     and asked for

22 assistance?

23 A.       Yes, the afternoon of April 23 of            '04.

24 Q.       What were you asked to do?

25 A.       I was asked to help in a surveil           lance, that they




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1 may be -- that      they will    be surveilling a vehicle

2 possibly coming into         New York in the later evening

3 time , and I was asked to help when they got into              New

4 York to hel p with the surveillance.

5 Q.         Did you , in fact , assist with the surveillance?

6 A.         Yes , I did.

7 Q.         Were you by yourself or with other individuals?

8 A.         I was with a group of individuals from my

9 off ice.

10 Q.        Where did you conduct your surveillance?

11 A.        We began the surveillance in -- right at           the

12 George    Washington     Bridge , as the vehicle entered      New

13 York.

14 Q.        That was along with      the agents from      Maryland?

15 A.        That's correct.

16 Q.        Where did the -- what was the focus of the

17 surveillance in     New York?

18 A.        The focus was we began the surveillance at

19 approximately 5 :30 , and we were advised of the vehicle               .

20 They were surveilling a tan        Mitsubishi with

21 Pennsylvania tags        EMD 0507 , and we -- as the vehicle

22 enter ed the George       Washington   Bridge , our team picked

23 up surveillance on the vehicle          and we took     over the

24 lead surveillance from the        Baltimore agents.

25 Q.        Where did the vehicle        eventually go?




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1 A.          The vehicle     eventually    went to   Third Avenue ,

2 3009 Third Avenue , and parked right in front of a store

3 called the      Furniture    Queen.

4 Q.          Where is that in relation to          155 th Street?

5 A.          That's in the     Bronx,    New York , and it's north of

6 it.

7 Q.          Excuse me?

8 A.          It's in the     Bronx,    New York.

9 Q.          What observation s did you make outside the

10 Furniture     Queen?

11 A.         Well , the vehicle pulled in front of it.        There

12 were two    driver s in the -- there was a driver in the

13 vehicle    and a passenger in the vehicle          , and the driver

14 got out    of the   vehicle    and entered the store.

15 Q.         Did you continue your observations of the

16 activities there?

17 A.         Yes, I did .

18 Q.         Describe what you observed.

19 A.         The passenger remain       ed in the pass enger car , the

20 driver went into the store           , and about 20 minutes later      ,

21 she came out of the store           , got back into the vehicle

22 and headed south        -- drove off southbound on       Third

23 Avenue.

24 Q.         What did you all do at that point         ?

25 A.         We follow ed the vehicle southbound on          Third




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1 Avenue , and she --      and she pulled over to the left a

2 few blocks up ahead on         West Chester    Avenue on the

3 corner , parked the vehicle at a metered spot            , and the

4 driver    and the passenger alternated going into

5 McDonald's .     O ne stayed in the car     , the other one went

6 into McDonald's an d they took turn s.

7 Q.        Where did they go from there?

8 A.        About half an hour later       , when they were both

9 back in the vehicle      , they got back into the vehicle          and

10 they drove -- they squared around the block             and pulled

11 up back onto    Third Avenue in front of the         Furniture

12 Queen store.

13 Q.       Did anyone exit the vehicle when they returned

14 to the   Furniture   Queen?

15 A.       Yes, the driver did.

16 Q.       Where did the driver go?

17 A.       The driver went to her trunk, opened the trunk                ,

18 and pulled out a large cardboard          box , took it out of

19 the trunk   -- i t was a fairly big box of considerable

20 weight   -- and brought it into the store          -- in the

21 Furniture   Queen store.

22 Q.       You maintained your surveillance while she was

23 in the store?

24 A.       Yes, we did.

25 Q.       What did you next see      ?




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1 A.         We could n't see anything      in the store , but we

2 saw her exit the store       , about ten minutes later       ,

3 carrying a smaller box        -- a smaller , gift -wrapped box ,

4 which she then placed in her trunk           and got back in to

5 the vehicle     and drove off.

6 Q.         Now , did you maintain surveillance on the

7 vehicle as they left the area?

8 A.         The New York team include -- myself          and the rest

9 of the     New York team remained surveillance on the

10 Furniture    Queen , and the Baltimore team went with the

11 vehicle    and headed southbound.

12 Q.        In terms   of the team that you remained with by

13 the Furniture    Queen, what actions did you take?

14 A.        We just kept -- we kept a good eyeball on the

15 Furniture    Queen store , and a few minutes later        , the

16 vehicle actually came back to the store, pulled up in

17 front of it , and the driver again got out of the car,

18 went into the store      , and came back out two minutes

19 later and drove off again , and again we remained -- the

20 New York team remained in place on the store             and the

21 Baltimore team went with the         vehicle .

22 Q.        Now , when the vehicle came back, was it same

23 woman who went back in the store?

24 A.        Yes, it was.

25 Q.        Did she have anything with her that last time




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1 when she went in          and out?

2 A.        No, no .

3 Q.        Just the big box you saw her carry in             and then

4 the gift -wrapped package you saw her brought out              ?

5 A.        Correct.

6 Q.        Both were in the trunk at some point          ?

7 A.        Yes.

8 Q.        After the vehicle leaves at that point, do you

9 have any contact with any of the people at the

10 Furniture     Queen ?

11 A.       Yes.

12 Q.       Could you describe how         you came to have contact

13 with them ?

14 A.       A little before       8 o'clock , it appeared the store

15 was closing .      I t was about ten to     8:00, and the store

16 -- a couple of the workers came outside           .   T hey were

17 starting to put the gates down on           the store , so we

18 approached them         and we talked to somebody who said he

19 was the manager there        , and we asked him if we could

20 search his store , and he gave us consent to search his

21 store.

22 Q.       Who was that individual?

23 A.       He identified       himself   first as   Moises   Perez,   and

24 we later learned that         -- he later then identified

25 himself as      Juan Rojas Castro .     Later on , I didn't know




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1 this , but I heard he        had a different name of          Moises

2 Echarte    or .. .

3 Q.         Uriarte ?

4 A.         Uriarte , yeah.

5 Q.         Who conducted the search of the              Furniture    Queen ?

6 A.         I did,    along with the other agent          s.

7 Q.         Could you describe for us generally the                interior

8 of the store?

9 A.         It was a very deep store           .   I t was very narrow    ,

10 but very deep , and there was furniture piled up on both

11 sides of the store      .   And it was a very narrow pathway             ,

12 you had to make your way back to go into the whole

13 store , and in the back of the              store,   there was a small

14 office.    The door was open        , and there was an office in

15 there with a desk       and file cabinets.

16 Q.        What was it you were looking for?

17 A.        We were look ing for        the cardboard box that we

18 saw Ms. Levi bring into the store earlier.

19 Q.        Ms. Levi ?

20 A.        Ms. Levi , sorry.

21 Q.        Before we go any further           , let me just show you

22 what's been marked as        CH -1.        T he individual that you

23 described as the manager of the store                , is he depicted

24 on Government's       Exhibit     CH -1?

25 A.        Yes.     He 's in the    top right over here       .   (W itness




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1 indicating. )

2 Q.         If you could, write his name next to it             --

3 A.         All right.

4 Q.         -- and your initials.            And then let me give you

5 a thinner marker to write with, or a pen.            That's eve        n

6 better .

7 A.         Write his name        and my initials?

8 Q.         Yes.     Write his name        and your initials.

9 A.         (W itness   indicating. )

10 Q.        Do you    recognize     Ms. Levi as well?

11 A.        Yes .

12 Q.        Would you write her name           and your initials next

13 to her picture?

14 A.        (Witness indicating.       )

15 Q.        During the course -- once           you received consent

16 to search the       Furniture    Queen , describe the search that

17 was conducted.

18 A.        We searched the entire store          , and then when we

19 walked our way back towards the office             , I, along with

20 the other agents , saw the cardboard box             -- the large

21 cardboard box sitting right on the floor in the back

22 office in plain       view.

23 Q.        Let me show you what's been marked as

24 Government's       Exhibit P -131.       What do we see in this

25 photograph?




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1 A.          In that photograph   , we see the box      -- the

2 cardboard box.

3 Q.          Is that the area you described as the office?

4 A.          That's correct.

5 Q.          And P -132?

6 A.          That was the box with the money in it.

7 Q.          Okay.   Do you know approximately how much money

8 was in that box ?

9   A.        Yes.    There was $250,439 in the box.

10 Q.         In cash?

11 A.         In cash; correct.

12 Q.         Do you know how it was wrapped?

13 A.         I don't recall the exact increments of          each

14 wrapping, no.

15 Q.         Does it appear as it appeared when you opened

16 the box?

17 A.         Yes.

18 Q.         And P -133.

19 A.         That's just another picture of the box.

20 Q.         Is there anything in particular about the box

21 that's noted on this photograph?

22 A.         Yes.    There was the marking of $261,500 on the

23 box.

24 Q.         And P -134 ?   What do we see in this photograph?

25 A.         That was just some cutting agents that we saw in




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1 the office.

2 Q.        Is the box also depicted in that            ?

3 A.        Yeah, in the bottom     , left corner.

4 Q.        Let me show you what's been marked as

5 Government's      Exhibit   NY -4 and ask you if you recognize

6 this item.

7 A.        Yes.    That's the cardboard box       , and that's the

8 amount , the 26 1,500 that       I mentioned.

9 Q.        And there appears -- the box         , of course,       has

10 been broken up     and there's some black powder on it             .

11 Can you tell us what the black powder is?

12 A.       The black powder , I believe , is from the testing

13 that was done for      finger prints of the box.

14 Q.       In addition -- once you found the box with all

15 of that money in it     , did you continue to search the

16 office area ?

17 A.       Yes, we did.

18 Q.       Calling your attention to P         -135.       Can you tell

19 me what's depicted in that photograph?

20 A.       That's a file cabinet i      n the same office          that

21 we're talking about.

22 Q.       That thing next to that      , is that a mattress?

23 A.       Yes, it is.

24 Q.       The bottom drawer is open       .   W hat's the

25 significance of the bottom drawer?




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 1 A.       In the bottom draw      er, we found some narcotics      .

 2 We found approximately a kilogram of heroin             and about

 3 20 grams of cocaine.

 4 Q.       Showing you    P-136.    What's depicted in this

 5 photograph?

 6 A.       That's actually just more -- that's just bags

 7 that the nar cotics     and cutting agents were in.

 8 Q.       And P-137 ?    What do we see in this photograph?

 9 A.       That is the heroin       and cocaine    in the gift

10 wrap ping that   I mentioned before     .

11 Q.       You mentioned gift wrapping before in relation

12 to a different package; is that correct?

13 A.       That's correct.

14 Q.       What package was that?

15 A.       That was the one that       Gwen Levi walked out of

16 the store with      and put in her trunk when she left the

17 store.

18 Q.       This one    was one   you re covered in    the store?

19 A.       Correct .    T hat's one that we recover      ed from the

20 file cabinet in the office.

21 Q.       When you recovered it      , was it all wrapped up?

22 A.       Yes.

23 Q.       Approximately how much heroin was recovered in

24 that?

25 A.       I think it    was 1 ,007 grams , just over a key.




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 1 Q.        Now in addition to that         , did you see some other

 2 items in the residence or from Mr.              Uriarte ?

 3 A.        Yes, we did.     We       -- also in the office     , we

 4 seized a notebook.

 5 Q.        Let me show you what's been marked as

 6 Government's     Exhibit    NY-1, and ask if you recognize the

 7 notebook.

 8 A.        Yes, I do.

 9 Q.        Is that the notebook had that you seized                ?

10 A.        From the office; correct         .

11 Q.        These laboratory numbers were not on it at the

12 time , were they?

13 A.        No, they were not.

14 Q.        Other than that , does it appear to be in the

15 same condition as when you            seized   it , except for the

16 red line markings on it         ?

17 A.        Yes.

18 Q.        Those would have been done by some laboratory

19 person?

20 A.        Correct.

21 Q.        And why did you seize this           book?

22 A.        From my experience working drug case              s, the way

23 it's written , it appears to be a drug ledger.              The

24 format with money      and amounts        and dates    and it's pretty

25 clear that it's a narcotics ledger.




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1 Q.        Okay.   Let me put this page up so you can

2 explain to the jury what it was about, this ledger that

3 made it clear to you -- or this document that made it

4 clear to you that it was a drug ledger.

5           What is written in the first column?

6 A.        I gave dog , or dog gave me , and I don't know

7 what " dog " is , but referring to somebody who gave him

8 or took away drugs      , and it shows a date , and it shows

9 an amount     and usually in grams     , and then it show      the

10 tally of how much he paid for it or how much he got               ,

11 and it adds numbers      and takes away the numbers.

12 Q.       In addition to that      , did you also seize what's

13 been marked as     Government's    Exhibit    NY -2 and NY -3 ?

14 A.       Yes.    This is a small digital scale.

15 Q.       Why did you seize that?

16 A.       Because this is the type of scale that is often

17 used to weigh amounts of drugs when they're dividing it

18 up.

19 Q.       And NY -3?

20 A.       This was a cell phone from        Mr. Rojas .

21 Q.       Okay.    Mr. Rojas.      Rojas Castro    or Mr. Uriarte ?

22 A.       Uriarte .

23 Q.       What was done in terms of this phone once you

24 seized it?

25 A.       When we took that phone, the         Baltimore    agents ,




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 1 Agent Snyder, they had access -- they had phone records

 2 an d access to phone records that         Gwendolyn    Levi had

 3 been calling earlier that day         and prior to that

 4 meeting .    S o we did a test call on that -- we did a

 5 test call to the number that they had phone records on

 6 to see if that phone would ring to show that it was the

 7 phone that      Ms. Levi was calling.

 8 Q.       To set    up the meet ing that    day ?

 9 A.       Correct.

10 Q.       Were you aware that they had wiretap up at th            is

11 time?

12 A.       Yes.

13 Q.       And that they were monitoring         Ms. Levi 's calls ?

14 A.       Correct.

15 Q.       In fact , when he made the test call         , did it ring

16 and work as expected?

17 A.       Yes .    T he phone rang when we did the test call            .

18 Q.       That phone came from       Mr. Uriarte ?

19 A.       Yes.

20          MS. JOHNSTON:      I have no further questions of

21 this witness.

22          THE COURT:     A ny cross?

23          MR. MONTEMARANO :      Court's indulgence, please.

24                         CROSS-EXAMINATION

25          BY MR. MONTEMARANO :




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1 Q.         Good afternoon , Special        Agent Polvere .      H ow are

2 you ?

3 A.         Fine , thank you.

4 Q.         When you approached         Mr. -- it was Uriarte

5 ultimately ?

6 A.         Yes.

7 Q.         But at first blush        , it was   Mr. Castro or    Mr.

8 Rojas ?

9 A.         The first name he gave us was           Moises    Perez .

10 Q.        I thought it was      Juan Rojas Castro ?

11 A.        No.     If you look at back at the record          , I said

12 his first name was         Moises   Perez, then he later

13 identified       himself   as Juan Rojas Castro.

14 Q.        Finally you identified him?

15 A.        I did not identify him a        s Uriarte .      T he agents

16 from Baltimore subsequently identified him.

17 Q.        Let's call him      Mr. Uriarte .

18 A.        Okay.

19 Q.        The manager , that's the gentleman who identified

20 himself   to you     as the manager;

21 A.        Correct.

22 Q.        When you approached him        , how many other people

23 were with you?

24 A.        Two.

25 Q.        So a total of three?




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 1 A.       Yes.

 2 Q.       All sworn officers?

 3 A.       Yes .

 4 Q.       Plainclothes or uniforms?

 5 A.       Plainclothes.

 6 Q.       Show badges?

 7 A.       Yes.

 8          MS. JOHNSTON:     Objection    .   M ay we approach at

 9 the --

10                    (At the bar of the Court.)

11          MS. JOHNSTON:      Your Honor , counsel's engaging a

12 pattern of cross-examination where they're attempting

13 to elicit information concerning the validity of the

14 stop and the consent.      That is an issue that's not for

15 this jury.       I suspect these questions are       going to go

16 along the lines of the questions that were heard of the

17 Wyoming officer last week concerning his basis for the

18 stop, whether he saw the race of the individuals,

19 whether -- you know, what was his probable cause for

20 the basis of the traffic stop last week.        Those

21 question s are irrelevant to the issue before the jur             y.

22 In fact , it's misleading to the jury to present to them

23 issues concerning consent.      If they're going         to

24 continue along this line        and the Court's going to

25 permit it , the Court -- the government          is going to




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 1 request the     Court to instruct the jury the         Court is the

 2 one who determine      s the legality of any searches        and

 3 seizures and     the Court has made that ruling in this

 4 case.

 5           THE COURT:    Where are you going with this        , Mr.

 6 Montemarano ?

 7           MR. MONTEMARANO :      For starters , there's     no

 8 chance on   God's green E arth I'm going near issues of

 9 race or national origin      .    I think we all know what that

10 part of the     Bronx is like .     F or starters , it's

11 pre dominantly    all Hispanic or     black   or --

12           THE COURT:    Where are we going?     Are you going

13 into the search ?

14           MR. MONTEMARANO :      I don't have stand    ing to go

15 into the search .       I was tr ying to   get standing with

16 regard to their approach to         Mr. Uriarte .

17           THE COURT:     Well , I'm not going to let you         ,

18 through questioning      , try to call into question the

19 search.   There's been no issue raised with respect to

20 the search .

21           MR. MONTEMARANO :      I wouldn't have stand     ing to

22 challenge the search      , but I think    I am entitled to

23 inquire of this officer regarding          their approach to         Mr.

24 Uriarte , whether a -- as to the na        ture of the

25 conversation,     and as to the information that he freely




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 1 gave them whether or not there was a consent to                  search

 2 form executed.     We have not been provided with one.

 3 Then I was going to tend er that with a question

 4 relating to any other information that he                 provided     them

 5 at that time.

 6          MS. JOHNSTON:        I'm going to ask the         Court to

 7 instruct this jury that the           Court -- that t he issues

 8 concerning the     propriety    o r the legality of any search

 9 or seizure in this case is a question for the                 Court,

10 and the Court has ruled that this evidence is

11 admissible.    It's misleading to the jury.

12          MR. MONTEMARANO :       I did not suggest that          I was

13 going to question the legitimacy or propriety -- excuse

14 me , legality or propriety of the search          .       T hose are      Ms.

15 Johnston's words.         I think    I can handle my own case.               I

16 appreciate her assistance        , but I just don't think

17 that's an appropriate place for me to go              , and I am not

18 going to go there     .    I think    I'm entitled to ask

19 questions that do relate to the issues of legality                     and

20 propriety, based      -- so as to establish the nature of

21 the interaction between the law enforcement                 and Mr.

22 Uriarte .

23          THE COURT:       What do you mean by "nature           and

24 interaction?"    They talked to each other            ?

25          MR. MONTEMARANO :       T hey talked to each other           .    He




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 1 had provided consent     .    H e made certain admissions,         and

 2 I think those admission       s are important as to what they

 3 don't include , which is where        I was thinking of       going .

 4          THE COURT:    If you want to talk about what he

 5 didn't include , that's fine , but I don't           want to go

 6 down the road of trying to subliminally litigate with

 7 this jury the validity of the search             or the validity of

 8 the consent.

 9          MR. MONTEMARANO :       I wouldn't have stand      ing to

10 challenge the search     , Your Honor.

11          THE COURT:     I recognize     that .

12          MS. JOHNSTON:       T he jury doesn't know that       .

13                  THE COURT:      I don't want you to

14 indirectly do what you're not entitled to do               direct ly .

15          MR. MONTEMARANO :       I'm not sure     I understand.        I

16 think it would be more appropriate         , with all due

17 respect , to permit counsel for the lead defendant to

18 ask questions , and if a question in the singular is

19 objectionable , I'm certain        Ms. Johnston knows how t        o

20 make an objection      and we can go that way.       But

21 questioning my entire approach to this witness               ...

22          THE COURT:    Well, all     I want to say is       I agree

23 with Ms. Johnston that we're not going to directly or

24 indirectly challenge the validity of this search or the

25 validity of the consent or the ad         missibility of      this




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 1 evidence , which is in evidence before this jury.

 2          MR. MONTEMARANO :       I've not challenged that         .   I

 3 have not filed any motions --

 4          THE COURT:    Y ou're close to a line which            I'm

 5 asking you not to cross.

 6          MR. MONTEMARANO :       I understand that      , Your Honor.

 7 I respectfully submit that        I'm not going to cross that

 8 line , but there are things close to that line which                  I

 9 need to ask about.     As the     Court has probably figured

10 out over two and so weeks of trial,           I tend to ask

11 questions on cross in a very deliberate manner              .     I tend

12 to focus my questions on a very small topic.                Ms.

13 Johnston hasn't perfectly drawn the line in the sand

14 and asked me if this is a line in the sand.

15          THE COURT :    I appreciate that     .

16          MR. MONTEMARANO :       Your Honor , before we break

17 this up , I just want to make one comment          .     I would

18 object to any stops and to the propriety of those

19 stops, particularly as it relates to the               Wyoming police

20 officer because, as      I recall, those questions were

21 directed toward his credibility.           They weren't directed

22 to the credibility      of the   stop .

23          THE COURT:     I'm not going to      give an in struction

24 to the jury at this time about searches            and so forth .

25 I can deal with those in my final in          struction s or, if




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 1 it becomes necessary, as         of the question that cross            es

 2 the line, all right?        If the question         crosses the    line

 3 and I need to      do it,    I'll do it.   So far      , I don't think

 4 I need to do it.

 5          MR. MARTIN:    Very good     , sir.

 6          MS. JOHNSTON:        Your Honor , there is an agreed

 7 upon instruction concerning that issue in the jury

 8 instructions.

 9          THE COURT:     I'm familiar with that          .

10                  (B ack in open court.        )

11          BY MR. MONTEMARANO :

12 Q.       Special    Agent Polvere , I think we left you on

13 the street corner in front of 3009                Third Avenue    in

14 front of the     Furniture     Queen speaking to        Mr. Uriarte ,

15 who had identified himself as the manager                with you and

16 two other sworn law enforcement officer               s, is that a

17 fair statement of where we were?

18 A.       Yes.

19 Q.       At that    point, you requested           Mr. Uriarte    for

20 consent to search the         store ; is that correct ?

21 A.       Yes .

22 Q.       Which consent you understood him to be able to

23 give because he had identified himself                as the   manager ;

24 is that correct?

25 A.       Correct.




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 1 Q.         At t hat the point , he gave you consent        ?

 2 A.         He gave us verbal consent.

 3 Q.         Verbal consent so there's      no written form;

 4 correct?

 5 A.         We showed him a written form      .   W e read it to

 6 him .    W e filled it out , and h e refused to sign the

 7 form , but he did give us verbal        , and I noted that on

 8 the consent       form as well that he refused to sign it         ,

 9 but he    just didn't want to put his name down           , but he

10 gave us verbal consent.

11 Q.         He gave you verbal consent      and it was not

12 record ed in any other way by video or tape or anything

13 like that?

14 A.         No, sir.

15 Q.         And then you went    and searched the      Furniture

16 Queen ; correct?

17 A.         We searched the store; correct.

18 Q.         And during your search    , you produced       -- not to

19 belabor    Ms. Johnston's direct questions        , but

20 approximately a kilogram of cocaine         ?

21 A.         Correct.    No , a kilogram of heroin.

22 Q.         I'm sorry , a kilogram    of heroin.     I was doing

23 the math in my next question        , I apologize , about a

24 kilogram of heroin      , about 1 ,007 grams?

25 A.         Yes.




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 1 Q.        Just un der an ounce of cocaine         , about 27 grams?

 2 A.        Correct.

 3 Q.        And about a quarter of a million dollars           ?

 4 A.        250,4 39.

 5           MR. MONTEMARANO :        No further questions    , Your

 6 Honor .   T hank you.

 7           MR. MARTIN:     Mr. Goodwin     has no questions       , Your

 8 Honor .

 9           THE COURT:    A ny further     cross?

10           MR. HALL:     No , Your Honor .    T hank you.

11           MR. MITCHELL:    No , Your Honor.

12           MR. WARD:     No , Your Honor .    T hank you.

13           THE COURT:    Any redirect     ?

14           MS. JOHNSTON:    Just      one question .

15                         REDIRECT    EXAMINATION

16           BY MS. JOHNSTON:

17 Q.        That $250,000 came from the box that you saw               Ms.

18 Levi take into the store      ?

19 A.        Correct.

20           MS. JOHNSTON:      Okay.     I have nothing further.

21           THE COURT:    All right.     Any recross?

22           Thank you.    You may step down.

23                  (Witness excused at 12       :09 p.m. )

24           MS. GREENBERG:      Your Honor , the government will

25 call Trooper    Michael    Conner .




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1 Thereupon,

2                            MICHAEL    CONNER ,

3 having been called as a witness on behalf of                the

4 Plaintiff , and having been first duly sworn by the

5 Courtroom Deputy, was examined and testified as

6 follows:

7                           DIRECT   EXAMINATION

8        BY MS. GREENBERG:

9 Q.          Could you state your name          and spell your last

10 name for the court reporter         , please?

11 A.         Trooper   First Class Conn er, C O N N E R, the

12 Maryland    State Police.

13 Q.         And sir , could you give the jury some idea about

14 your background, training          and experience?

15 A.         Yes, ma'am.    I am an eight        and a half year

16 veteran of the       Maryland    State Police .     I have attend ed

17 the Maryland     State Police Academy .          I have also

18 attend ed the Proactive         Enforcement    Training , Interstate

19 Criminal    Enforcement    Training , different a reas of drug

20 interdiction     train ed over my eight -year career.

21 Q.         What is your current employ         ment ?

22 A.         Currently employed by the          Maryland   State Police

23 assigned to the       Proactive    Criminal    Enforcement     Team.

24 Q.         What doe s that mean ?

25 A.         It's just -- actually, it's a team of specially




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1 trained troopers that are designed to be aggressive on

2 the interstates locating criminals in light of                 9/11.

3 Q.          What was your employment on April 23, 2004?

4 A.          A member of this team.

5 Q.          As such, were you in a marked or an unmarked

6 unit?

7 A.          In an unmarked p atrol car.

8 Q.          What was your area of responsibility?

9 A.          Interstate 95 in     Cecil County,    Maryland.

10 Q.         As a Maryland state trooper?

11 A.         Yes, ma'am.

12 Q.         Were you called by agents connected with this

13 case for    assistance    with a federal investigation?

14 A.         Yes, ma'am .

15 Q.         As part of that investigation on the evening of

16 April 23, to the early morning of April 24, 2004, did

17 you participate in pulling over a specific vehicle?

18 A.         Yes, ma'am.

19 Q.         Showing you what's been marked as P        -124.    Do you

20 recognize    that vehicle?

21 A.         Yes, ma'am.

22 Q.         That is a 2000     Mitsubishi   Gallant with

23 registration     EMD 0507?

24 A.         I can't exactly see the tag on this, but it

25 appears to be the same vehicle.




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 1 Q.       Is that the vehicle that you pulled over?

 2 A.       Yes, ma'am.

 3 Q.       You videotaped that; is that correct?

 4 A.       Yes, ma'am .

 5 Q.       So we have a picture       and a videotape to clarify

 6 any issues; is that correct?

 7 A.       Yes, ma'am.

 8 Q.       Did you have any state violations which you

 9 observed this vehicle conduct on its way down

10 Interstate 95?

11 A.       Yes, ma'am.    Two traffic violation         s.

12 Q.       What were they?

13 A.       Speeding    and a tag light viol ation .

14          MR. WARD:      I'm sorry , what was the second one         ?

15          THE WITNESS:     A tag light      -- a rear       tag light .

16          MR. WARD:     Tag light.       Thanks .

17          BY MS. GREENBERG:

18 Q.       Could you explain to the jury where the vehicle

19 was when you stopped the vehicle?

20 A.       Southbound     Inter state 95 at the 101 mile marker            ,

21 would be   -- the closest town would be            North East , would

22 be just north of the       Chesapeake     House rest area.

23 Q.       Did you manage to get a video of that stop?

24 A.       Yes, ma'am.

25 Q.       How is it that you managed to get a video of




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 1 that stop ?

 2 A.         All of our cars are equipped with an in         -car

 3 camera system.     As soon as       I activate my energy

 4 equipment , the camera begins to record.

 5 Q.         When does the camera stop recording?

 6 A.         When I manually stop it.

 7            MS. GREENBERG:    Your Honor , may I approach?

 8            THE COURT:    You may.

 9            BY MS. GREENBERG:

10 Q.         Showing you what's been marked as        Video 22 -A,

11 and which is further marked          Maryland   State Police stop.

12 Is that something that you          observe d at some point prior

13 to these proceedings here today?

14 A.         Yes, ma'am.

15 Q.         And does that accurately reflect the stop of

16 this vehicle that you conducted on April 22, 2             004 and

17 April --    I'm sorry , April 23, 2004 , to April 24 , 2004?

18 A.         Yes, ma'am.

19 Q.         The whole thing is about 30 minutes long?

20 A.         I'm not sure of the exact time       , but

21 approximately 30 minutes.

22 Q.         It goes until after you leave the scene?

23 A.         Yes, ma'am.

24            MS. GREENBERG:    Okay.     I'd like to , at this

25 time , Your Honor , introduce the exhibit but only play a




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1 portion for the jury.

2            THE COURT:     Y ou may .

3                   (V ideotape begins at 12       :14 p.m. )

4            BY MS. GREENBERG:

5 Q.         What is happening here        ?

6 A.         At this time , I'm stopping the vehicle

7 southbound on      Inter state 95      at the 101 mile marker just

8 north of    Exit 100.

9 Q.         What do we see ?     W hat is that green sign up on

10 the right-hand side       , towards    the mid dle of the screen?

11 A.        That is the     North East exit sign.

12 Q.        And the time on this         is 4/24/04   at approximately

13 28 minutes into that day; is that correct?

14 A.        Yes, ma'am.

15 Q.        So 00 :28.     And who is that ?

16 A.        That is myself.

17 Q.        And just to be clear        , this is just after

18 midnight on the        24 th of April --

19 A.        Yes, ma'am.

20 Q.        -- 2004 ?     What are you doing here?

21 A.        Making contact with the driver        , identifying

22 myself , stating the purpose of the traffic stop             and

23 requesting license        and registration.

24 Q.        Did you smell anything upon approaching the car?

25 A.        Not that     I recall.




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 1 Q.         Did you see anything?

 2 A.         I did notice that there was just a       , I believe , a

 3 purse on the backseat.          I believe a pink purse was on

 4 the backseat.

 5 Q.         There 's a gentleman on the passenger side of the

 6 vehicle.     Who is that?

 7 A.         Detective   Sergeant   Paul Quill of the     Maryland

 8 State Police.

 9 Q.         What is his job with the      Maryland   State Police?

10 A.         He is a -- at that time     , was a detective

11 sergeant commander for the major violat          ors unit for the

12 state police .     H e was also my point of contact         on this

13 evening for this operation.

14 Q.         Does he have any responsibility for K        -9s?

15 A.         No, ma'am , he does not.

16 Q.         That would be somebody else?

17 A.         Yes, ma'am.

18 Q.         Did you identify the person that was the driver?

19 A.         Yes, ma'am , I did.

20 Q.         Who w as that person    that she   identif ied herself

21 as ?

22 A.         She identified herself as      Donna Johnson.

23 Q.         And the passenger?

24 A.         As Bern ice Carter.

25 Q.         Did you later learn a different name for the




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1 passenger?

2 A.         Yes, ma'am.

3 Q.         And do you remember that name?

4 A.         No, ma'am , I do not.

5 Q.         What is happening here?

6 A.         Okay .   A t this point , I've had the driver exit

7 the vehicle because she was not the owner of the

8 vehicle.      I confirmed her identity.

9            Now I'm back in my patrol car conducting a

10 driver's license wanted check          , as I also begin a

11 written warning for the traffic violation.           Detective

12 Sergeant    Paul Quill is making contact with the

13 passenger.     That is    Trooper     Catalano   [ph.], who    has

14 arrived on scene .       H e is our    K-9 handler.

15 Q.        How did the    K-9 handler end up there?

16 A.        He was also requested by myself to be there.

17 Q.        What was the weather like that night?           Was it

18 hot?   Cold?

19 A.        I don't remember it being extremely cold.           It

20 was pretty comfortable.

21 Q.        Did you make any observations of the driver                and

22 her demeanor?

23 A.        She was very shaken.        At one     point,   I believed

24 she was going to      pass out over the guardrail from fear             ,

25 not from .. .




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 1 Q.         Can we see that on the video or is it off the

 2 video?

 3 A.         I believe it's just off screen.      She sits on the

 4 guardrail.

 5 Q.         What is going on here with the passenger?

 6 A.         From talking to      Detective   Sergeant    Paul Quill,

 7 she was retrieving       --

 8            MR. MITCHELL:      Objection.

 9            BY MS. GREENBERG:

10 Q.         Without getting into what        Sergeant    Quill told

11 you, could you tell us what she's do          in g here?

12 A.         She's retrieving her driver's license          , her

13 identification from the trunk.

14 Q.         Showing you what's been marked as           Levi-6,    could

15 you tell us what that is?

16 A.         This is the   Mead Five Star binder that she

17 removed from her trunk -- from the           trunk o f that

18 vehicle.

19 Q.         That we saw on the screen just before?

20 A.         Yes .   I t's in her hand at this point in this

21 video .

22 Q.         What's happening here     ?

23 A.         At this point , a narcotics       K-9 was initiated by

24 TFC Catalano       and his K-9 partner , Bruno .       Bruno has

25 just alerted to the trunk of the vehicle for present




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 1 narcotics.      TFC Catalano   is giving    Bruno his reward .

 2 It would be the toy.

 3 Q.         Based on   the dog hitting on the trunk       , what did

 4 you do next?

 5 A.         Conducted a search of the vehicle       , a hand search

 6 of the vehicle.

 7 Q.         Does that come up on the videotape       ?

 8 A.         Yes, ma'am.

 9 Q.         Is this just prior to your search?

10 A.         I've actually began the search.

11 Q.         Oh , is that you in the background there?

12 A.         That's myself entering on the driver's seat --

13 driver's side door.

14 Q.         Is that an area the dog hit also?

15 A.         I don't recall if the dog alerted on that side

16 or not .     I do recall the dog alerting to the trunk.         At

17 this point , I'm trying to retrieve the keys.           The

18 passenger had the keys on her.

19 Q.         Are you wearing gloves in this video?

20 A.         Yes, ma'am.

21 Q.         Why are you wearing gloves?

22 A.         Just to protect any object      I may touch from

23 latent     prints so my print s are not transferred           to that

24 object.

25 Q.         You picked up a birthday      -- a wrapped present        .




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 1 Did you know anything about that?

 2 A.       I was told that there was a package that was put

 3 into the car.

 4          MR. WARD:     Objection to what he was told        , Your

 5 Honor.

 6          THE COURT:     Sustained.   Just rephrase the

 7 question.

 8          BY MS. GREENBERG:

 9 Q.       Did you put the     purpose ly put the package back

10 in the trunk?

11 A.       To open it, yes, ma'am.

12 Q.       Did you continue searching?

13 A.       Yes, ma'am.

14 Q.       Showing you    Levi-8 --

15          MS. GREENBERG :     I f I may approach , Your Honor.

16          THE COURT:     Y ou may.

17          BY MS. GREENBERG:

18 Q.       How does    Levi-8 compare to what we're seeing on

19 the film?

20 A.       That is the present wrapping that was covering

21 the box that contained the heroin inside.

22 Q.       What are we seeing here?

23 A.       I am opening up the box for view of the camera.

24          MR. WARD:     Excuse me , Ms. Greenberg , we can't

25 see.   Thank you.




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1            BY MS. GREENBERG:

2 Q.         And you're holding it up.       What is inside?

3 A.         There are packages of heroin.

4 Q.         Show ing you what's been marked as -- does this

5 keep going on after you find the heroin where you're

6 looking in the --

7 A.         Yes, ma'am .   I continue to search the vehicle.

8 Q.         And it goes on until you actually leave the

9 scene?

10 A.        Yes, ma'am.

11 Q.        What did you do with these two ladies?

12 A.        They were transported to the        JFK Memorial

13 Highway   Barrack , where     I released custody of them      ,

14 along with all the property       , to U. S. Customs.

15 Q.        So the birth date     and the actual fingerprinting

16 and the identity of both individuals was done by

17 somebody other than you?

18 A.        Yes, ma'am.

19 Q.        Showing you what's been marked as         P-125.     Can

20 you tell me what that reflects        ?

21 A.        It reflect s the packages of heroin that was

22 inside of the present.

23 Q.        And is that how it appeared when you opened the

24 gift -wrapped box , which is      Levi-8 ?

25 A.        Yes, ma'am.




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 1 Q.       Was the car taken in addition to the individuals

 2 -- the two women      and the car?

 3 A.       Yes, ma'am.

 4 Q.       Were the bags weighed?

 5 A.       Yes, they were.

 6 Q.       Did you recognize the substance?

 7 A.       Yes, ma'am.    It appeared to me to be heroin.

 8 Q.       During the inventory search         -- before we get to

 9 that, I'd like to approach.       Show    ing you   Levi-1,   could

10 you read that name      and number     into the record?

11 A.       This says    Pau la, 240-418-2329.

12 Q.       Levi-2 ?

13 A.       Read the whole thing?

14 Q.       Is it a --

15 A.       It's like a --

16 Q.       Could you tell pus the date on that.

17          MR. WARD:     Excuse me , can we get some

18 information as to what it is       ?

19          BY MS. GREENBERG:

20 Q.       These are in connection to the inventory search

21 of the car that day; is that correct?

22 A.       Yes, ma'am.

23          MR. WARD:     What   is it?   A bag?   A bomb in a

24 book?

25          BY MS. GREENBERG:




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1 Q.         Could you tell counsel what that             is, please?     Is

2 it a piece of paper?

3 A.         It's a piece of paper dated         4/23 .     It says, my

4 balance, 222,600, gave         me $2,300 , and then after the

5 math problem is 1 ,300 --        I'm sorry.

6 Q.         You can stop reading     .   W e'll go through the rest

7 of these    and I'll put it up on the screen so              counsel

8 can see that.         Levi-3 is what?

9 A.         It's a     Hallmark 2002 calendar book.

10 Q.        Levi-4 ?

11 A.        Also a calendar book named         Bern ice Carter.

12 Q.        And Levi-5?

13 A.        A small     composition notebook.

14 Q.        Put ting Levi-2 on the screen so counsel can see

15 it.   Could you tell the jury the date upon on this              ?

16 A.        It says     4/23.

17 Q.        How does that comport with the date on which you

18 conducted this stop?

19 A.        The date     I made the stop was     4/24 , actually 30

20 minutes into       4/24.

21 Q.        This says , my BAL, $220,600?

22 A.        Yes, ma'am.

23 Q.        Gave me     "2,300, 138 ,000 ?"

24 A.        Yes, ma'am.

25 Q.        How much did the drugs weigh that you seized in




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 1 the video ?

 2          MR. WARD:      Objection , Your Honor , unless he

 3 weighed them.

 4          BY MS. GREENBERG:

 5 Q.       Did you weigh     the drugs?

 6 A.       I did not.

 7          MR. WARD:      I object.

 8          THE COURT:     Sustained.

 9          BY MS. GREENBERG:

10 Q.       The total here is?

11 A.       "358 ,600 ."

12 Q.       Gave him?

13 A.       "261 ,500. "

14 Q.       And what date is that?

15 A.       "4/23. "

16          MR. MARTIN:      Your Honor , objection.       I think the

17 exhibit speaks for itself       .

18          THE COURT:     O verruled.

19          BY MS. GREENBERG:

20 Q.       The date of that?

21 A.       "4/23. "

22 Q.       And his BAL ?

23 A.       "263 ,270. "

24 Q.       And what's written under there?

25 A.       "138 ,000 ."




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 1 Q.        For a total of?

 2 A.        "401,270. "

 3 Q.        And is this a sub traction         here?

 4 A.        Yes, ma'am.

 5 Q.        What is that?

 6 A.        "26 1,500. "

 7 Q.        For a final number of?

 8 A.        "139,770. "

 9           MS. GREENBERG:       Court 's indulgence.

10           THE COURT:      You may.

11           BY MS. GREENBERG:

12 Q.        Showing you what's been marked as           NY-1 on the

13 screen.    You mentioned there's a reference to 2             ,300

14 here.

15 A.        Yes, ma'am.

16 Q.        Could you read in         NY -1 what is reflected here     ?

17           MR. MONTEMARANO :         Objection , Your Honor.

18           MR. HALL:      Objection.

19           MR. MONTEMARANO :         He's never seen this document.

20           MS. GREENBERG:       Your Honor , it's already been

21 introduced into evidence        .

22           THE COURT:      I t's in evidence.

23           MR. WARD:      There may have been     , Your Honor , but

24 there's   no testimony he ever looked at it or even saw

25 it .




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 1          THE COURT:    S ustained.

 2          BY MS. GREENBERG:

 3 Q.       You mentioned that you seized the drugs from

 4 that gift wrapped package that day         .

 5 A.       Yes, ma'am.

 6 Q.       What did   you to with the drugs?

 7 A.       They were given to      U. S. Customs     Agents.

 8 Q.       Showing you what's been marked as          Drugs -2 .

 9 Looking at the front of this         and then looking at         the

10 individual bag , do you recognize this exhibit?

11 A.       Can I see it ?

12 Q.       Yes.

13 A.       This brown    paper bag on top is the brown paper

14 bag provided     Customs so they could place the bag         gies of

15 heroin inside .     This is a Customs heat -sealed bag.

16 Q.       How do the attachment      s that says 23 plastic

17 bags , how does that relate to your stop that day            ?

18 A.       These were the 23 , 100 -gram bags of heroin that

19 were inside the cardboard box.

20 Q.       So then the actual drugs        --

21 A.       The bottom portion of the larger bag is the

22 actual heroin.

23 Q.       That you seized on that date from the            Mitsubishi

24 Gallant?

25 A.       Yes, ma'am.




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 1            MS. GREENBERG :       No further questions   , Your

 2 Honor.

 3            THE COURT:    Cross-examination      ?

 4            MR. MONTEMARANO :      No , thank you , Your Honor.

 5            MR. MARTIN:    Briefly , Your Honor.

 6                           CROSS-EXAMINATION

 7            BY MR. MARTIN:

 8 Q.         Trooper   Conner .

 9 A.         Yes, sir.

10 Q.         Sir, I represent       Mr. Learley   Reed Goodwin.    My

11 name is    Anthony     Martin.

12            Is it correct that you stop       ped this   particular

13 vehicle because you were asked to do so?

14 A.         I was given information that this vehicle

15 contained approximately two kilograms of heroin               and was

16 asked to assist        Customs with a traffic stop; yes, sir.

17 Q.         So you had intend      ed to stop this   vehicle   at some

18 point ; is that not correct?

19 A.         Yes, sir.

20 Q.         So when you told this driver that you were

21 pulling her over for speeding, that really didn't

22 matter .    Y ou were going to pull her over at some point

23 any way; right?

24 A.         She actually was speeding along with the tag

25 light violation.         I obtained those two violations to




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1 assist in prosecution.

2 Q.         So when -- let me ask you this       :   You said she

3 actually was speeding.      Did you follow her          and clock

4 her by your speedometer, or did you use a radar?

5 A.         A laser , handheld.

6 Q.         A laser?

7 A.         Yes , sir.

8 Q.         And there i s no printout on that        ; is there?

9 A.         No, sir.

10 Q.        So we have to take your word for it that she was

11 speeding that day; right?

12 A.        Yes, sir .

13 Q.        With respect to her tag light being out          , you

14 gave her a ticket for that?

15 A.        A warning.

16 Q.        A warning?

17 A.        Yes, sir.

18 Q.        Did you give her a warning also for speeding?

19 A.        Yes, sir.

20 Q.        Is it customary when you're giving someone a

21 warning   for speed ing to have the driver get out of the

22 car?

23 A.        Yes, sir.

24 Q.        For speeding?

25 A.        Yes, sir.




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 1 Q.        Officer, isn't it a fact that you really stopped

 2 these ladies only because you were asked to do so                     and

 3 not because she was speeding         ?

 4           MS. GREENBERG:      Objection    , asked       and answered.

 5           THE COURT:    Sustained.

 6           MR. MARTIN:    Isn't it a fact -- nothing further,

 7 Your Honor.

 8           THE COURT:    Any    further    cross ?

 9           MR. HALL:    Just one question.

10                          CROSS-EXAMINATION

11           BY MR. HALL:

12 Q.        Trooper, you indicated that        , and we saw in the

13 video , a K-9 unit arrived at some point             .

14 A.        Yes, sir.

15 Q.        Where did that      K-9 unit come from?

16 A.        He's also a member of the         Pro active Crime

17 Enforcement    Team.

18 Q.        Where are they stationed?

19 A.        With me , in the same crossover at the 10              1 mile

20 marker.

21 Q.        I as sume that since the        K-9 unit arrived , the

22 K-9 unit had    -- fairly promptly , the K-9 unit had

23 already been dispatched before the stop occurred                  ?

24 A.        No, sir .    H e was sitting right there          .   W e were

25 only about a mile down the road from where                 I stopped




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 1 her.

 2 Q.         Okay .    S o the K-9 unit was already in position;

 3 is that what you're saying?

 4 A.         And then I called for him , yes, sir.

 5 Q.         Then you called .       O kay .   T hank you.

 6                           CROSS-EXAMINATION

 7            BY MR. MITCHELL:

 8 Q.         Trooper    Conner,    the video that we saw earlier      ,

 9 that is the equipment           locate d in your trunk ; is that

10 correct?

11 A.         The camera itself is         --

12 Q.         The camera is up there?

13 A.         -- i n the windshield .

14 Q.         Where it records sit         s in the trunk ?

15 A.         The VCR is lock ed in a vault in the trunk        ; yes,

16 sir.

17 Q.         Do you have access to the key         s to that vault?

18 A.         No , I do not.

19 Q.         That's someone else      ?

20 A.         That's a supervisor.

21 Q.         You wouldn't be able to reproduce that on your

22 own , do anything with that on your own; correct?

23 A.         I would have to request a cop         y to be made.

24 Q.         Okay.    Thank you very much.

25            MR. MITCHELL:        No further questions.




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 1                          CROSS-EXAMINATION

 2          BY MR. WARD:

 3 Q.       The warning that you issued was a single ticket?

 4 A.       A single warning, yes, sir.

 5 Q.       That was for speeding?

 6 A.       For speeding     and a tag light vi olation.

 7 Q.       Did you issue a repair order?

 8 A.       No, sir .    S he was -- actual ly, the vehicle was

 9 register ed in Pennsylvania.          I could not issue a safety

10 equipment   repair order on an out       -of -state vehicle.

11 Q.       Even though the vehicle is        operating           on Maryland

12 highways?

13 A.       That's right , sir .     I can either issue them a

14 written warning or citation.      Because it's a tag light                ,

15 most people don't know their tag light is out until the

16 police tell them , so I issue them a warning               .    I f it

17 would have been a taillight       , it could have been a

18 different story possibly.

19          MR. WARD:      Thank you very much      .

20          THE COURT:     A ny further    Cross?       Any   Redirect ?

21          MS. GREENBERG:     Briefly    , Your Honor.

22                       REDIRECT    EXAMINATION

23          BY MS. GREENBERG:

24 Q.       Sir, counsel asked you whether or not                  you had

25 knowledge of information from the agents               and whether or




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 1 not you saw various violations.        What was your

 2 understanding of what you were supposed to do that day?

 3 A.       My understanding was to make the traffic stop                  ,

 4 look as close as routine as possible          , and I was also

 5 asked to obtain a violation on that vehicle            , if

 6 possible.     If not possible, we would cross that bridge

 7 when we got to it     , but I had two violations on the

 8 vehicle, stop ped the vehicle for that         , and then the

 9 case unfold ed from there.

10 Q.       Did you have a bas       is to conduct a traffic stop

11 with this vehicle?

12 A.       Yes, ma'am.

13 Q.       Under Maryland     state law?

14 A.       Yes, ma'am.

15 Q.       Did the agents make you privy at all to what was

16 discussed in the wiretap      ?

17          MR. MITCHELL:     Objection.

18          THE COURT:     Overruled.

19          THE WITNESS:      I was told that the vehicle         --

20          THE COURT:     No, no.    Just did    -- that's a yes or

21 a no.

22          THE WITNESS:     Yes.

23          BY MS. GREENBERG:

24 Q.       Did they disclose any specific conversations               ,

25 yes or no ?




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 1 A.       Yes.

 2 Q.       But the basis on which you stop         ped the   car was

 3 what?

 4 A.       Traffic   violations .

 5          MS. GREENBERG:      Your Honor , I neglected to --

 6 our evidence control person told me           I neglected to ask

 7 one other inventory      search .

 8          BY MS. GREENBERG:

 9 Q.       Showing you    Levi-7 .    What is this item?

10 A.       A cellular phone.

11 Q.       Could you read for the jury the number on the

12 back there , if you can see it?

13 A.       It's 202 -487 -1373.

14          MS. GREENBERG:      No further questions of this

15 witness , Your Honor .

16          THE COURT:     A ny further    Cross.

17          MR. MONTEMARANO :      One question , Your Honor , if I

18 might.

19                        RECROSS-EXAMINATION

20          BY MR. MONTEMARANO :

21 Q.       How fast was the vehicle going?

22 A.       73 in a 65.

23          MR. MONTEMARANO :      Thank you.

24                        RECROSS-EXAMINATION

25          BY MR. MARTIN:




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 1 Q.        And you were to make a traffic stop               , if at all

 2 possible --    I'm sorry , you were to stop              her for a

 3 traffic violation if at all possible              ?

 4 A.        Yes, sir.

 5 Q.        And you knew that the people calling you were

 6 from which agency      ?

 7 A.        U. S. Customs.

 8           MR. MARTIN:       Nothing further.            Thank you.

 9           THE COURT:       All right   .     Y ou may step down .

10 Thank you very much        , Trooper.

11           THE WITNESS:       Thank you      , Your Honor .

12           (W itness excused at 12          :37 p.m. )

13           MS. GREENBERG:        Your Honor , we will next call

14 Detective    Randy Kucsan .

15           Your Honor , what time would you like to break                 ,

16 just so   I can ...

17           THE COURT:       F ive minutes of      1:00 .    Ladies and

18 gentlemen , we're going to recess at precisely five

19 minutes of    1:00 because one of the attorneys in the

20 case has another matter in another courtroom at                      1:00,

21 so he can't do     two courtrooms at once.

22 Thereupon,

23                              RANDY KUCSAN ,

24 having been called as a witness on behalf of                   the

25 plaintiff , and having been first duly sworn by the




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1 Courtroom Deputy, was examined and testified as

2 follows:

3                         DIRECT    EXAMINATI ON

4        BY MS. GREENBERG:

5 Q.         If you would , state your name         for the record .

6 A.         Randy Kucsan .

7 Q.         Spell your last name for us        .

8 A.         K U C S A N.

9 Q.         Sir , where are you employed       ?

10 A.        Montgomery   County Police.

11 Q.        If you could use that microphone          and keep your

12 voice up.

13 A.        Montgomery   County Police.

14 Q.        What is your employment with the          Montgomery

15 County Police?

16 A.        I am a   Narcotics    Detective.

17 Q.        How long have you been narcotics detective?

18 A.        Twelve years.

19 Q.        As such, could you      give the jury some idea about

20 your background, training        and experience?

21 A.        I became a police officer in 1989.        After        I

22 graduated from the      Montgomery    County Police Training

23 Academy , I was assigned to the        Bethesda     District as a

24 patrol officer for approximately three years.          After

25 that , I was assign ed to the       Bethesda     District as a




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1 Special    Assignment      Team Officer for approximately two

2 years.     After that    , I was assigned to our      Narcotics

3 Division.

4 Q.         How long have you been doing narcotics work?

5 A.         For about 12 years.

6 Q.         As part of your duties      and responsibilities,

7 were you also assigned to a group known as              HIDTA ?

8 A.         Yes , I was .

9 Q.         Could you explain to the jury what that is?

10 A.        HIDTA is a multi -agency narcotics task force          ,

11 and the task force        I was assigned to was under the

12 supervision of the drug enforcement ad          ministration .

13 Q.        And what was your employment in         April of 2004?

14 A.        I was a   Montgomery   County Narcotics      Detective

15 that was assigned to a        HIDTA investigation as a       Task

16 Force Officer.

17 Q.        Did you work directly with the case agents on

18 that case?

19 A.        I did, yes.

20 Q.        Who were the case agents that you worked with?

21 A.        Chris Sakala , Steve Snyder , an d Tom Eveler .

22 Q.        Were you working on that case on a daily basis?

23 A.        Yes, I was.

24 Q.        In fact , was your office located along with

25 theirs?




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1 A.       Yes.

2 Q.       Court's indulgence.

3          Do you have any experience in         conducting    search

4 warrants?

5 A.       Yes.

6 Q.       What is your experience in conducting search

7 warrants?

8 A.       I've conducted        and participated in    hundreds   of

9 search warrants , both at the state         and federal level.

10 Q.      Have you had any experience as a seizing agent?

11 A.      Yes, I have.

12 Q.      Have you had any experience in drafting search

13 warrant affidavits?

14 A.      Yes.

15 Q.      And in being the af fiant?

16 A.      Yes, I have.

17 Q.      Were you the seizing agent for a particular             case

18 known as 5844   Digger's      Lane on April 24, 2004?

19 A.      Yes, I was.

20 Q.      What city    and state is that in?

21 A.      Elk Ridge, Maryland.

22 Q.      Who lived there , based on the information you

23 obtained?

24 A.      Gwendolyn    Levi .

25 Q.      Who was there when you got there?




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 1 A.      William    Turner.

 2 Q.      Do you know     where Gwendolyn         Levi was?

 3 A.      She was under arrest.

 4 Q.      That is on April 24, 2004?

 5 A.      Yes.

 6 Q.      As a result of        what?

 7 A.      A traffic stop returning to             Maryland from    New

 8 York.

 9 Q.      You were familiar with that as part of your

10 overall investigation with these agents?

11 A.      Yes.

12 Q.      And i f I show you what's been previously marked

13 as P -22 , could you tell the jury            what 's depicted on

14 that Exhibit P -22 ?

15 A.      That 's the row of townhouses or con            dominiums

16 tha t includes 5844     Digger's      Lane.

17 Q.      And we see he re, is that correct -- maybe               I

18 should take it out of its         plastic      and zoom in a little

19 bit on it.      I s that --

20 A.      Yes .

21 Q.      -- 5842?

22 A.      Yes, t o the left.

23 Q.      So 5844?

24 A.      Yes , right there.

25 Q.      Even though it's obscured a little by the tree                 ,




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1 it's the one right        next to the      5822 -- sorry 5842?

2 A.          Yes.

3 Q.          So it's this door be    hind this      tree right there?

4 A.          Yes.

5 Q.          You were the seizing agent for that location?

6 A.          Yes, I was.

7 Q.          Could you tell the jury what happened -- okay.

8 Just put us in the time frame          .     H ow long after   Ms.

9 Levi 's arrest by the       Maryland       State Police on I -95 did

10 you conduct this search?

11 A.         Almost immediately.

12 Q.         Why was that?

13 A.         The plan was not to execute the search warrant

14 until Ms. Levi's arrest occurred.              So, we were notified

15 when her arrest occurred         and then we served the search

16 warrant.

17 Q.         Did you have authority for conduct         ing that

18 search?

19 A.         Yes.

20 Q.         Did you have authority from a judge          ?

21 A.         Yes.

22 Q.         What happened when you went to the residence?

23 A.         The Howard    County Police Swat Team made the

24 initial entry into the residence            , and after they --

25 after that team made their protective sweep, they




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 1 exited    and advised me that there was one person in the

 2 residence    and that person was        William     Turner , and then

 3 at that point was a search team that entered the

 4 residence    and began the search        and seizure of the

 5 evidence.

 6 Q.        Could you tell   me what is depicted on P          -23?

 7 A.        This is a picture of -- it's a plastic shopping

 8 bag that contained numerous        Ziploc baggies which in

 9 turn contained heroin.

10 Q.        When you say plastic baggy, what area of this

11 picture are you talking about       ?

12 A.        Right where the card is       , where Number 15 is.

13 That 's the white shopping bag.         It's on top of a

14 cardboard box     and that is actually a closet in the

15 foyer area of the residence.

16 Q.        If you're entering the front door           , where is this

17 closet in relation to the rest of th             e residence?

18 A.        Immediately to your left       .

19 Q.        Where my   finger is on the edge of this picture           ,

20 there 's a --    it looks like a little doorway           and a black

21 door .    C an you tell us what that door is?

22 A.        That would be the front door          .

23 Q.        Then you turn the corner           and this is the hallway

24 closet?

25 A.        Yes.




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 1 Q.       And we're refer ring to       this white plastic bag

 2 with Number 15.     What was in that?

 3 A.       Multiple    Ziploc baggies , and those baggies

 4 contained heroin.

 5 Q.       Handing you what's been marked as           Drugs -5 --

 6          MS. GREENBERG:        I f I may approach the witness      ,

 7 Your Honor.

 8          THE COURT:     Yes.

 9          BY MS. GREENBERG:

10 Q.       Would you tell us what that is?

11 A.       Yes.   This is the contents        of the white plastic

12 baggy in the picture.

13 Q.       I will publish that to the jury with the             Court's

14 permission in a second      , but will you describe for the

15 record what is reflected          in that bag?

16 A.       These are numerous small        Ziploc baggies that are

17 -- that each contained heroin.

18 Q.       And there's little        red pieces of paper on there.

19 What are those?

20 A.       I believe these are --        I believe they're from

21 the chemist.

22 Q.       They weren't on the item when you located it?

23 A.       No.

24          MS. GREENBERG:         Your Honor , if I may publish

25 Drugs -5 to the jury .




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1           THE COURT:     Y ou may.

2           BY MS. GREENBERG:

3 Q.        Could you tell the jury what's depicted -- could

4 you explain what       Card-15 means?      What is that ?    I s that

5 something    that was there in the house when you showed

6 up?

7 A.        No.    The personnel that are assigned to do the

8 search , when they locate an object that they deem has

9 evidentiary value, we provide them with a note card                and

10 on the note card , the person that found them writes

11 their initials , and then we also assign that card a

12 number as we make our way around          and collect the

13 evidence.

14 Q.       Who collect ed the evidence?

15 A.       I collected it.

16 Q.       Is that in what capacity?

17 A.       I was the collector        and responsible for the

18 seizure of the evidence.

19 Q.       Is that    ty pically referred to as a se      iz ing

20 agent?

21 A.       Yes.

22 Q.       So your testimony is you didn't         personal ly find

23 all these things , but somebody marked where it was              and

24 you came back      and got it.

25 A.       Yes.




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1 Q.        And that 15 is denoting what number was assigned

2 to that particular exhibit       ?

3 A.        Yes.

4 Q.        Showing you what's been marked as P          -24.   Could

5 you tell the jury what that is?

6 A.        That's the same bag as the        previous    photo.   It's

7 now remov ed from     the closet     and opened   and it shows the

8 partial contents of the bag.

9 Q.        I asked you about those red tags on           Drug s-5 .    Do

10 those red tags appear on P      -24?

11 A.       No.

12 Q.       So how does P-24 relate to the appearance of the

13 drugs as you found them?        Is that how you found the

14 drugs?   Is that what they looked like?

15 A.       Yes , just like that.

16 Q.       In that white bag?

17 A.       Yes.

18 Q.       Did you continue to search for items in the

19 residence?

20 A.       Yes.

21 Q.       Showing you P -25.     Could you tell the jury what

22 is reflected in that picture?

23 A.       That's a n overall shot of the master bedroom on

24 the second level.

25 Q.       Where is this in relation to the closet that we




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 1 just saw on the front of this?

 2 A.       If you were sort of in the closet               and you would

 3 stand facing away from the closet, you would be

 4 pointing up toward the stairs.       Go up one flight of

 5 stairs   and the master bedroom is to your right.

 6 Q.       Did you recover certain items in that room?

 7 A.       Yes.

 8 Q.       Showing you what's marked as            P-26.    Can you tell

 9 us what's reflected there?

10 A.       That is a photo of a wooden jewelry box.            Inside

11 the jewelry box was several small plastic baggies

12 containing marijuana.

13 Q.       Where was this item located in the house?

14 A.       It was on a night stand in the master bedroom.

15 Q.       The picture that we just saw        ?

16 A.       Yes.

17 Q.       Could you tell me     , please , what's been         premarked

18 as Drugs -7?

19          MS. GREENBERG:     I f I may approach again          , Your

20 Honor.

21          THE COURT:     You may.

22          BY MS. GREENBERG:

23 Q.       Do you recognize that exhibit           , and how does it

24 relate to what the jury's seeing on the screen?

25 A.       Yes.   This is the     plastic    bagg y with the




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 1 marijuana .

 2           MS. GREENBERG :       If I may publish    Drugs -7 to the

 3 jury .

 4           THE COURT:       Y ou may.

 5           BY MS. GREENBERG:

 6 Q.        And P-27.    Could you tell us what we're seeing

 7 here?

 8 A.        Again, this is a wooden jewelry box.        Inside the

 9 wooden jewelry box is a plastic baggy containing

10 marijuana.

11 Q.        Where was this item located that has the number

12 you gave it as 24      ?

13 A.        It was also on a dresser in the master bedroom.

14           MS. GREENBERG:        Your Honor , if I may approach

15 the witness .

16           THE COURT:       Y ou may.

17           BY MS. GREENBERG:

18 Q.        Showing you what's been marked as          Drugs -4 .    How

19 does this relate to what the jurors are seeing on the

20 screen?

21 A.        This is the plastic bag of marijuana that was in

22 the jewelry box.

23           MS. GREENBERG:        Your Honor , if I may publish

24 Drugs -4 to the jury, please.

25           THE COURT:       You may.




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 1          BY MS. GREENBERG:

 2 Q.       Showing you what's been marked as           P-28.   Could

 3 you tell the jurors what we're seeing on the screen

 4 here?

 5 A.       That's a photograph of assorted doc          uments that

 6 were located in      the master bedroom.

 7 Q.       Did y ou seize those doc      uments ?

 8 A.       Yes.

 9 Q.       And they're reflected on this screen          ?

10 A.       Yes.

11 Q.       And the bed sheet there       , does that comport to

12 the bed sheet that we saw in the overall shot of the

13 bedroom ?

14 A.       Yes, it does.

15          MS. GREENBERG:       Your Honor , if I may approach .

16                  THE COURT:     Y ou may.

17          BY MS. GREENBERG:

18 Q.       Showing you what's been marked as           Digger's Lane

19 8, 9, 10 and 11.      Could you tell the jurors how these

20 relate to the -- what they're seeing           on the screen     and

21 then we will go over them individually            on the screen?

22 A.       These were documents, photographs           and address

23 books that were locat      ed in the master bedroom.

24 Q.       Tagged with your item Number 25 all together?

25 A.       Yes.




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 1 Q.        You didn't give a separate number to each of

 2 these pieces of paper?

 3 A.        No.

 4 Q.        Put ting up on the screen what's been marked as

 5 Digger's    Lane 8.

 6           MR. WARD:    I'm sorry , Digger's --

 7           MS. GREENBERG:        Digger's Lane   8.

 8           MR. WARD:    Eight.

 9           MS. GREENBERG:        Your Honor , it's kind of faint

10 here.     I might have to approach the witness again.

11 It's faded with time.

12           THE COURT:    All right    .   Y ou may.

13           BY MS. GREENBERG:

14   Q.      Could you read into the record the -- this is a

15 Sprint Nokia phone , and could you read the telephone

16 number on that phone, please         ?

17 A.        202 -487 -137 3.

18 Q.        In whose name ?

19 A.        Bern ice Carter.

20 Q.        I'll put it up on the screen so everyone can see

21 it.     Even better than     I thought is that if for the

22 number    you just read ?

23 A.        Yes .

24 Q.        And it's for a     Nokia handset?

25 A.        Yes.




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1 Q.        And there's an attached bill            ?

2 A.        Yes.

3 Q.        Could you tell the jury what's reflected in

4 Digger's Lane       9?

5 A.        That's a photograph of          Gwendolyn     Levi and

6 William    Turn er.

7 Q.        Who did you understand them to be in relation to

8 the residence?

9 A.        I'm sorry?

10 Q.       How did     you understand     these two individuals to

11 be related to the residence?

12 A.       The residence was -- it belonged to              Gwendolyn

13 Levi and when we executed the search warrant               , William

14 Turner was present at the residence.

15 Q.       Showing you       Digger's Lane 10.         I'm going to

16 reference some telephone numbers for you.            Could you

17 tell the jury who's referenced here under                Friday, the

18 7th of   January,       the name   and number?

19 A.       Becky , (240 ) 35 1-3388.

20 Q.       And under       January 28?

21 A.       Becky , (202 ) 832 -6217 and (240) 351-3388.

22 Q.       And under       Wednesday,    April 5th?

23 A.       Goody, 546-2529.

24 Q.       And right above       Friday, July 4?

25 A.       Paula, 301-343       --




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 1 Q.         I'm sorry , could you read that again?

 2 A.         Paula .

 3 Q.         Go a head.

 4 A.         (301) 434-3545, (202         ) 276-1891.

 5 Q.         On October 27?

 6 A.         Goody,    (202 ) 235-1012.

 7 Q.         Are there numbers right underneath there?

 8 A.         Yes.     333.

 9 Q.         Digger's Lane 11 , put it up on the screen.

10 Could you tell the jury what this is?

11 A.         Sprint -- a       Sprint phone invoice in the name of

12 Bernice    Carter for (202 ) 487-1373.

13            MS. GREENBERG:        Your Honor , I just have a couple

14 more questions        and then we'll break.

15            THE COURT:       A couple is all you're going         to get.

16            BY MS. GREENBERG:

17 Q.         What is reflected in          P-29?

18 A.         That is a       Pelouze   digital scale .

19 Q.         Where was that located?

20 A.         Locat ed in a kitchen cabinet.

21 Q.         Showing you       Digger's   Lane 1, how did that relate

22 to what the jury is seeing on             the screen?

23 A.         That 's the digital scale locate           d in the kitchen

24 cabinet.

25 Q.         Why did you seize this digital scale?          What




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 1 relation at all did that have to do with drug

 2 trafficking?

 3 A.        Typically , that type of scale is used to weigh

 4 drugs.

 5           MS. GREENBERG:        Your Honor,   I -- given that it 's

 6 five of   and we're     finished    with the up stairs part of

 7 the house at least for now         , I think it's a     good time to

 8 break.

 9           THE COURT:    All right    .   We will   take a recess

10 no w until   five minutes after       2:00.

11                  (Jury excused at 12:57 p.m.)

12                  (Off the record at       12 :57 p.m. )

13                  (On the record at       2:09 p.m. )

14                  (Witness resumes the stand at 2          :09 p.m. )

15           THE CLERK:    Ready for the jury?

16           THE COURT:    Yes.

17                  (Jury returns      at 2 :11 p.m. )

18           MR. WARD:     Your Honor , before we begin , may

19 counsel approach ?

20           THE COURT:     Yes.

21                    (At the bar of the Court.)

22           MR. WARD:     I'm sorry , I didn't notice it before

23 -- I notice that counsel for the          government      has brought

24 in a table from       God knows where, because we couldn't

25 get one the other day that was of any size.           In any




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 1 event , they've done that         , put that up in front         of the

 2 jury box     and are displaying on it the drugs that they

 3 have seized.      I object to that.        The drugs are in

 4 evidence .     T he jury has had an exhibit to them.         They

 5 don't need to have a constant display sitting in front

 6 of them , which was the only purpose it's there for, to

 7 impress the jury.         I object to it being displayed to

 8 the jury in this fashion.

 9            MS. GREENBERG:       Judge   , this is the toolbox

10 sei zed from    the basement of         Digger's   Lane with various

11 items that are located inside the toolbox,                 and they're

12 up there because there were a number of items that were

13 from the tool box, and it's logistically              --

14            THE COURT:    Are these the exhibit        s you're about

15 to review with the witness?

16            MS. GREENBERG:       Yes.

17            THE COURT:    Your objection is overruled.

18            MR. WARD:    Does the government intend to leave

19 them up there ?

20            THE COURT:     I assume you      intend to have the

21 witness come up        there.

22            MS. GREENBERG:       We will have the witness testify

23 to them    and put them back in the toolbox.

24            THE COURT:     I think you're a bit premature.

25            MR. WARD:     I was simply being cautious         .




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 1                            (B ack in open court.   )

 2            BY MS. GREENBERG:          Your Honor , may I proceed?

 3            THE COURT:      Y ou may proceed.

 4            BY MS. GREENBERG:

 5 Q.         Detective    Kucsan , did you also seize from the

 6 evidence an item that's been marked as             Drugs 6?

 7 A.         Yes.

 8 Q.         Did you review this at the luncheon break?

 9 A.         Yes , I did .

10 Q.         Was there a picture taken of this particular

11 exhibit?

12 A.         No.

13            MS. GREENBERG:       If I may approach      the witness.

14            THE COURT:      You may.

15            BY MS. GREENBERG:

16 Q.         Showing you what's been marked as           Drugs 6.

17            Can you tell the jury what this is?

18 A.         It's a small , clear , Ziploc baggy containing

19 heroin.

20 Q.         And from where did you recover this exhibit?

21 A.         From Digger's      Lane.

22 Q.         And you recovered this exhibit as the se           iz ing

23 agent?

24 A.         Yes.

25            MS. GREENBERG:       Your Honor , if I may publish




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 1 this to the jury?

 2           THE COURT:     Y ou may.

 3           BY MS. GREENBERG:

 4 Q.        Was there a basement area as to         Digger's     Lane?

 5 A.        Yes.

 6 Q.        Did you try as best as you could          to get a

 7 representative photo of that basement area?

 8 A.        Yes, I did.

 9 Q.        Showing you    Government's     Exhibit P -30.

10           Could you describe what that is?

11 A.        That's a photograph of the basement area taken

12 from the far side      , opposite the stairs.

13 Q.        And P -31?

14 A.        Again , a photograph of the basement.       That's

15 taken from the opposite        angle as you came down the

16 stairs.

17 Q.        Your Honor , if I may approach again.

18           Showing you what's been marked as P-30, P-31.

19 If you put these two pictures -- could you put these

20 two pictures together the give the jury an idea of how

21 the basement looked on that date?            And please refer to

22 the number on the exhibit.

23 A.        They're not actually going to meet.       They would

24 be something like that.

25 Q.        Please explain that.       Is there a gap between the




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1 two?

2 A.       Yeah.    These are the two opposite walls.

3 Q.       Of the basement?

4 A.       Yes.

5 Q.       That's the best      over all that you have of the

6 basement , putting those two pictures together             --

7 A.       Yes.

8 Q.       -- f or the two of the walls?

9 A.       Yes.

10 Q.      And direct ing your attention first to P          -30.       Did

11 you locate anything -- any items of evidentiary value

12 in the area depicted under        P- 30 ?

13 A.      Yes.

14 Q.      And could you explain where you located the item

15 to the jury     and then I'll show them --       I'll show you

16 the item?

17 A.      Just to the left of the small bar          , there is a

18 storage area     and you can see the access door in the

19 photograph.

20 Q.      Is that where my pen is now?

21 A.      Yes.

22 Q.      And that's to the -- if we're looking at               the

23 picture , to the right     of the light     and to the left of

24 the bar chair ?

25 A.      Yes.




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 1 Q.         So it's that little door there that you're

 2 speaking    about?

 3 A.         Yes.

 4 Q.         What's behind that little door?

 5 A.         That accesses    a storage area underneath the

 6 stairs.

 7 Q.         Did you locate anything in the storage area?

 8 A.         Yes.

 9 Q.         Showing you what's been marked as         Government's

10 Exhibit P -32.

11            Can you identify what that is?

12 A.         It's a shopping bag containing        Mannitol .

13 Q.         Where did you locate that?

14 A.         In the storage area under the stairs.

15 Q.         That we just looked at in the prior picture            ?

16 A.         Yes.

17            MS. GREENBERG:     Your Honor , if I may approach

18 again.

19            THE COURT:   You may.

20            BY MS. GREENBERG:

21 Q.         Showing you what's been marked as         Digger's Lane

22 4.

23            How does that relate to what the juror         s are

24 seeing on their -- on the picture right now?

25 A.         That 's the bag in the photograph.




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 1 Q.         When you open up this bag       , what is contained

 2 inside?

 3 A.         Numerous packages of        Mannitol .

 4 Q.         Showing you a representative of what's in that

 5 bag.

 6            Could you read for the record what's on that

 7 item?

 8 A.         "Mannitol ."

 9 Q.         Could you tell whether that's empty or full?

10 A.         This is full.    Original packaging.

11 Q.         And does it feel particularly light        ?

12 A.         Yes.

13 Q.         Does that substance       , to your knowledge   , have any

14 weight while in that container?

15 A.         Yes.

16 Q.         Fairly lightweight    ?

17 A.         It's lightweight, yes.

18 Q.         It appear s to be like a soap bar; is that

19 correct?

20 A.         Yes.

21            MS. GREENBERG:      Your Honor , if I could publish

22 Digger's Lane     4 to the jury.

23            THE COURT:      You may.

24            BY MS. GREENBERG:

25   Q.       Show ing you what's been marked as P       -33.




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 1           Could you identify that for the jury?

 2 A.        Yes.    That's a box full of         Mannitol .

 3 Q.        Like we just saw on the         Digger's      Lane

 4 Exhibit 4?

 5 A.        Exactly.

 6 Q.        Where was that located      ?

 7 A.        Also located in the storage area under the

 8 stairs.

 9 Q.        Showing you what's been marked           --

10           MS. GREENBERG:       A gain , if I may approach , Your

11 Honor.

12           THE COURT:     You may.

13           BY MS. GREENBERG:

14 Q.        As Digger's    Lane 3 .    It's kind of big.         There's

15 a marking on it , Digger's Lane           7.   Do you see that down

16 here?

17 A.        Yes.

18 Q.        Could you tell the jury what's in this big               ,

19 white -covered box?

20 A.        That is the cardboard box you see on the

21 photograph       and that is   -- the box itself is full of

22 Mannitol .

23 Q.        What is the -- is the white wrapping with the

24 evidence marker ?       I s that different than         how the    box

25 was originally found      ?




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 1 A.        Yes.

 2 Q.        How did that get done?

 3 A.        The box was found as it is in the photograph            ,

 4 and the white paper was put on by the police.

 5 Q.        And the lit tle bars that we're        seeing,   Digger's

 6 4, how was that box       Digger's   Lane 7, those little bars

 7 in that box?

 8 A.        That box is completely full of bars of           Mannitol .

 9 Q.        Completely packed    ?

10 A.        Completely.

11           MS. GREENBERG:      Your Honor , I don't think we

12 need to pub lish that , but it is , of course , available.

13           THE COURT:    All right.

14           BY MS. GREENBERG:

15 Q.        Could you tell us why you seized          Mannitol?     W hat

16 relevance , if at all , it has to drug investigations?

17 A.        It's commonly used as a cutting agent for

18 heroin.

19 Q.        And this amount , is that typical or atypical for

20 the is amount you      've seen in   searches?

21 A.        It's atypical.

22 Q.        Could you explain    ?

23 A.        I've never seen that much        Mannitol   in a search

24 warrant s cene in 17 years.

25 Q.        Did you further conduct a search          of the basement




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1 area at 5844        Digger's   Lane?

2 A.         Yes.

3 Q.         Showing you what , perhaps , is a bad picture.

4 Send it around to the jury         .   C ould you tell us

5 generally what is depicted in            Government's   Exhibit

6 P-34?

7 A.         This is a dark photograph of the utility room.

8 The utility room housed a washer            and dr yer that you may

9 be able to see to your right.          There's a hot water

10 heater to your left.      It also had some shel        ving for

11 storage   and in particular it had a --

12 Q.        Is that the washer you're speaking of         ?

13 A.        Yes.

14 Q.        And the shel ving unit is behind?

15 A.        Behind    and also to your far left     , w here that

16 basket would be.

17 Q.        What is in the middle area here?

18 A.        In the middle area     , there's a    Work mate workbench

19 and also a small green table.

20 Q.        And what were your observations of the area

21 that's depict ed in P-34 as you enter          ed the utility

22 room?

23 A.        The utility room seem       ed to be set up in the form

24 of a heroin processing area or heroin            seizing    center.

25 Q.        What do you mean by that?




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1 A.          The workbench     and the table were full of

2 implements         and para phernalia   used to process heroin      ,

3 and also included heroin itself            and cutting agent

4 Mannitol     as well.

5 Q.          You mentioned a     workbench .   Did you try     and get

6 a better picture of that?

7 A.          Yes.

8 Q.          And some of the items that were on         the

9 workbench ?

10 A.         Yes.

11 Q.         Showing you P -35 .      C ould you explain what that

12 is?

13 A.         That's a partial photograph of the         workbench        I

14 was speaking about.       The bag is a large       Ziploc bag and

15 that's full of        Mannitol .

16 Q.         Similar to the kind that we saw in the bars           , but

17 just in a bag?

18 A.         Yes.

19 Q.         Did you seize the       workbench ?

20 A.         No.

21 Q.         P-36.

22 A.         Another partial picture of the        workbench,     and

23 that includes a red         dish and a spoon.    The bench

24 itself , the dish , and the spoon all contain heroin

25 residue.




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1 Q.        P- 37.

2 A.        That is a box that includes a digital scale that

3 was located on one of the shelves in the utility room.

4 Q.        And showing you what's been marked as           Digger's

5 Lane 2.

6           MS. GREENBERG:     I f I may approach again      , Your

7 Honor .

8           THE COURT:      Y ou may.

9           BY MS . GREENBERG:

10 Q.       Could you tell the jury how         Digger 's Lane    2

11 relates to the picture we're seeing up on the screen?

12 A.       Yes .    T he scale is the photograph on the screen.

13 Q.       Just to be clear , this is        different   than the

14 scale that was upstairs in the bedroom?

15 A.       Yes.     In the kitchen.

16 Q.       And again , is your view of seizing this

17 particular scale , is it the same or different than

18 seizing the other scale?

19 A.       The same.

20 Q.       That was for what?

21 A.       That type of scale is commonly used to weigh

22 drugs.

23 Q.       P-38.

24 A.       That 's a photograph        of one of the shelves    , and

25 that particular shelf had boxes           and bags of plastic




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1 baggies,    Ziploc baggies, latex       gloves , and filtration

2 respiration       masks.

3 Q.         Did you see seize certain of these items?

4 A.         Seized all of them.

5 Q.         What are baggies     and fil tration    masks used for?

6 A.         The baggies are used to store drugs           , and the

7 mas ks themselves      are used for protection when you're

8 processing heroin.

9 Q.         P-39, w hat is depicted?

10 A.        That is a box that contains a        n electronic scale      ,

11 which is the -- which is in the black.         That also was

12 on one of the      shelving   units in the utility room.

13 Q.        And P -40 , what is depicted there?

14 A.        That's a photograph of a      strainer.       That was

15 also located in the utility room.

16 Q.        Did you seize the strainer also?

17 A.        Yes.

18 Q.        And what is the strainer used for?

19 A.        That strainer is used to take heroin that's in a

20 compressed form      and /or the   Mannitol,   which is in a

21 compressed form , to sift or filter it down             , both of

22 them into a powder form.

23 Q.        That's consistent with -- those are consis           tent

24 with your observation of the utility room           ?

25 A.        Yes.




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 1 Q.       All those items were in the utility room             ?

 2 A.       Yes.

 3 Q.       P-41?

 4 A.       That's a toolbox that was located in the utility

 5 room.

 6 Q.       Is that particular       toolbox      marked as   Digger's

 7 Lane 12 over at the table?

 8 A.       Yes.

 9          MS. GREENBERG:       If I could ask at this time             ,

10 Your Honor -- the witness is          miked up -- if he could go

11 over and explain to the jury what he located within

12 Digger's    Lane 12.

13          THE COURT:     All right.    You may.

14          MR. HALL:     Your Honor , may those counsel who

15 want to approach the evidence table so we can see                 ?

16          THE COURT:     Certainly.    You      -all can come over         ,

17 if you 'd like.      I would ask the witness to either speak

18 up very loudly or be given a          mike .    Oh , he's got a

19 mike.   Good.

20          MS. GREENBERG:     Already took care of that.

21          THE COURT:     You already took care of that             .

22 Okay.

23          BY MS. GREENBERG:

24 Q.       This toolbox     marked as    Digger's Lane 12 , could

25 you tell the jury where that was located?




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 1 A.       This toolbox     was located in the utility room on

 2 the floor near the      workbench .

 3 Q.       If you could describe      , starting with      Digger's

 4 Lane 12 A, which if     I've lived right will be here

 5 somewhere.      Digger's Lane 12    A, could you tell the jury

 6 what this is, please?

 7 A.       This is just a large       Ziploc baggy     and it's full

 8 of numerous other      Ziploc baggies.

 9 Q.       Prior to court today       and some time ago , had you

10 opened it to detect if it had any odor?

11 A.       Yes.

12 Q.       Did it ?

13 A.       Yes , it does.

14 Q.       Is that consistent with your experience in drug

15 trafficking?

16 A.       Yes.

17 Q.       How is that ?

18 A.       It's a very strong chemical odor.

19          MS. GREENBERG:       Your Honor , if I may publish

20 Digger's Lane 12 .

21          THE COURT:      Y es, you may.

22          BY MS. GREENBERG:

23 Q.       Digger's Lane 12 B?

24 A.       It's a strainer.     It has residue on it.      Again      ,

25 this strainer is used to take the heroin             and the




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 1 Mannitol     and to make it into a -- from a solid form

 2 into a powder form.

 3            MS. GREENBERG:      And    again , if I could just

 4 publish all these as he explains them            , Your Honor .   Is

 5 that satisfactory       ?

 6            THE COURT:       Yes , you may.

 7            BY MS. GREENBERG:

 8 Q.         Digger's Lane 12 C?

 9 A.         It's a filtration mask.

10 Q.         Similar to the       ones we saw in the earlier

11 pictures?

12 A.         Yes.

13 Q.         And again , what is it used for       ?

14 A.         Just for personal protection when you're          , you

15 know , handling drugs.

16 Q.         Why ?   What happens?

17 A.         Well , you don't really        want to, you know, have

18 these odors or be breathing the effects of the drugs.

19 Q.         Digger's Lane      12D ?

20 A.         Again , this is a large        Ziploc baggy   and it just

21 contains numerous other          Ziploc baggies.

22 Q.         Digger's Lane 12 E?

23 A.         Two boxes of large         Ziploc baggies.

24 Q.         How are they utilized in the drug trade?

25 A.         To store drugs       and for distribution.




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 1 Q.      Dig's Lane 12 F?

 2 A.      Just a n ordinary spoon , has residue on it.

 3 Q.      Digger's Lane 12 G?

 4 A.      These are just more large          Ziploc baggies.

 5 Q.      Digger's Lane 12 H?

 6 A.      This is a bag of      Mannitol .

 7 Q.      That was inside the       toolbox ?

 8 A.      Yes.

 9 Q.      Digger's Lane 12 K?

10 A.      These are ordinary playing cards.

11 Q.      How are ordinary playing cards utilized in

12 drug -making , heroin processing?

13 A.      For example , you 'd be able to, you         know ,

14 manipulate or move the c      ut ting agent or the heroin to

15 various positions.

16 Q.      So is that why you seized these items?

17 A.      Yes.

18 Q.      And lastly , did you also seize 12         L, 12I and 12 J

19 from that   toolbox?

20 A.      Yes.

21 Q.      What , if anything , were these items        , based upon

22 your observations    , utilized for?

23 A.      When the heroin was processed          and after the

24 cutting agent was added, the -- that mixture was

25 moistened   and it was inserted into metal tubes          , or




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 1 pipes , and that pipe served as a mold         .   And what they

 2 did after that was inserted the bol          t into the tube.

 3 Q.        You're referring now        to 12 I; is that correct?

 4 A.        Yes.   Inserted the bolt into the tube          and then

 5 took this screwdriver, 12       J.

 6 Q.        This is 12 L, the hammer?

 7 A.        It's a rubber mallet       , and struck the bolt using

 8 the hammer and the screwdriver, and that compressed the

 9 heroin into a more solid form.         And then as it would

10 dry, it would be -- the heroin would be extracted from

11 the pipe or the tube, and it was essentially a solid at

12 that point.      And then it was cut       up for redistribution.

13 Q.        Is there anything about the        Exhibit 12 J that

14 supports your description of this to the jury?

15 A.        This screwdrive r, and you can see when it comes

16 around , from being struck by hammer onto the bolt             , the

17 tip of it is blunted from being struck so many times.

18 Q.        All of these items in the 12 series were locat             ed

19 in that toolbox ; is that       correct?

20 A.        That's correct.

21           MS. GREENBERG:      Your Honor , if I could ask

22 Special   Agent Eveler , when the items come around           , to

23 put them back in the        toolbox.

24           THE COURT:     Y ou may.

25           MS. GREENBERG:     Thank you.




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 1                    (Witness resumes the stand.      )

 2            BY MS. GREENBERG:

 3 Q.         Could you tell the jury what's depicted in P             -43?

 4 A.         That's a small green table that was also in the

 5 utility room next to the        workbench .

 6 Q.         Did you seize that small green table?

 7 A.         No.

 8 Q.         P-42.   Could you tell the jury what's depicted

 9 in that?

10 A.         Right b ehind the card there     , it's a heat sealer.

11 Q.         What do you mean by heat seal?         What is a heat

12 sealer?

13 A.         It enables you to seal plastic baggies          , for

14 example.

15 Q.         And how is that utilized in the drug trade           ?    A.

16 Just as    I said.   It provides a double layer of

17 protection aside from the        Ziploc itself .        I t also heat

18 seal s the baggy.

19            MS. GREENBERG :    Your Honor , if I may approach .

20            THE COURT:    Y es , you may.

21            BY MS. GREENBERG:

22 Q.         Showing you   Digger's Lane 13.

23            How does that relate to what the jury is seeing

24 up on the screen?

25 A.         That 's the item that's in the photograph.




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 1 Q.         The heat sealer?

 2 A.         The heat sealer, yes.

 3 Q.         Did you seize any money from this residence?

 4 A.         Yes.

 5 Q.         How much did you seize?

 6 A.         $27,782.

 7 Q.         I'm sorry , what was that again?

 8 A.         $27,782.

 9 Q.         Without    going through each   and every location

10 about where money was seized        , could you    give us an

11 example of where a particular amount of money was

12 seized ?

13 A.          Yes.     There were two -- money was seized in

14 three different locations.          Two black trash bags

15 containing money were seized from the master bedroom.

16 The third location was a second bedroom           , and money was

17 seized there that was stored in a plastic jar.

18 Q.         So black trash bags     and a plastic jar?

19 A.         Yes.

20 Q.         Was it a plastic     pretzel- type jar?

21 A.         Yes.

22 Q.         Without going through each      and every count of

23 the mon ie s that were seized, could you give the jury

24 some kind of idea about what denominations you            're

25 seeing in your seizure?




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 1 A.         There were multiple denominations but primarily

 2 there were        20s , 10 s, 5s and 1s.

 3 Q.         Were they packaged in any kind of way?

 4 A.         They were bundled together with         rubber bands.

 5            MS. GREENBERG:      Court's indulgence.

 6            No further questions      , Your Honor.

 7            THE COURT:     Cross-examination    ?

 8            MR. MONTEMARANO :      T hank you , y our Honor.

 9                            CROSS-EXAMINATION

10            BY MR. MONTEMARANO :

11 Q.         You have 17 years service as a police officer;

12 correct,    Detective     Kucsan ?

13 A.         Yes.

14 Q.         Twelve years narcotics; correct, sir?

15 A.         Yes.

16 Q.         Hundreds of search warrants in which search

17 warrant -- searches pursuant to warrants which you've

18 participated in ?

19 A.         Correct , yes.

20 Q.         About how many as a seizing agent?

21 A.         I'm not sure.

22 Q.         Guess.

23 A.         I'm not sure.

24 Q.         Twenty ?    More?

25 A.         Probably more, yeah.




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 1 Q.       Forty ?

 2 A.       I'm not sure.        I really never started counting.

 3          MS. GREENBERG:        Excuse me.     Your Honor , my case

 4 agent here is reminding me that on this picture             , we

 5 might not have said when you seized drugs            , you seized

 6 drug s, that 's what you seiz ed, is that correct, from

 7 that exhibit,      P-36 ?

 8          THE WITNESS:       I'm s orry?

 9          MS. GREENBERG:        P-36 , did you seize the residue

10 from that?      I'm sorr y.    P-36 is up on the screen       .

11          THE WITNESS:       Yes.

12          MS. GREENBERG:        I'm sorry to    change in

13 midstream.    Was that -- that was seized?

14          THE WITNESS:       I'm not sure.

15          MS. GREENBERG:        The residue?

16          THE WITNESS:       The residue?      I'm not sure.

17          MS. GREENBERG:        Showing you what's been marked

18 as Drugs 3.      I apologize , Your Honor.       Did that come

19 from the Digger's      Lane residence?

20          THE WITNESS:       Yes.

21          MS. GREENBERG:        Is that residue from what we're

22 seeing up on the screen?

23          THE WITNESS:       Yes.

24          MR. WARD:     Objection , Your Honor.

25          He said he doesn't know.




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 1          THE COURT:     If he knows    , he may answer.     If he

 2 does not know , he may not.

 3          MR. WARD:     I thought he said he didn't know if

 4 it was seize d.

 5          MS. GREENBERG:       I a pologize .

 6          THE COURT:     Are you finished       ?

 7          MS. GREENBERG:     Yes , Your Honor.

 8          THE COURT:     All right.      I believe    he indicated

 9 he knew the answer.

10          MS. GREENBERG:     Yes , he did , Your Honor .

11          THE COURT:      T here was an objection that he was

12 not aware of -- did not know.

13          MS. GREENBERG:     Do you know where the         Drugs 3

14 came from , sir?

15          THE WITNESS:      Yes.

16          MS. GREENBERG:     Where did it come from?

17          THE WITNESS:      The residue on the plate.

18          MS. GREENBERG:     Thank you,      Your Honor.      I

19 apologize .

20          MR. MONTEMARANO :        Are you done ?

21          MS. GREENBERG:     Yes .

22          BY MR. MONTEMARANO :

23 Q.       I think we left off somewhere over 20 searches

24 where you were seizing agent; is that a fair statement?

25 A.       Yes.




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1 Q.         Maybe 30, maybe even 40      , you're not sure;

2 correct?

3 A.         Correct.

4 Q.         Based upon your training       and your experience --

5 considerable experience as          a seizing agent in search

6 warrants , you would agree that it is important -- no,

7 vital , that you take         a careful record of everything

8 that you seize in the execution of su          ch a warrant;

9 correct?

10 A.        Yes.

11 Q.        And you take into custody      , when you come through

12 the door , all the people in the residence; correct?

13 A.        Yes.

14 Q.        For issues of officer safety       and security as

15 much as anything else; correct?

16 A.        Yes.

17 Q.        And because you believe people in a location

18 that you're      searching   pursuant to a warrant in a drug

19 investigation may well have something to do with

20 narcotics trafficking; is they a fair statement?

21 A.        Yes.

22 Q.        So I'd like you , if you would take a moment         ,

23 please take      your time , I'd like you to look around the

24 courtroom , look at     all the folks o ver here , the folks

25 at this table here     , the folks at these two tables,




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 1 okay?    We'll ignore the spectators for now.

 2           Do you see anybody you saw at         Digger's    Lane when

 3 you executed that search warrant?

 4 A.        No, sir.

 5           MR. MONTEMARANO :     No further questions       , Your

 6 Honor.

 7           MR. MARTIN:      Mr. Goodwin   has no questions for

 8 this witness .

 9           MR. HALL:    N o questions , Your Honor.

10           MR . MITCHELL:    N one , Your Honor.

11                          CROSS-EXAMINATION

12           BY MR. WARD:

13 Q.        Detective, not to    , as they say , beat a dead

14 horse to death, but when you were first asked by               Ms.

15 Greenberg if the residue from         the place was seized, it

16 was very possible that you said          "I don't know "; is that

17 right?

18 A.        I believe   I said   I'm not sure.

19 Q.        You're not sure.     Well   , how did you know that

20 that stuff was -- that you were shown after that is the

21 residue that was seized?

22 A.        I recall seizing that residue after          I was shown

23 it.

24 Q.        After you were shown it      , that caused     you to

25 remember ?




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1 A.       Yes.

2 Q.       I see.     Now , let me ask you this     :   The plastic

3 bags , these are not something that are manufactured

4 strictly for drug trade      , are they?

5 A.       The Ziploc baggies?

6 Q.       No.

7 A.       No.

8 Q.       I mean , any one of      us in this courtroom might

9 have small      and large plastic bags in our homes.           I can

10 assure you     I do , and I ain't in the drug business        ; is

11 that right, sir?

12 A.      That's right.

13 Q.      What about scales?      Are you suggesting that this

14 kind of scale that was found is something that's

15 manufactured exclusively for the drug business?

16 A.      Am I suggesting that?

17 Q.      Yeah.

18 A.      No.

19 Q.      So, a scale like that -- putting aside these

20 circumstances that we just testified about, but simply

21 finding a scale like that is not necessarily indicative

22 of carrying on the drug business -- the scale itself.

23 Is that right , sir?

24 A.      That's right.

25 Q.      Are you aware the scales like that are used in




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 1 the jewelry business      , for example , to weigh diamonds

 2 and other jewels?

 3 A.       No.

 4 Q.       In other words , you don't know.         You're not

 5 saying they're not --

 6 A.       I don't know that.

 7 Q.       And you don't know any of the other businesses             ,

 8 legitimate businesses      , in which a small scale of that

 9 type might probably       is going to be used.

10 A.       Not in particular, no, sir.

11 Q.       You only come across them in connection with the

12 drug business?

13 A.       Yes.

14 Q.       The fact that a telephone number appeared in a

15 directory that you found does not in            and of itself

16 indicate some drug connection        , does it?

17 A.       No.

18 Q.       It could simply be a friend        ; is that right , sir?

19 A.       Yes.

20          MR. WARD:     I think that's all       I have , sir.

21 Thank you.

22          THE COURT:     All right,      thank you .

23          Any further cross?      Any redirect     ?

24          MS. GREENBERG:     N o, Your Honor .      T hank you .

25          THE COURT:      A ll right .    Y ou may step down ,




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 1 Officer .     T hank you very much.

 2           (Witness excused at 2        :42 p.m. )

 3           MR. MONTEMARANO :      Co urt's indulgence, please.

 4           MS. GREENBERG:       Your Honor , Mr. Montemarano

 5 wants m e to advise the       Court that this        is one of the

 6 agent s that's recurring from different search warrants                   .

 7 He has a different search warrant           .   H e will be recalled

 8 later this week.

 9           THE COURT:     All right     , that's fine.

10           MS. JOHNSTON:      Your Honor , recall agent           Sakala .

11                          (W itness   Sakala resume s the stand. )

12                    FURTHER    DIRECT    EXAMINATION

13           BY MS. JOHNSTON:

14 Q.        Agent Sakala , during your previous testimony                 , I

15 had asked you in reference to the call              , the message

16 left by     Ms. Harden   on April 19 , I asked you to review

17 the logs for     Line B.

18           Let me also provide you        , for identification

19 purposes only , Miscellaneous          10, th e logs for       Line A.

20           Did you have occasion to review            those ?

21 A.        Yes, I did.

22 Q.        Did you locate the missing pages from                Log B?

23 A.        Yes.

24 Q.        Where were they?

25 A.        They were in the      Log A book.




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 1 Q.      Based upon reviewing those logbooks, did it

 2 refresh your memory as to whether or not there was any

 3 return call made to       Ms. Harden      by Ms. Martin on or

 4 about April 19?

 5 A.      Yes.    April 15.

 6 Q.      Well , let's be sure we have the right date.

 7 That would be     Call A10 46?

 8 A.      April 19 , I'm sorry,       yes.

 9 Q.      Calling your attention to           Call A1046, 3 :3 6, do

10 you have that call in front of you           ?

11 A.      Yes , that is      April 1 5th, yes.

12 Q.      Base d upon your review          of the logs , was there a

13 return call made by       Ms. Mar tin ?

14 A.      There were no calls between the two between the

15 15 th and   the 19th .

16 Q.      May I have       NY-1, please?    Y ou heard the

17 testimony of    Trooper     Conner here this morning?

18 A.      Yes.

19 Q.      Have you had occasion also to review again              NY -1,

20 the ledger from     New York?

21 A.      Yes.

22 Q.      And based upon your training             and experience , did

23 you form an opinion as to whether there was any

24 coordination or corresponding entry in             NY -1 in terms of

25 the seizure that was made on        April -- the early morning




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 1 hours of April 24?

 2            MS. JOHNSTON:      Court's indulgence, one moment.

 3 Putting it up on the screen here.

 4            THE WITNESS:       Yes.

 5            BY MS. JOHNSTON:

 6 Q.         Okay.   What entry is that?

 7 A.         If you look under the date 4/23/2004, reflects a

 8 balance that       Gwen Levi and     William    Turner owed of

 9 $220,600.     Then it reflects a distribution of 2,300

10 grams of heroin for which they were charged $138,600,

11 resulting in a new balance of 358,000 -- $358,600.

12

13            Then further down, it reflects the payment of

14 $263,270.      I can't quite read the -- gave me $97,100 on

15 the 23rd.      I can't --     I think it says, you gave me or

16 he gave me.        I can't really see it there.      You gave me

17 $97,100.     Over to the right, you also see the 4/23 of

18 the $261,500, which is actually a miscount of the money

19 that she had.      And then the new balance is $263,270.

20 And continues on down for the final             , what he's co ming

21 up with , the figures aren't          right,    but what he's co ming

22 up with is $139,770       .   I t reflect s the distribution       of

23 the 2 ,300 grams.

24 Q.         Now , furthermore , you heard the testimony of

25 Trooper    Conner concerning the pass          enger in the vehicle




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 1 being Bernice       Carter.

 2 A.        Yes.

 3 Q.        Have you had occasion to review the             video that

 4 we saw this morning that were played through                Jeff

 5 Rachel of the surveillance in          New York , as well       as the

 6 video from       Trooper   Conner 's police vehicle?

 7 A.        Yes.

 8 Q.        Did you recognize the women on those two videos?

 9 A.        Yes.

10 Q.        Who were they?

11 A.        Donna Johnson , and then the woman referred to as

12 Bernice   Carter,     actually her real name is          Gwendolyn

13 Levi .

14 Q.        Was that an alias that she had used?

15 A.        Yeah .    I t was the   ID she was using at the time

16 of her arrest.

17 Q.        Also , there was a      Sprint   Spectrum telephone bill

18 identif ied in      the name of   Bernice     Carter.     D o you

19 recall that       testimony   this morning?

20 A.        Yes.

21 Q.        And the telephone number associated with that,

22 the Sprint       Spectrum telephone call, did you recognize

23 that telephone number?

24 A.        Yes, t hat was actual ly the        E line , the last

25 telephone n umber 1373 , that was          actually     the telephone




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 1 we were intercept     ing that   was in the name of       Bern ice

 2 Carter.

 3 Q.        That would be     Digger's   Exhibit   11, which is on

 4 the screen here?

 5 A.        Yes.

 6 Q.        And the number at      the top , that was the number

 7 you were --

 8 A.        That is   the E line that we were intercepting.

 9 Q.        During the events of April 23       , were you actually

10 intercepting calls between         Ms. Levi and Mr. Uriarte          in

11 New York ?

12 A.         Yes, we were .     T hat's why   we had establish ed

13 the surveillance.

14 Q.        And in regards to the traffic stop by           Officer

15 Conner,   based on your training        and experience , why was

16 it requested that he do a traffic stop?

17 A.        We wanted   to make the traffic stop look as

18 normal as possible     , that totally unconnect       ed to the

19 intercept so we could continue the investigation               and

20 stimulate conversation about the arrest           , locate

21 additional individuals that were involved in the

22 conspiracy.

23           If the -- if the stop was solely based upon the

24 wire of the people thought         that 's what it was , we

25 wouldn't have been able do that         , so the instruction      s to




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1 the trooper were to make it seem as unrelated to any

2 other investigation     , in other words , make it look like

3 a random stop , make it look that way as much as

4 possible.

5 Q.       Was that the reason for having the dog come              ?

6 A.       Sure, yeah .     We knew    exactly   where the drugs

7 were , but we did that for the show for the defendants.

8 Q.       In fact , as a result of that traffic stop           , was

9 anyone actually arrested        and charged?

10 A.      Yes.    Gwen Levi and Donna Johnson were both

11 arrested.

12 Q.      As a result of that, did that -- what effect did

13 that have on your interception of calls over             Ms. Levi 's

14 telephone?

15 A.      I believe    I want to say we continued

16 interception for a day or maybe a day            and a half , but

17 obviously    since we had the telephone       , the only thing we

18 were gett ing were cellular -- excuse me          , tel ephone

19 messages left on her phone         during that   time period      and

20 then I think    that Sunday , we ceased the interception of

21 that telephone .

22 Q.      You also heard testimony from -- also heard

23 testimony from detective       Kucsan concerning executing

24 the search warrant at      Digger's    Lane shortly after        Ms.

25 Levi had been arrested     .   D o you recall that testimony           ?




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 1 A.        Yes.

 2 Q.        Are you familiar with the in          dividual    whom he

 3 referred to as      William   Turner?

 4 A.        Yes.

 5 Q.        Based upon your involvement in the

 6 investigation , based upon your training             and exper ience,

 7 was Mr. Turner arrested that night          ?

 8 A.          No.   We had had quite a bit of discussion about

 9 that.   He was located inside the residence            , and at that

10 point , to make it look as though it was -- the stop was

11 only connect ed to the traffic stop         , we made the

12 determination at that point to not charge him at that

13 point and he was released.

14 Q.        Was he subsequently arrested           and charge d in this

15 case?

16 A.        Yes, he was.

17 Q.        I want to just show you        CH -1 and ask you if you

18 recognize    Ms. Levi and Mr. Turner on this chart?

19 A.        They're in the far upper       , right-hand corner       , the

20 female un derneath     Mr. Uriarte      is Gwendolyn       Levi, and

21 then the male underneath        Mr. Uriarte      is William     "D og "

22 Turner.

23 Q.        Those would be these two individuals here?

24 A.        Yes.

25 Q.        In the heroin box.




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 1 A.        In the heroin box.

 2 Q.        Now , as a result of the police activity that

 3 night , were in fact , a series of calls generated over

 4 the wiretap that you still had in effect?

 5 A.        Yes.

 6 Q.        And that    wiretap was on what telephones?

 7 A.        At that time , we were still up on        Ms. Martin's

 8 home phone , one of her cellular telephones and two

 9 cellular telephones of       Mr. Mangual .

10 Q.        If we could turn our attention now B4245 on            Page

11 36 4.   Do you have that call in front of you         ?

12 A.        Yes.

13 Q.        And who are the    parties to this call?

14 A.        Paulette    Martin and   Kevin Scott.

15 Q.        What date    and time does this call take place?

16 A.        It's on April 24, 2004     , at 8:12 in the morning.

17 Q.        Who is Kevin Scott?

18 A.        He either is or at least referred to as a son of

19 Gwendolyn    Levi .

20 Q.        Page 36 4, Call B4245 , and this call took place

21 at 8 o'clock in the morning?

22 A.        Yes.   I guess about eight hours after the

23 arrest.

24 Q.        Was this an incoming call to       Ms. Martin or a

25 call that she made from her residence?




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 1 A.       This is an outgoing call to         Kevin Scott,

 2 following up a call from him with a call              where the call

 3 had dropped.

 4 Q.       If we c ould play B4245 , please.

 5          (Audio recording begins playing at 2            :54 p.m. )

 6          (A udio recording stops playing at 2          :5 9 p.m. )

 7          BY MS. JOHNSTON:

 8 Q.       Based upon your training        and experience , can you

 9 tell what's being discussed in the call?

10 A.       Yes.     Kevin Scott is telling         Paulette   Martin

11 about the search warrant at the residence on                Digger's

12 Lane and at the residence was          Dog Turner and that the

13 police let him go     , and they go back         and forth several

14 times try ing to figure out where         Gwen is , Gwen Levi,

15 they don't know about her arrest yet             , and try ing to

16 figure out where her        and Donna Johnson are at , and they

17 speculate as to whether she's laying low or what's

18 going on with her     .    And they   keep trying her phone but

19 haven't been able to get through to her yet.

20 Q.       Could you give us examples in the conversation

21 from which you base that conclusion?

22 A.       Bottom of    Page 36 4, Kevin Scott describing they

23 tore up the apart     ment, they went by their house          , the

24 apartment,      talking   about the   residence on     Digger's

25 Lane , the old man was sitting there         .     T hat's Dog




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 1 Turner.     He said he was jus       t a guest , mean ing he       didn't

 2 live there , so they escorted him out          .     T hat's the

 3 police escorted him        out.     I understand they ransacked           ,

 4 tore everything up       , that 's the police searching the

 5 house and she was nowhere to be found              , mean ing Gwen was

 6 not there.

 7            They go on to middle of        Page 36 5, Kevin Scott

 8 saying , you know , my understanding         , you know , they all

 9 -- all in the vicinity of any other.          Talking about

10 where she was supposed to be but no one can find her                  ,

11 that being     Gwen Levi .    Bottom of page 36       5, talking

12 about William     Turner , let him roll , meaning the police

13 released him.

14            Middle of    Page 36 6, they're    talk ing what about

15 was in the house , whether she had any drug             s in the

16 house, heroin.         Paulette    Martin sa id she had some

17 clothing    and items in there , Kevin Scott saying he d oes

18 not know.      He doesn't know if there were any drugs in

19 the house.

20 Q.         So clothes    and items    is a code word?

21 A.         That's what she's asking       , did she have any

22 clothes    and item there?        Obviously she would have

23 clothe s in her house , but she's specifically talking

24 about heroin.

25            At the bottom of the page       , Kevin Scott says they




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 1 were traveling , mean ing that          were coming back from      New

 2 York with     the heroine,     refer ring to    Donna Johnson     and

 3 Gwen Levi, and then the next page           , they're still try        ing

 4 to figure out what 's going on , and they take it as               a

 5 good sign that      William    Turner was not arrested     , meaning

 6 it may not be related to a big investigation if they

 7 didn't really arrest him.

 8 Q.         If you could then    , on our chart there     , if we

 9 don't already have the code clothes            , add the code

10 clothes    and Page No. 366 .      Clothes , I believe , may be

11 up there already.     Number 14.     On your chart.

12 A.         (Witness indicating.     )

13 Q.         Base d upon that telephone call       , would it be fair

14 to say that your tactics worked?

15 A.         So far they have, yes.

16 Q.         Going to the next call, B4312 on         Page 371.     Does

17 this next series of calls also take place on April 24?

18 B4312 on    Page 37 1.

19 A.         Yeah.   The series takes place on the         24 th.

20 Q.         Is this a group of related calls?

21 A.         Yes , it is.

22 Q.         What are the call numbers that are related?

23 A.         4312, 4313, 4316, 4317, 4321, A1282, B         4330,

24 4363 .

25 Q.         And they all take place on April 24; is that




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 1 correct?

 2 A.         Yes.   April 24 between 1     :07 p.m. and 11 :11 p.m.

 3 Q.         If we could begin by turning to the first call,

 4 B4312.     The time of that call?

 5 A.         That's at 1 :07 p.m.

 6 Q.         Who are the   parties to     that call ?

 7 A.         Paulette   Mart in and    Learley    Goodwin.

 8 Q.         If we could play the call      , please.

 9            (Audio r ecording begins playing at 3           :03 p.m. )

10            (Audio recording stops playing at          3:04 p.m. )

11            BY MS. JOHNSTON:

12 Q.         The next call, B4313 on       Page 37 2, takes place

13 how soon after the previous call?

14 A.         Right after the call      , three minutes later      , at

15 1:11 p.m.

16 Q.         Who are the parties?

17 A.         Paulette   Martin   and Learley      Goodwin again .

18 Q.         If we could play it      , please.

19            (Audio recording begins       playing    at 3 :04 p.m. )

20            (Audio recording     stops playing      at 3 :05 p.m. )

21            BY MS. JOHNSTON:

22 Q.         The next call , B4316 , takes place how many

23 minutes later?

24 A.         First one is at 1    :11 and the other one is at

25 1:26 , about 15 minutes later.




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 1 Q.       If we could play       B4316.

 2          (Audio r ecording begins         playing    at 3 :05 p.m. )

 3          (Audio recording       stops playing       at 3 :05 p.m. )

 4          BY MS. JOHNSTON:

 5 Q.       The next call , B4317 on Page 375           , does that

 6 happen -- is that the next call in the sequence                on this

 7 telephone line?

 8 A.       Yes.

 9 Q.       It happens approximately how many minutes after

10 the one we just listened to?

11 A.       It's 1 :35 p.m ., so about nine minutes later.

12 Q.       Who are the participants in this call?

13 A.       Paulette    Martin    and Claude    Arnold.

14 Q.       If we could play it      , please.

15          (Audio recording begins          playing    at 3 :06 p.m. )

16          (Audio recording       stops playing       at 3 :06 p.m.)

17          BY MS. JOHNSTON:

18 Q.       Go to the next call , B4321 on          Page 37 6.    What is

19 the time of that call      ?

20 A.       That's at 2:10 p.m., about a half hour after the

21 last call.

22 Q.       Who are the parties to          this call ?

23 A.       Paulette    Martin    and Learley     Goodwin.

24 Q.       If we could play it      , please .

25          (Audio r ecording begins         playing at    3:06 p.m. )




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 1            (Audio recording stops playing at 3          :06 p.m. )

 2            BY MS. JOHNSTON:

 3 Q.         As a result of that call       , were surveillance

 4 units sent out?

 5 A.         Yes.

 6 Q.         Where were they sent to?

 7 A.         Larry Lane's house in       Oglethorpe .

 8 Q.         If we could interrupt the testimony at this time

 9 and call a surveillance agent         .

10            THE COURT:     Y ou may.

11            (Witness ex cused from the stand at 3         :07 p.m. )

12 Thereupon,

13                           KATHLEEN    METERKO ,

14 having been called as a witness on behalf of the

15 Plaintiff , and having been first duly sworn by the

16 Courtroom Deputy, was examined and testified as

17 follows:

18                         DIRECT    EXAMINATION

19       BY MS. GREENBERG:

20 Q.         Good afternoon .     C ould you state your name         and

21 spell your last name for the court reporter             , please?

22 A.         Kathleen   Meterko , M E T E R K O.

23 Q.         Where you employe     d and in what capacity?

24 A.         I'm a Prince    George's    County     Police Officer     and

25 I work in the     Narcotic s En forcement       Division.




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1 Q.         What is your current rank?

2 A.         Corporal .

3 Q.         Were you so employed on or about April 24, 2004?

4 A.         Yes , I would you say was.

5 Q.         Could you give    the jury some idea about your

6 background , training , and experience?

7 A.         The academy is where everyone begins.           I was in

8 the basic academy for six months.        You learn everything

9 from Maryland state laws to patrol tactics              and firearms

10 skills , driving skills.       I've also    received   training

11 while in the     Narcotic   Enforcement    Division from a

12 number of agencies      , Drug Enforcement    Administration,

13 Customs,    and the training has ranged from wiretap

14 training , interceptive wire communications, money

15 laundering, undercover operations.

16 Q.        And how long have you been       a law enforcement

17 officer    in the narcotics enforcement area?

18 A.        Seven years.

19 Q.        As such , have you done surveillances?

20 A.        Yes, I have.

21 Q.        Did you assist detectives in connection with

22 this case, detectives -- well       , Sergeant    Sakala , Special

23 Agent Snyder , and Detective       Eveler in connection       with

24 investigations     in this case?

25 A.        Yes, I did.




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 1 Q.      And specifically did you assist them on April

 2 24, 2004?

 3 A.      Yes.

 4 Q.      Could you tell the jury what you did -- let me

 5 back up for a second      .    O n April 24, 2004 , what time did

 6 you conduct a surveillance?

 7 A.      Approximately 2 :30 in the afternoon.

 8 Q.      Could you tell the jury what you did at

 9 approximately 2 :30 in the afternoon on April 24, 2004?

10 A.      I was directed to do a spot check at 846

11 Oglethorpe     in Washington , which entailed simply driving

12 past that residence       and jotting down anything        I

13 observed.

14 Q.      Is that in the northwest sec          tion of town?

15 A.      Yes.

16 Q.      And did you go out to the location that you just

17 mentioned 846     Oglethorpe , O G L E T H O R P E, Street ,

18 Northwest    Washington       D. C.?

19 A.      Yes.

20 Q.      Could you tell the jury what you observed?

21 A.      As I drove past the residence          , which was on my

22 right , I observed a small red           Mercedes   Benz in front of

23 that residence on the street           , and there was a female in

24 the driver's seat    .    And on the sidewalk in front of

25 846 , there was a gentleman standing on the sidewalk               and




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 1 they were having a conversation.

 2 Q.         Did you get a description of the gentleman             at

 3 all?

 4 A.         I didn't know if he was a black male or          Hispanic

 5 male.

 6 Q.         Did you notice anything particular about the

 7 Mercedes    Benz, what type of car it was       , what type of

 8 Mercedes it was?

 9 A.         I don't know the model      , but I know   it 's the

10 two -door convertible.

11 Q.         How was the convertible top?

12 A.         It was down.

13 Q.         Did you manage to get a license plate?

14 A.         No.

15 Q.         Did you observe what this female        and male were

16 doing while by the        Mercedes   Benz convertible?

17 A.         I observed them talk      ing to one another.

18 Q.         Did you stop?

19 A.         No.

20 Q.         And why not?

21 A.         I think that would call attention to my

22 surveillance.

23 Q.         Did you get anymore information about the car or

24 the individuals?

25 A.         No.




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 1           MS. GREENBERG:       No further questions      , Your

 2 Honor .

 3           THE COURT:     A ny cross- examination?

 4                            CROSS-EXAMINATION

 5           BY MR. MONTEMARANO :

 6 Q.        You took notes on that day, did you not?

 7 A.        Yes , I did.

 8 Q.        And those notes were a reasonably complete              and

 9 accurate description of what you observed            ?

10 A.        Yes .

11 Q.        Do you have them with you?

12 A.        No , I don't .

13 Q.        Do you recollect      writing a nything about       having

14 seen any sort of hand -to -hand transaction or anything

15 of that sort ?

16 A.        Not in my notes.

17 Q.        You didn't , right?

18 A.        Correct.

19           MR. MONTEMARANO :      No further questions      , Your

20 Honor .

21           THE COURT:     A ny further     --

22           MR. HALL:    N o questions , Your Honor.

23           MR. MARTIN:       Mr. Goodwin    has no questions    , Your

24 Honor .

25           THE COURT:     A nyone else?    Any redirect?




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 1           MS. GREENBERG:       No , Your Honor.

 2           THE COURT:     All right      .    Y ou may step down .

 3 Thank you very much,        Corporal.

 4                  (Witness excused at 3           :12 p.m. )

 5           MS. JOHNSTON:        Your Honor , we would recall

 6 Detective    Sakala .

 7           (Witness    Sakala resume s the stand            at 3:13 p.m. )

 8                      FURTHER   DIRECT       EXAMINATION

 9           BY MS. JOHNSTON:

10 Q.        Detective     Sakala , was there a telephone call

11 short ly after 2 :30 on April 24 of 2004?

12 A.        Yes.

13 Q.        Calling your attention to A1282 on                Page 37 7.        Is

14 that the next call in this series that we're playing

15 now?

16 A.        Yes.

17 Q.        Approximately what time does that call take

18 place?

19 A.        2:35 p.m. on the afternoon of the                24 th of April.

20 Q.        If we could please play A1282 on                Page 37 7.

21           (Audio record ing begins playing 3:13 p.m.              )

22           (Audio recording stops playing at 3:14                p.m. )

23           BY MS. JOHNSTON:

24 Q.        If we could go to the next call            , B4330 on        Page

25 378.     At what time does this call take place?




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 1 A.         4:49 p.m. on the same date       , the 24 th.

 2 Q.         Who are the     parties to    this call?

 3 A.         Paulette    Martin a nd LaNora    Ali .

 4 Q.         Again , is this another excerpt from a rather

 5 lengthy call?

 6 A.         Yes.     It's a three    -minute call , but it starts at

 7 a minute 25       and goes to a minute 32.

 8 Q.         Why did you decide just to present that small

 9 portion of the call?

10 A.         It's the pertinent part of the conversation.

11 The rest of the stuff would not be germane to the case.

12 Q.         If we could please play B4330.

13            (Audio    recording begins     playing     at 3 :14 p.m. )

14            (Audio recording        stops playing     at 3 :14 p.m. )

15            BY MS. JOHNSTON:

16 Q.         If we could go to the next call, B4363 on             Page

17 379.   Again , this call takes place on April 24; is that

18 correct?

19 A.         Yes.     At 11 :11 that night.

20 Q.         Who are the     parties to    this call?

21 A.         Le arley Goodwin    and Paulette    Martin.

22 Q.         If we could please play B4363.

23            (Audio r ecording begins playing at 3          :15 p.m. )

24            (Audio recording        stops playing     at 3 :15 p.m. )

25            BY MS. JOHNSTON:




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 1   Q.      Based upon your training          and experience in this

 2 series of telephone calls, did you form an opinion as

 3 to what took place on April 24 of 2004 between                  Ms.

 4 Martin    and Mr. Goodwin ?

 5 A.        Yes.

 6 Q.        What is that?

 7 A.        Mr. Goodwin     informed   Ms. Martin that        Cuba , the

 8 source that we talked about last week            , source of

 9 cocaine that we talked about last week               , had two kilos

10 of cocaine .     And through a series of calls           , they

11 discussed whether they should purchase them or not.

12           They agreed to      and Ms. Martin drops off the

13 money for her part of the purchase with                Larry Lane at

14 the house on     Oglethorpe , and then Mr. Goodwin

15 subsequently goes       and get s the cocaine         and delivers it

16 to Ms. Martin that night       .

17 Q.        If you could, refe rring to the calls , tell us

18 what in the calls serves as the basis for your opinion.

19 A.        If you look at the first call is 4312 on                Page

20 37 1.    Mr. Goodwin    asks whether , did you e ver find

21 anything about the tickets         , mean ing Ms. Martin        -- to

22 Ms. Martin , meaning a supply of drugs           .     S he says , no.

23 He says , I just talked to         Cuba .   H e says he's got two        ,

24 meaning just talk      ed to Cuba and Cuba's          got two

25 kilograms of cocaine      .   T hen they go on to discuss that




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 1 they don't want      Cuba's cocaine because it doesn't come

 2 wrapped in kilo packages.

 3          When kilos come, ordinarily when they're first

 4 brought into the country        , they will be wrap    ped in     a --

 5 some type of very tight wrapping paper           , could be duct

 6 tape , it could be plastic       , it could be a wax covering         ,

 7 but it's very -- a very recognizable           as the original

 8 wrapping of the kilogram        , indicating that that kilo has

 9 not been tampered with      .    It hasn't been cut , it's of

10 the original quality that they would expect            .

11          And what Mr. Goodwin       and Ms. Martin are saying            ,

12 Paulette is saying     , yeah , but that stuff of          Cuba 's , you

13 know , and Mr. Goodwin's        saying , yeah , I know exactly

14 what you're saying     , and then Ms. Martin says , you know ,

15 if they're in the regular container          , meaning if they

16 have the same original wrapping material           , that would be

17 something the -- that would be something that she would

18 be interested.

19          Mr. Goodwin     says , that's the whole key right

20 there , meaning that's the determination of whether the

21 cocaine is going to be of good quality or not is the

22 wrapping paper.       Ms. Martin reiterates in the regular

23 container.    You can tell him       I said so , you know , that

24 ain't right.

25          And then on top of       Page 37 2, Mr. Goodwin        says ,




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 1 I'm going to go     get with them    and talk to them , and if

 2 it's , like , in the regular container       , meaning if the

 3 cocaine is still original wrapping         , still original duct

 4 tape , how it originally come      s in the country , that's

 5 good.   If not, he goes , if not , tell him to shove it ,

 6 meaning if it's been taken out of the original

 7 contain er, put in a     Ziploc baggy or some other way        ,

 8 that indicates it's been adult       erated , then they're not

 9 going the buy it.

10 Q.      Before we move on     to the next call , the term

11 tickets in this call refer      s to what?

12 A.      Cocaine.

13 Q.      Any particular quantity of c        ocaine ?

14 A.      The first reference is tickets is just cocaine

15 in general , and then it's -- he's got two          , meaning two

16 kilograms , but the    word tick et is use d in that

17 sent ence.

18 Q.      Now, you talked      about packaging .      B ased upon

19 your training     and experience , that packaging of cocaine

20 is original packaging when it come         s into the country?

21 A.      That's correct .      I n fact , you can see it from

22 the packag ing of the     Wyoming packages , a very good

23 example of what we're talking about.

24 Q.      Is there , based on your training          and experience,

25 a particular    unit or quantity that is wrapped in that




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 1 manner?

 2 A.        Normally , the thing you will see         is one

 3 kilogram , 2 .2 pounds , 1 ,000 grams.

 4 Q.        So you wouldn't wrap an eight ball in that kind

 5 of packaging?

 6 A.         Oh, no, no, no.     When they    're talking about

 7 original packaging      , they're not talking about anything

 8 more or less than       -- a kilogram is     what they're

 9 discussing.

10 Q.        If you could write      Page 37 1 on our board      next to

11 the word tickets.

12 A.        (Witness indicating.     )

13 Q.        And then if we could go on to         Call B4313.    Is

14 there anything in this call that supports your

15 opinion --

16           THE COURT:    Before we go on     , why don't w e take

17 an afternoon break until 25 of          4:00.

18                  (Jury excused at 3:20 p.m.)

19                  (O ff the record      at 3 :20 p.m. )

20                  (O n the record at 3      :36 p.m.)

21           THE COURT:    Counsel , remember we're going to

22 con vene tomorrow      morning at 9 :45 and with the jury at

23 10:00 so we can take up any preliminary matters then.

24                  (W itness resumes      the stand. )

25                  (Jury returns at 3      :37 p.m. )




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 1            THE COURT:     You may proceed.

 2            BY MS. JOHNSTON:

 3 Q.         I think , Detective      Sakala , you were explain       ing

 4 what was in the closet that led you               to the conclusion

 5 that Ms. Martin        and Mr. Goodwin    did a drug transaction

 6 on April 24 of 2004.

 7 A.         Yes.

 8 Q.         On Page 273 .

 9 A.         Yes.    Again, this is     Mr. Goodwin     calling    Ms.

10 Martin back after he's checked with               Cuba.    Fourth line

11 down , Mr. Goodwin       says, he said it was in the regular

12 wrapper , meaning the cocaine was in the original

13 wrapping material.         Ms. Martin says, okay          , we can go

14 then , meaning , okay , we'll make the purchase.

15            Then they go on to talk about getting the money

16 together.         Mr. Goodwin   asks what time are you going to

17 be home?      Ms. Martin , I'm home now , and then they go on

18 to Ms. Martin says , I can leave it with              Jackie,    meaning

19 she can leave the money with           Jackie .

20 Q.         That would be her roommate who lived upstairs?

21 A.         Jac queline   Terrell,    if she wasn't there.       Yeah

22 if Ms. Martin had to go out.

23 Q.         And the call with      Mr. Arnold,      what is the

24 significance of that call on           Page 37 5?

25 A.         Ms. Martin    is telling    Mr. Arnold that she is




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1 going to -- may have some good news           , meaning that she

2 may be receiving a shipment of cocaine               and has to do

3 with her brother had called her.

4 Q.       Brother referring to whom?

5 A.       Mr. Goodwin.      They were waiting to see what's

6 what -- what's going on.

7 Q.       Were you familiar with          Larry's house    dur ing the

8 course of this investigation?

9 A.       On Ogelthorpe , yes.

10 Q.      As a result of that call         , surveillance was sent

11 there , you heard    Ms. Mater ko testify ; is that correct ?

12 A.      Yes.   After we got      Call 4321 on 376.

13 Q.      And are you -- how many red          Mercedes

14 convertibles did you identify during the course of this

15 investigation ?

16 A.      Just Paulette     Martin's      Mercedes.

17 Q.      On Page 37 7, Ms. Martin advises            Mr. Goodwin     at

18 2:35 that she left the tickets at           Larry's.    What does

19 "tickets " mean in this call      ?

20 A.        In this case , she's talking about she dropped

21 the money at    Larry Lane's house on        Oglethorpe .

22 Q.      What is that base     d upon?

23 A.      The whole series of calls.         What they're doing            ,

24 they're buying cocaine from           Cuba and they would need

25 money to do that.




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 1 Q.       And then the last call       , B4363 on        Page 379.

 2 That's significant based on your training                and

 3 experience because that shows what?

 4 A.       He's calling     Ms. Martin to see if she's at home              .

 5 He's made the transaction with            Mr. Cuba   and is bringing

 6 the cocaine by.

 7 Q.       Then if we could go to the next call, B4385 on

 8 Page 380.    When does this call take place?

 9 A.       This is the next morning          , the -- after she

10 received the cocaine that previous night.

11 Q.       The delivery from      Mr. Goodwin      occurred shortly

12 after what time?

13 A.       11 o'clock at night.

14 Q.       And this call takes place at what time?

15 A.       9:33 the next morning.

16 Q.       Who are the     parties to       this call ?

17 A.       Paulette    Martin   and Claude      Arnold.

18 Q.       The same    Claude   Arnold whom she spoke to in the

19 middle of the call     s with Mr. Goodwin --

20 A.       Yes.

21 Q.       -- f rom the day before      ?

22 A.       Yes.

23 Q.       Now, on -- if we could please play this call                   and

24 then I'll ask you some questions about it.

25          (Audio recording begins playing at 3              :41 p.m. )




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1             (Audio recording     stops playing     at 3 :4 1 p.m. )

2             BY MS. JOHNSTON:

3 Q.          And based upon your training         and experience , did

4 you form an opinion as to what             Mr. Arnold an d Ms.

5 Martin are discussing?

6 A.          Yes.     They're talking to two different things          .

7 One at the beginning of the conversation             , they're

8 talking about the shipment of coke that she just got                  ,

9 and that he's going to come             over and get some .    And in

10 the second part , they're talking about            try ing to get a

11 hold of    Gwen Levi .

12 Q.         If we could discuss the first part on          Page 380 ,

13 are there any codes used during that conversation?

14 A.         Yes.     Fourth line down     , she goes , I got those

15 fliers for the shows         I was telling you about.    He

16 didn't hear her .        S he repeats it , I got the fliers for

17 the show     I was telling you about       , meaning   I've received

18 cocaine that we were talking about yesterday.          Then he

19 says he's going be there in 25 or 30 minutes.                 She

20 inquires as to how much cocaine he wants            , say ing what

21 do you want?        One or two fliers?        And then it goes back

22 to the same thing before        .     C an pay for one , he wants

23 the second one fronted.             And then the conversation

24 switches to       Gwen Levi .

25 Q.         Okay .    W ell , before we turn to the conversation




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 1 with Ms. Levi, would you add fliers to your list of

 2 codes if it's not up there already?

 3 A.        (Witness indicating.      )

 4 Q.        Based upon this portion of the call           and previous

 5 calls with     Mr. Arnold,     did you form an opinion as to

 6 whether he was paying for th        e drugs when he received

 7 them or if he was getting fronted any drugs?

 8 A.        In the previous transaction         , he paid for an

 9 eighth of a kilogram       and got fronted an eighth a

10 kilogram.    In this one      , they don't identify the amount

11 that he was picking up        , other than he's going to pay

12 for one   and get the other fronted to him or provided on

13 consignment.

14 Q.        Based upon your training          and experience , why was

15 it not necessary for them        , either one of them    , to

16 mention a particular quantity in this call?

17 A.        They would know based on previous dealings             .

18 They had no doubt in either one of their minds talking

19 about quantit y- wise .       T here is no need to mention it.

20 Q.        You indicated that you        believed   the remainder of

21 the call is related to         Ms. Levi .    Could you explain to

22 us where you form that opinion?

23 A.        Yeah.   Bottom of     Page 380 , Claude    Arnold says ,

24 I've been calling     and calling , talks about he's been

25 calling   Gwen Levi 's cellular telephone.         Next page     , on




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 1 Page 38 1, Paulette       Martin , that guy          ain't been calling

 2 me back .     I don't know why he don't call me back                 .

 3 She's refer ring to       William       Turner .     S he's been calling

 4 him and he 's not calling back             and can't get an answer

 5 on either one of the lines          .     Mr. Arnold says , just hope

 6 he don't --        I'm not surprised not hearing from him                ,

 7 meaning it's not unusual that              Mr. Turner doesn't call

 8 back .

 9            A lot of times when they go up             , a lot of times

10 when they go to        New York , they get cut off             , meaning

11 their cellular phones don't work up there                      and -- from

12 the system is the way he talks about it                    , and then they

13 just go on to talk if they're gone two to three days

14 without calling , then they're going have to start

15 worrying    about it.

16 Q.         If we could turn to the next call, B4393 on                       Page

17 38 2.    Does this call take place on the same date?

18 A.         It takes place on the same date, yes.

19 Q.         Okay.    At what time?

20 A.         10 :17 in the morning.

21 Q.         An d if we could please play -- strike that                   .

22            Who are the parties to this call                ?

23 A.         Paulette    Martin   and LaNora         Ali .

24 Q.         If we could please this telephone call.

25            (Audio recording begins          playing        at 3 :47 p.m. )




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 1          (Audio recording       stops playing    at 3 :4 7 p.m. )

 2          BY MS. JOHNSTON:

 3 Q.       Now, based on your training          and experience , what

 4 is Ms. Martin telling         Ms. Ali in this call?

 5 A.       They're talking about        Gwen and how no one's been

 6 able to get a hold of her.          Kevin Scott, her son's ,

 7 been -- has not been calling         Paulette    Martin back so

 8 they can't really -- at this point          , they still don't

 9 know what's going on.

10          And they talk about        Smack , or Skip , who's

11 referenced to     Claude   Arnold   and how him    and Gwen Levi

12 were -- had been best friends for 40 years            , but again ,

13 there they're still just talking -- they don't know

14 what happened , just that something went down on              Friday

15 night , which was the search warrant that was executed

16 on her residence .

17 Q.       If we could turn to        Call B4426 on page 38 6.

18 What date    and time does this call take place?

19 A.       This is on the same day       , the 25th , 3 :23 in the

20 afternoon.

21 Q.       Okay .   W ho are the    parties to    this call?

22 A.       Paulette    Martin    and Reece Whiting.

23 Q.       If we could play it      , please.

24          (Audio recording begins playing at 3          :49 p.m.)

25          (Audio recording stops playing at 3          :49 p.m.)




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 1

 2           BY MS. JOHNSTON:

 3 Q.        Based upon your training       and experience , did you

 4 form an opinion as to what was being discussed between

 5 Ms. Martin    and Mr. Whiting ?

 6 A.        Yes.

 7 Q.        What is that?

 8 A.        The second line down     , Ms. Martin says,       I don't

 9 have no tickets now      , means   I don't have any       drugs ,

10 cocaine , right now.       And Mr. Whiting says, yeah        , he

11 knows , that's what he wanted to talk to her about.                  I

12 wanted to talk to you about something that's going                  to

13 resolve   that problem , meaning he's got another source

14 of cocaine to tell her about.           And then she says she

15 will wait there at the house on          Hayward     for him to come

16 over and talk about it.

17 Q.        All right.    Now , could you please write         Page 38 6

18 next to the word       "t ickets " on our chart ?

19 A.        (Witness indicating.     )

20 Q.        If we could go to the next call           , B4430 , on Page

21 38 7.   Does this call    , likewise , take place on April 25?

22 A.        April 25 at 4 :48 the afternoon.

23 Q.        Who are the parties to this call           ?

24 A.        Paulette   Martin   and LaNora    Ali .

25 Q.        If we could play this call       , please.




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1            (Audio recording begins          playing     at 3 :51 p.m. )

2            (Audio recording       stops playing       at 3 :5 1 p.m. )

3            BY MS. JOHNSTON:

4 Q.         Based upon    your training and       experience , did you

5 form an opinion as to what was being discussed in this

6 call ?

7 A.         Yes.

8 Q.         What was that ?

9 A.         Paulette    Martin informs       LaNora    Ali that Gwen 's

10 been arrested , stating she's locked up              , and then she

11 goes on to talk -- tell          Ms. Ali that she believes          Ms.

12 Martin believes it's related to the arrest of                 Emilio

13 Echarte   in Florida        and that Echarte    is an in formant        who

14 had informed on      Ms. Levi .

15 Q.        And the Echarte       is referred to by what name?

16 A.        On Page 38 7, he's referred to as             Julio .

17 Q.        And what drug was       Mr. Echarte arrested for ?

18 A.         His case in       Florida involved manufacture of

19 PCP.

20 Q.        What is    PCP?

21 A.        Phencyclidine.        It's a hallucinogenic       , old

22 animal tranquilizer          Schedule    I narcotic.

23 Q.        Calling your attention to          Page 388 .     Ms. Martin ,

24 about the middle of the page            , initially says , but she

25 wasn't involved in that         , and then she continues she




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1 just introduced      him to the people that want          ed the

2 recipe to the sweet potato pie          .   B ased on your training

3 and experience , what is       Ms. Martin advising         Ms. Ali ?

4 A.        She's saying that        -- Ms. Martin   is stating that

5 Gwen Levi was not involved directly in the case                  , and

6 that they had introduced -- she --             Gwen Levi had

7 introduced      Mr. Echarte   to the people in      Florida       and Mr.

8 Echarte   was going to be the person making the              PCP ,

9 mixing it up , referring to it as they wanted the recipe

10 for the sweet potato pie      .    T hat's what   Mr. Echarte       was

11 doing in that case .

12 Q.       So the recipe for the sweet potato pie refers to

13 what?

14 A.       The recipe for      PCP , phencyclidine .

15 Q.       That's different      from the other reference          s to

16 sweet potato pie ; is that        correct ?

17 A.       Correct.   This is not referr        ing to cocaine.

18 Q.       That is based upon what?

19 A.       Based upon the case that          Mr. Echarte    was

20 involved in.    It was not cocaine.

21 Q.       Now , if we could go to the next call           , B4438 , on

22 Page 389.   What date     and time does this call take

23 place?

24 A.       This is on the same date at 8         :11 p.m ., a little

25 later that evening.




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 1 Q.         Who are the parties to this call          ?

 2 A.         Paulette    Martin    and John Martin.

 3 Q.         If we could play it       , please.

 4            (Audio recording begins        playing    at 3 :55 p.m.)

 5            (Audio recording       stops playing     at 3 :5 5 p.m. )

 6            BY MS. JOHNSTON:

 7 Q.         Based upon your training        and experience an d your

 8 knowledge of the wire       , what was     Ms. Martin telling        Mr.

 9 Martin in this call?

10 A.         She was confirm ing that       Reece Whiting     had come

11 to her residence as he had previously planned to do to

12 discuss the new source of cocaine           , and he's saying that

13 Mr. Whiting       just left.

14 Q.         Now , if we go to the next call, B4442          , on what

15 date an d time does this call take place?

16 A.         This is on April 25, 2004       , at 8 :48 in the

17 evening.

18 Q.         The same date       as the previous call with       Mr.

19 Whiting ; is that correct        ?

20 A.         Yes.     The same series of calls.

21 Q.         If we could please play        B4442 .

22            (Audio    recording starts     playing    at 3 :5 6 p.m. )

23            (Audio recording stops playing at 3:56 p.m.)

24            BY MS. JOHNSTON:

25 Q.         The Kevin referred to in this call is who            ?




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 1 A.       Kevin Scott.

 2 Q.       The person to be visited in         Baltimore is who?

 3 A.       Gwen Levi .

 4 Q.       Who is giving advice about whether or not a

 5 lawyer can visit any day?

 6 A.       Mr. Whiting     is disagreeing with the opinion that

 7 an attorney can't visit        and saying that the attorney

 8 can visit any time.

 9 Q.       Now, if we could go to call A1300 or            D1884 at

10 Page 39 2.    What date does this call take place?

11 A.       This was on the 26th      , the next day , at 7 :53 in

12 the morning.

13 Q.       This call is between whom?

14 A.       Paulette    Martin   and Luis Mangual .

15 Q.       If we could play this call        , please.

16          (Audio r ecording begins playing at 3         :57 p.m. )

17          (Audio recording      stops playing     at 3 :57 p.m .)

18          BY MS. JOHNSTON:

19 Q.       Based upon your training        and experience , what is

20 Mr. Mangual    telling    Ms. Martin in this call?

21 A.       Middle of the page     , he says , I should have a

22 call -- should have a call for          you to day , meaning    I

23 should have drugs to sell you today          , so it should be

24 today he's letting her know.

25 Q.       If we could go to the next call, B4454 on             Page




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 1 39 3.    O n what date    and time does this call take place?

 2 A.        Same date , April 26 at 10 :19 in the morning.

 3 Q.        Who are the parties to this call         ?

 4 A.        Paulette   Mart in and George     Harris.

 5 Q.        If we could play it     , please.

 6           (Audio r ecording begins playing at 3        :58 p.m. )

 7           (Audio recording     stops playing      at 3 :58 p.m.)

 8           BY MS. JOHNSTON:

 9 Q.        Now , in this call , based upon your training               and

10 experience , is Ms. Martin referencing a message she had

11 previously left?

12 A.        Yeah.   Just that appears to be that he's

13 returning the call       , but there   seems to   be confusion

14 about the message she left         and what he thought it

15 meant.

16 Q.        What does she say it meant in this call          ?

17 A.        I called you to let you       know everything     was

18 okay.    They don't really go into any further detail as

19 to what that means though.

20 Q.        Now , calling your attention to B4399 on             Page

21 38 5, an interception       that occurred on April 25 of 2004            ,

22 the day after     Mr. Goodwin    delivered the kilogram.        Was

23 that a message that was left for          Mr. Harris by Ms.

24 Martin?

25 A.        Yes.




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 1 Q.         Okay.     Is that what's referenced in this call

 2 we 've just played?

 3 A.         Yes.     It was the day before       , that would seem to

 4 be the logical inference           .

 5 Q.         Calling your attention to B4461.

 6            Who a re the parties to          this call?

 7 A.         This is the followup call with              Paulette   Mart in

 8 and George        Harris.

 9 Q.         At what time does this take place in relation to

10 the telephone conversation that we just listened to?

11 A.         This is about three hours later             , at 1 :07 in the

12 afternoon.

13 Q.         Who are the parties to this call             ?

14 A.         Paulette     Martin    and George    Harris.

15 Q.         Could replay it , please ?

16            (Audio r ecording begins          playing    at 4 :00 p.m. )

17            (Audio recording        stops playing       at 4 :00 p.m. )

18            BY MS. JOHNSTON:

19 Q.         And based upon your training           and experience ,

20 what are     Mr. Harris     and Ms. Martin discussing in this

21 call?

22 A.         He's ordering        a quantity of cocaine from her,

23 she confirms the amount           , middle of the page says         , okay,

24 then , look , what size          dress do you want       for your

25 daughter ?        T hat means    how much   cocaine do you want       .




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 1 Mr. Harris says , two size         eights,   referring to two

 2 either eighth of a       kilogram or eighth of an ounce         , and

 3 then he says it again      , two size     eights .

 4 Q.        What' s the code word use d for drugs in this

 5 call?

 6 A.        Dress.

 7 Q.        If you would     please write the page number next

 8 to that code word.

 9 A.        (Witness indicating.      )   39 8?

10 Q.        39 5.    Based upon your training an        d experience ,

11 did you note any similarity between the quantity of

12 dresses for his daughter       , sundresses      for his wife , or

13 tickets   Mr. Harris orders from         Ms. Martin?

14 A.        Did I notice any --

15 Q.        Any similarity between the number or quantity of

16 dresses for his daughter,          sundresses    for his wife , or

17 tickets that he orders from          Ms. Martin?

18 A.        Most of the calls seem to contain the            number

19 eight.

20 Q.        Based upon    your training     and experience , what's

21 the significance of that       ?

22 A.        It's a common division of drugs         .    L ike I said ,

23 it's either an eighth of a kil          ogram,   or eighth of an

24 ounce .   I t's a common quantity sold in the drug trade.

25 Q.        In reviewing the transcript book as well             as the




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1 CD , did you note that we had neglected to add a call

2 that occurred on         April 26 to the transcript book             and

3 the CD ?

4 A.          Yes.

5 Q.          I want to show you what's been marked as                 CD -3

6 and Government's         Exhibit B -44 -- show you        Government's

7 Exhibit     B4456 and CD -3 .     And is this an accurate copy

8 of the     original     recording of      Call B4456 on    CD -3 ?

9 A.          Yes, two calls are on here.

10 Q.         What's the other call that's on there?

11 A.         B8040.

12 Q.         Is that another call that we omitted from the

13 original    CD and in the transcript book?

14 A.         Yes.

15 Q.         And B4456 occurred on what date          and time?

16 A.         That was on    April 26 at 10 :26 a.m.

17 Q.         Is the transcript that's been mark            ed with

18 Government's        Exhibit B4456 an accurate transcript of

19 that call?

20 A.         Yes.

21 Q.         Similarly , would    B8040 -- is the recording of

22 Call B8040 accurate on         CD -3 ?

23 A.         Yes.

24 Q.         Is the transcript identified as          Government's

25 Exhibit B8040 an accurate transcript of that call                   ?




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 1 A.       Yes.

 2 Q.       What day did B8040 take place on?

 3 A.       That was later in the wire on          May 28 at      5 :38

 4 p.m.

 5          MS. JOHNSTON:        Your Honor , with the     Court's

 6 permission , we would like to play          Call B4456 at this

 7 time and distribute the transcript to the jury, please.

 8          BY MS. JOHNSTON:

 9 Q.       In reference to       Call B4456 , what date     an d time

10 did that take place?

11 A.       It was on    April 26 in the morning at         10: 26 a.m.

12 Q.       Who are part ies to      this call ?

13 A.       Paulette    Martin    and Kevin Scott , Gwen Levi 's

14 son.

15 Q.       If we could play this call        , please .

16          MR. HALL:     Your Honor , before the call is

17 played , I have an objection        .

18          Could we approach ?

19          THE COURT:     Y ou may.

20                     (At the bar of the Court.)

21          MR. HALL:     Your Honor , my objection is the

22 individual.     This call is with someone who's never been

23 charged in this case      , and I would suggest to the           Court

24 is therefore not a co      -conspirator , and that this

25 transcript would therefore be hearsay           .   S o, I'm




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 1 suggesting that for that reason         , it shouldn't come in.

 2           MS. JOHNSTON:      Your Honor, it is -- one of the

 3 part ies to the call is      Paulette     Martin.     The

 4 conversation that is ad      missible     certainly    as to Ms.

 5 Martin's statements.        Mr. Scott's testimony is

 6 therefore admissible to put in context what                 Ms. Martin

 7 is saying.

 8           It's not being offered for the truth of what               Mr.

 9 Scott said but to put in context what            Ms. Martin is

10 saying.   In addition      -- so it would be ad       missible     only

11 on that basis.     He may or may not be a co          -conspirator ,

12 I don't know that he is,        but the    conversation in terms

13 of what   Ms. Martin says is admissible,            and to the

14 extent that what      Mr. Scott says is what precipitates

15 her speaking, it is admissible to show the context of

16 what she's saying.

17           It could also alternatively be considered an

18 admission on her part based on the way the conversation

19 goes.

20           MR. MONTEMARANO :     H ow is it ad missible         if it's

21 not a co -conspirator , Your Honor ?

22           MS. JOHNSTON:    It's not be     ing admit ted for the

23 truth of what's being said       .   I t's be ing admitted for

24 the truth of what she says in response              to him .

25           MR. MONTEMARANO :     T hat's hearsay when it's a




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 1 conversation with a third party.

 2            THE COURT:    Mr. Montemarano , why does it have to

 3 be a conversation between co           -conspirators    if it's a

 4 statement made in       furtherance      of the conspiracy     ?

 5            MR. MONTEMARANO :     Oth er than this government has

 6 to proffer a basis why this is in furtherance of the

 7 conspiracy.     Not everything she has said between the

 8 first day     of the indictment        and the last day of the

 9 indict ment is    necessarily admissible       .

10            MS . JOHNSTON:    Your Honor , it would be jus t like

11 if Ms. Martin was expect       ing a pack age containing

12 cocaine    and she called     UPS to see when the package was

13 to arrive.      H er statement would be ad         missible,   and what

14 the UPS statement       is would be ad missible        to put in

15 con text what she was saying       .     O therwise , we wouldn't

16 have half of these       conversations      in here.

17            MR. WARD:    Your Honor , I suggest that's

18 bootstrapping.     As    I understand that exception, that is

19 it's not hearsay because it -- it is sometimes used or

20 it can be used to explain a course of conduct.            Why did

21 you go to such     and such a place?         I went to such        and

22 such a place because        I received certain information

23 from Michael     Montemarano .     That's not explain      ing the

24 course of action .       T his doesn't explain her course of

25 action .    T his explains what she's actually saying here               .




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 1          MR. HALL:     I t's a two -party conversation, and

 2 one of those two individuals        , their     words are not

 3 admissible.

 4          MR. MONTEMARANO :      I f the third party        , Your

 5 Honor , is a neutral person or in            essence,     for lack of a

 6 custodian of information       , like for instance the          UPS

 7 officer that     Ms. Johnston used in her example who's

 8 providing con text to her call to set up a delivery or a

 9 pickup   and is the person at the other end of the line                    ,

10 it could be a voice recording for all that mattered                   .

11 That would be , perhaps , acceptable.                        This is a

12 conversation, a give       and take with a person, the person

13 who has an understanding or meaning of what                 Ms. Martin

14 says and who is then saying things which                Ms. Martin        is

15 then reacting to.     That make     s this third party's

16 conversation hearsay.      We don't have that person here

17 to be cross -examined.

18          THE COURT:      I'll tell you what, counsel.         Let me

19 consider this matter.        I'll review this        and review the

20 rules a nd let's resolve this         and I'll rule on it

21 tomorrow morning.

22          MR. MONTEMARANO :      F air .

23          MR. HALL:     A ll right .       T hat's fine.

24          MS. JOHNSTON:       I would suggest the          Court then

25 might want to stop at this juncture, because                 I think




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 1 we're two calls away from getting           into the calls

 2 involving    Ms. Ali 's disputed conversation.           I think

 3 there are two or three calls between the call

 4 immediately after this one which involves M             r. Whiting

 5 and is related to this call         , so ...

 6           THE COURT:      You 're concerned     you're going to

 7 lose the context without this call          ?

 8           MS. JOHNSTON:      Y es, sir .   I think this call is

 9 -- I can play it.       If the     Court wants us to,     that's

10 fine .    I just want to advise the        Court that we will

11 quickly be approaching on those other calls.

12           THE COURT:      What   I'd like to do is go as close

13 to 4 :30 as we can with what we can get through without

14 objection.     I will review this in the meantime          .

15           MR. MONTEMARANO :       W hile we're here.     Your Honor ,

16 would y ou like us here earlier than            9: 45 in case    Your

17 Honor is free a little earlier         , since we are now hav       ing

18 other matters than the 9         :45 we suggested?      I'm just

19 asking.

20           THE COURT:      It depends on how long       it takes me

21 to f inish my guilty plea.          If I'm finish ed with my

22 guilty plea      faster    than 45 minutes -- if you can get

23 here at 9 :30 and pace the room for a minute            , we'll be

24 ready .   A ll right?

25                         (Back in open court.      )




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 1           BY MS. JOHNSTON:

 2 Q.        Detective    Sakala , we'll pass    Call B4456 for the

 3 time being     and let's go the     Call B4506.

 4           On Page 39 6, on what date       and time did that call

 5 take place ?

 6 A.        It took place on      April 26 at 7 :09 p.m.

 7 Q.        Who are the    parties to    this call ?

 8 A.        Paulette    Mart in and   Reece Whiting.

 9 Q.        Okay.   And if we could play the call, please.

10           (Audio r ecording begins playing at 4         :12 p.m. )

11           (Audio recording      stops playing     at 4 :12 p.m. )

12           BY MS. JOHNSTON:

13 Q.        Now if we could go to the next call          , B4515 , on

14 Page 39 7.

15           Do you have that call in front of you          ?

16 A.        Yes.

17 Q.        What date    and time did that take place?

18 A.        The same day at 9     :26 p.m.

19 Q.        Who are the parties to this telephone

20 conversation?

21 A.        Paulette    Martin   and Michael   Jackson.

22 Q.        Mr. Jackson,    he's not been charged in this case            ,

23 has he?

24 A.        No, he has not.

25 Q.        If we could please play B4515 on           Page 39 7.




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 1           (Audio recording begins          playing    at 4 :13 p.m. )

 2           (Audio recording      stops playing        at 4 :14 p.m. )

 3           BY MS. JOHNSTON:

 4 Q.        Now, in    Call B4515 on       Page 39 7, did you form an

 5 opinion as to what was being discussed by -- between

 6 Ms. Martin       and Michael   Jackson?

 7 A.        Yes.

 8 Q.        And what is that?

 9 A.        Mr. Jackson    is telling       Ms. Martin that a friend

10 of his just came in from out of town.                Ms. Martin asks

11 how much are the tickets for the show            , meaning what

12 pri ce does he have for cocaine           he has for sale.       Mr.

13 Jackson   replies he wants 25      , referring to it as

14 $25,000 .    Ms. Martin says she'll let him know.

15 Q.        $25,000 for what -- based on your training              and

16 experience , what quantity of drug           s is that for ?

17 A.        That would be per one kilogram of cocaine.

18 Q.        What is the code word they use in this

19 conversation to refer to kilos of cocaine?

20 A.        Ms. Martin says how much are tickets for the

21 show , how much , meaning how much are the kilogram              s.

22 Q.        Would you make a notation on our chart as to

23 Page 39 7?

24 A.        (Witness indicating.       )

25 Q.        Now, in t hat same call , Ms. Martin           -- after Mr.




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 1 Jackson    repeats he came back from out of town            , Ms.

 2 Martin says so everything okay?       Based upon your

 3 training     and experience , what is     Ms. Martin asking         Mr.

 4 Jack son in that call?

 5 A.         She's asking -- is he okay      , meaning he arrived

 6 without any arrest or any problems or anything like

 7 that .    E verything is fine.

 8 Q.         Meaning what?

 9 A.         Meaning the source     -- Mr. Jackson 's friend who

10 came in from out of town with the cocaine               , everything's

11 fine and okay with him , and then she goes on               to ask him

12 about the price.

13 Q.         Now , if we could go to the next call, B5533             on

14 Page 39 8.    What date an d time does this call take

15 place?

16 A.         This was on     April 27, 2004 , at 7 :57 in the

17 morning.

18 Q.         Who are the parties to this conversation?

19 A.         Paulette   Martin   and Luis Mangual .

20 Q.         Could we play this call, please        ?

21            (A udio recording begins     playing       at 4 :16 p.m. )

22            (Audio recording     stops playing     at 4 :16 p.m. )

23            BY MS. JOHNSTON:

24 Q.         Based upon your training      and experience , what is

25 Mr. Mangual     advising    Ms. Mar tin of in this call ?




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 1 A.        He now has cocaine for sale.

 2 Q.        Was there surveillance done the previous day to

 3 corroborate that information?

 4 A.        Yes.

 5 Q.        Did that surveillance involve         Ms. Martin ?

 6 A.        The previous day?     No,      I do not believe so    .

 7 Q.        Who was involv ed in that surveillance         ?

 8 A.        The delivery of drugs that         Mr. Mangual     received.

 9 Q.        Now, if we could go to the next telephone call            ,

10 A1363 on Page 39 9.

11           Do you have that call in front of you          ?

12 A.        I'm sorry , the call number again       ?

13 Q.        I'm sorry.   Call     A1363, on Page 402.

14           Do you have that call in front of you?

15 A.        Yes.

16 Q.        Before we get to that       , if we could just briefly

17 look at   Call B4562 on       Page 399   and Call B4599 on Page

18 401.

19           Are you familiar with those two calls?

20 A.        Yes.

21 Q.        Okay.   And who are they between?

22 A.        Paulette   Martin    and Milburn    Bru ce Walker.

23 Q.        Do they use any particular codes in those two

24 calls?

25           MR. MONTEMARANO :      Your Honor , I object.




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 1          Can we approach?

 2          MS. JOHNSTON:        I can play the calls         , Your Honor ,

 3 if that's the objection.

 4          MR. MONTEMARANO :       Th at is .

 5          BY MS. JOHNSTON:

 6 Q.       Okay .   T hen go t o B4562 on        Page 39 9.

 7          What date an d time did this call take place?

 8 A.       April 27, 2004 , at 12 :39 in the afternoon.

 9 Q.       Who are the     parties to    this tele phone

10 conversation ?

11 A.       Paulette    Martin    and Milburn      Bruce Walker .

12 Q.       If we could play this call           , please .

13          (Audio r ecording begins playing at 4              :18 p.m. )

14          (Audio recording       stops playing      at 4 :19 p.m. )

15          BY MS. JOHNSTON:

16 Q.       What are    Ms. Martin    and Mr. Walker discussing in

17 this call?

18 A.       Mr. Walker is try ing to ascertain if               Ms. Martin

19 is going to be home       and she says , no , and he'll call --

20 he's going to call back.

21 Q.       What time did this call take place?

22 A.       The next call -- this one was at 12               :39 .   The

23 next one is at 5 :55.

24 Q.       The call    at 5 :55 , is that       Call B4599 that

25 appears on Page 401?




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 1 A.       Yes.

 2 Q.       And who are the parties to this call           ?

 3 A.       Paulette    Mart in and    Milburn   Walker again.

 4 Q.       If we could play this call.

 5          (Audio recording begins playing at 4           :19 p.m. )

 6          (Audio recording      stops playing     at 4 :19 p.m. )

 7          BY MS. JOHNSTON:

 8 Q.       What are    Ms. Martin     and Mr. Walker discussing in

 9 this call ?

10 A.       He's ascertaining if she's home.        She is        and

11 he's going to come by.

12 Q.       Let's turn to call A1363.       On what date         an d time

13 does this call take place?

14 A.       This was on     April 28 at 9 :53 in the morning         , the

15 next day.

16 Q.       Is this call part of a series of calls that are

17 related to each other?

18 A.       Yes, it is.

19 Q.       What are the other calls related to this call               ?

20 A.          First one is A1363     , B4758 , then A1407,      B47 86 ,

21 4804 and 4806.

22          MS. JOHNSTON:       Your Honor , I don't know if the

23 Court wants me to start playing this series of              calls or

24 if you would like to wait.

25          THE COURT:      Go ahead.




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 1            BY MS. JOHNSTON:

 2 Q          Okay .     L et's turn first to A1363 on Page 402            and

 3 403.     Before we do that      , what 's the time frame of this

 4 series of calls?

 5 A.         The first call , A1363 , is the morning of the

 6 28th at 9 :53 a.m.         And the las t call is on        April 28 at

 7 11 o'clock at night or a little after 11 o'clock at

 8 night.

 9 Q.         They all happened on       the same day?

10 A.         No , they do not all happen on the same day.

11            I'm sorry.     Yes, they do all happen on the same

12 day.      April 28.

13 Q.         Between 9 :53 in the morning and 11           :11 at night ;

14 is that correct?

15 A.         That's correct.

16 Q.         Who are the parties to these conversations?

17 A.         Paulette     Martin , LaNora    Ali , Larry Nunn are the

18 three parties in the different call            s.

19 Q.         If we could be gin with A1363 on Page 402            .   W ho

20 are the     parties to     this conversation?

21 A.         LaNora     Ali and   Paulette   Mart in.

22 Q.         If we could play A1363 at this time.

23            (Audio recording begins playing at 4            :21 p.m. )

24            (Audio recording       stops playing       at 4 :22 p.m. )

25            BY MS. JOHNSTON:




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 1 Q.        Going to the next call      , B4758 , on Page 404     and

 2 405.   At what time does this call take place?

 3 A.        The same day , the 28th , at 5 :15 p.m.

 4 Q.        Who are the    parties to    this call?

 5 A.        This is    Paulette    Mart in and   Larry Nun n.

 6 Q.        If we could play this call, please.

 7           (Audio r ecording begins       playing    at 4 :22 p.m. )

 8           (Audio recording       stops playing     at 4 :23 p.m. )

 9           BY MS. JOHNSTON:

10 Q.        Calling your attention to the next call, A1407              ,

11 on Page 406.

12           What time does this call take place?

13 A.        Same day , 28th at 7 :22 p.m.

14 Q.        Who are the parties to this call          ?

15 A.        Paulette    Martin    and Larry Nunn .

16 Q.        If we could play this call       , please.

17           (Audio r ecording begins       playing    at 4 :23 p.m. )

18           (Audio recording       stops playing     at 4 :24 p.m. )

19           MS. JOHNSTON:        Your Honor , I believe    the Court

20 would like to stop with our playing the calls at this

21 point.

22           THE COURT:    Is this --     does that finish this

23 series of calls ?

24           MS. JOHNSTON:    No , it does not , Your Honor , but

25 there's   a call that counsel has objected to.




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 1          THE COURT:     All right.    We'll recess       and take

 2 this issue up tomorrow morning.       Ladies and gentlemen,

 3 I will see you tomorrow morning at           10:00 a.m.    I have a

 4 matter prior to that      , so we that's why we can't start

 5 any earlier.    See you then.

 6                  (Off the record at 4      :25 p .m.)

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 1                             CE RTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number            RWT -04-0235 on

10 June 27, 2006.

11

12       I further certify that the foregoing 1           92 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 15th day of March 2008.

19

20                              ___________________________
                                TRACY RAE DUNLAP, RPR , CRR
21                              OFFICIAL COURT REPORTER

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